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3                                        EXHIBIT D

4                        PROFFESIONAL FEES FOR THE PERIOD
                          JULY 1, 2019 THROUGH JULY 31, 2019
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       PG&E Corporation and Pacific Gas and Electric Company
                              Deloitte & Touche LLP
                 Fees Sorted by Category for the Fee Period
                                   July 01, 2019 - July 31, 2019

Date                      Description                                     Rate    Hours         Fees

2019 Audit Services
07/01/2019
   Bedi, Arpit            Documented the internal controls             $200.00      3.0      $600.00
                          addressing the risks of material
                          misstatement related to the debt
                          process.
   Bedi, Arpit            Continued to prepare debt guided risk        $200.00      2.0      $400.00
                          assessment to identify risks of material
                          misstatement related to debt process.
   Bedi, Arpit            Prepare debt guided risk assessment          $200.00      3.0      $600.00
                          to identify risks of material
                          misstatement related to debt process.
   Bhattacharya, Ayush    Continued to document testing of             $200.00      3.0      $600.00
                          Powerplan segregation of duties
                          internal controls.
   Bhattacharya, Ayush    Continued to document testing of             $200.00      2.5      $500.00
                          Powerplan segregation of duties
                          internal controls.
   Bhattacharya, Ayush    Further documented testing of                $200.00      2.0      $400.00
                          Powerplan segregation of duties
                          internal controls.
   Bhattacharya, Ayush    Document testing of Powerplan                $200.00      1.5      $300.00
                          segregation of duties internal controls
   Choudhury, Viki        Create user listing validation sheet for     $200.00      3.0      $600.00
                          the SAP Governance Risk and
                          Compliance system.
   Fazil, Mohamed         Prepare for Identity and Access              $200.00      2.0      $400.00
                          Management controls walkthrough call.
   Fazil, Mohamed         Prepare IT planning memo                     $200.00      1.0      $200.00
                          summarizing independence
                          considerations and testing approach
                          for reliance vs. reperformance.
   Fazil, Mohamed         Prepare documentation of Identity and        $200.00      1.0      $200.00
                          Access Management controls testing
                          workpapers.
   Giamanco, Patrick      Discuss with W. Kipkirui (Deloitte)          $330.00      0.5      $165.00
                          PG&E IT audit testing strategy and
                          project.
   K, Kavya               Create user validations for SAP              $120.00      3.0      $360.00
                          instance - ERP Central Component
                          (ECC) application controls.


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                    Fees Sorted by Category for the Fee Period
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Date                       Description                                      Rate    Hours         Fees

2019 Audit Services
07/01/2019
   K, Kavya                Continued to create user validations for      $120.00      2.0      $240.00
                           SAP instance - ERP Central
                           Component (ECC) application controls.
   Kipkirui, Winnie        Documentation of risks of material            $230.00      2.0      $460.00
                           misstatement identified associated with
                           information technology for 2019 audit.
   Kipkirui, Winnie        Documentation of Ariba controls in the        $230.00      2.0      $460.00
                           workpaper outlining Risks of material
                           misstatement Associated with
                           Information Technology.
   Kipkirui, Winnie        Documentation of Customer Care &              $230.00      2.0      $460.00
                           Billings system controls in the
                           workpaper outlining Risks of material
                           misstatement Associated with
                           Information Technology.
   Kipkirui, Winnie        Discuss with P. Giamanco (Deloitte)           $230.00      0.5      $115.00
                           PG&E IT audit testing strategy and
                           project.
   Kipkirui, Winnie        IT audit testing strategy update for          $230.00      0.5      $115.00
                           FY'19 audit.
   Mehra, Shreya           Draft the interim review reports              $180.00      1.0      $180.00
                           outlining results of our interim review
                           procedures for Q2'19.
   Meredith, Wendy         Review agenda for quarterly review            $380.00      0.5      $190.00
                           meetings with PG&E management.
   Murdock, Elizabeth      Preparing audit team project plan and         $330.00      1.5      $495.00
                           budget for quarterly review procedures
   Xue, Ella               Update Customer Care & Billing                $120.00      3.0      $360.00
                           System control testing workpapers.
   Xue, Ella               Documentation of PowerPlan                    $120.00      2.0      $240.00
                           information technology control testing.
   Xue, Ella               Documentation of PowerPlan                    $120.00      3.0      $360.00
                           information technology control testing.
   Yuen, Jennifer          Prepare the Q2'19 tax provision               $230.00      0.2       $46.00
                           summary memo as part of interim
                           review procedures.




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                  Fees Sorted by Category for the Fee Period
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Date                      Description                                     Rate    Hours         Fees

2019 Audit Services
07/02/2019
   Bedi, Arpit            Prepare payroll guided risk                  $200.00      3.0      $600.00
                          assessment to identify risks of material
                          misstatement related to payroll
                          process.
   Bedi, Arpit            Continue to prepare payroll guided risk      $200.00      3.0      $600.00
                          assessment to identify risks of material
                          misstatement on audit online.
   Bedi, Arpit            Documented the internal controls             $200.00      3.0      $600.00
                          addressing the risks of material
                          misstatement related to the payroll
                          process.
   Bhattacharya, Ayush    Document Ariba system change                 $200.00      4.0      $800.00
                          management testing workpapers.
   Bhattacharya, Ayush    Further documentation of Ariba system        $200.00      3.0      $600.00
                          change management testing
                          workpapers.
   Bhattacharya, Ayush    Continue to document Ariba system            $200.00      2.0      $400.00
                          change management testing
                          workpapers.
   Gillam, Tim            Call with J. Ncho-Oguie, E. Murdock          $380.00      0.6      $228.00
                          (Deloitte) to discuss planned agenda
                          for Q2 key topics and PG&E internal
                          control findings.
   K, Kavya               Create user validations for SAP              $120.00      3.0      $360.00
                          instance - Governance and Risk
                          Compliance (GRC) controls.
   K, Kavya               Continued to create user validations for     $120.00      2.0      $240.00
                          SAP instance - Governance and Risk
                          Compliance (GRC) controls.
   Kamra, Akanksha        Analyze the risks of material misstates      $230.00      0.2       $46.00
                          associated with financial statement line
                          items and disclosures, controls to
                          address identified risks and plan
                          testing steps.
   Kipkirui, Winnie       Prepare for discussion with E. Xue           $230.00      3.0      $690.00
                          (Deloitte) regarding Advanced Billing
                          System application controls.
   Kipkirui, Winnie       Update IT audit project plan for testing     $230.00      2.0      $460.00
                          strategy updates for FY'19 audit.



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       PG&E Corporation and Pacific Gas and Electric Company
                                 Deloitte & Touche LLP
                  Fees Sorted by Category for the Fee Period
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Date                         Description                                   Rate    Hours         Fees

2019 Audit Services
07/02/2019
   Kipkirui, Winnie          Update IT audit work paper tracker to      $230.00      2.0      $460.00
                             reflect the systems with risks of
                             material misstatement for FY'19 audit.
   Murdock, Elizabeth        Review control workpapers.                 $330.00      2.4      $792.00
   Murdock, Elizabeth        Call with T. Gillam, J. Ncho-Oguie         $330.00      0.6      $198.00
                             (Deloitte) to discuss planned agenda
                             for Q2 key topics and PG&E internal
                             control findings.
   Murdock, Elizabeth        Meeting with J. Ncho-Oguie (Deloitte)      $330.00      0.5      $165.00
                             to discuss PG&E Q2 key topics.
   Ncho-Oguie, Jean-Denis    Call with T. Gillam, E. Murdock            $330.00      0.6      $198.00
                             (Deloitte) to discuss planned agenda
                             for Q2 key topics and PG&E internal
                             control findings.
   Ncho-Oguie, Jean-Denis    Meeting with E. Murdock (Deloitte) to      $330.00      0.5      $165.00
                             discuss PG&E Q2 key topics.
   Xue, Ella                 Update Customer Care & Billing             $120.00      3.0      $360.00
                             System control testing workpapers.
   Xue, Ella                 Continued updating Customer Care &         $120.00      3.0      $360.00
                             Billing System control testing
                             workpapers.
   Xue, Ella                 Update Reporting System Solutions          $120.00      2.0      $240.00
                             system control workpaper to prepare
                             for walkthrough.
07/03/2019
   Bedi, Arpit               Prepare property plant and equipment       $200.00      3.0      $600.00
                             guided risk assessment to identify risks
                             of material misstatement related to
                             property plant and equipment process.
   Bedi, Arpit               Documented planned audit testing           $200.00      3.0      $600.00
                             procedures to address risks of material
                             misstatement related to property plant
                             and equipment.
   Bedi, Arpit               Documented internal controls               $200.00      2.0      $400.00
                             mitigating risks of material
                             misstatement related to property plant
                             and equipment




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       PG&E Corporation and Pacific Gas and Electric Company
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Date                      Description                                     Rate    Hours         Fees

2019 Audit Services
07/03/2019
   Bhattacharya, Ayush    Attend Customer Care & Billing system        $200.00      2.0      $400.00
                          Walkthrough and FY'19 Audit kick-off
                          with W. Kipkirui, E. Xue (Deloitte), J.
                          Lee, D. Utterback, V. Koshevatsky, L.
                          Wenczel, T. Phan, Y. Tangiyeva, M.
                          Wong, K. Reem.
   Bhattacharya, Ayush    Prepared documentation of control            $200.00      2.0      $400.00
                          testing related to Customer Care &
                          Billing system.
   Bhattacharya, Ayush    Attend Reporting System Solutions            $200.00      1.0      $200.00
                          (RSS) financial reporting system
                          Walkthrough and FY'19 Audit kick-off
                          with W. Kipkirui, E. Xue (Deloitte), C.
                          Benson, T. Tipirneni.
   Choudhury, Viki        Attend weekly status call with W.            $200.00      0.5      $100.00
                          Kipkirui, S. Misra, K. Kavya, M. Fazil
                          (Deloitte).
   K, Kavya               Create request list for controls             $120.00      2.0      $240.00
                          converted from Work of Others to
                          Independent for current year.
   K, Kavya               Continue to create request list for          $120.00      2.0      $240.00
                          controls converted from Work of
                          Others to Independent for current year.
   K, Kavya               Status Call with W. Kipkirui (Deloitte) to   $120.00      1.0      $120.00
                          discuss the status of IT audit testing.
   Kipkirui, Winnie       Documentation of Customer Care &             $230.00      3.0      $690.00
                          Billings application controls covering
                          access security areas of testing.
   Kipkirui, Winnie       Perform Ariba controls documentation.        $230.00      2.5      $575.00
   Kipkirui, Winnie       Attend Customer Care & Billing               $230.00      2.0      $460.00
                          Walkthrough and FY'19 Audit kick-off
                          with E. Xue, A. Bhattacharya (Deloitte),
                          J. Lee, D. Utterback, V. Koshevatsky,
                          L. Wenczel, T. Phan, Y. Tangiyeva, M.
                          Wong, K. Reem.
   Kipkirui, Winnie       Attend Reporting System Solutions            $230.00      1.0      $230.00
                          (RSS) financial reporting system
                          Walkthrough and FY'19 Audit kick-off
                          with A. Bhattacharya, E. Xue (Deloitte),
                          C. Benson, T. Tipirneni.


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       PG&E Corporation and Pacific Gas and Electric Company
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Date                         Description                                    Rate    Hours         Fees

2019 Audit Services
07/03/2019
   Kipkirui, Winnie          Meeting between P. Giamanco, A.             $230.00      0.5      $115.00
                             Bhattacharya, S. Misra, F. Mohamed,
                             V. Choudhury, K. Kavya, N. Sachin
                             (Deloitte) to discuss the current status
                             of the IT Audit.
   Murdock, Elizabeth        call with T Gillam, J Ncho Oguie, E         $330.00      1.1      $363.00
                             Murdock (D&T) to discuss planned
                             agenda for Q2 key topics and PG&E
                             internal control findings
   Ncho-Oguie, Jean-Denis    Review risk assessment workpapers           $330.00      1.8      $594.00
                             for capitalized overhead risk analysis.
   Ncho-Oguie, Jean-Denis    Perform Q2 Transmission Owner Rate          $330.00      1.1      $363.00
                             Case risk assessment analysis for
                             recoverability under generally
                             accepted accounting principles.
   Ncho-Oguie, Jean-Denis    Review risk assessment workpaper for        $330.00      0.9      $297.00
                             retirements FY19 risk analysis.
   Xue, Ella                 Document the Reporting System               $120.00      2.5      $300.00
                             Solutions system control design
                             testing.
   Xue, Ella                 Documentation of PowerPlan                  $120.00      2.5      $300.00
                             information technology control testing.
   Xue, Ella                 Attend Customer Care & Billing              $120.00      2.0      $240.00
                             Walkthrough and FY'19 Audit kick-off
                             with W. Kipkirui, A. Bhattacharya
                             (Deloitte), J. Lee, D. Utterback, V.
                             Koshevatsky, L. Wenczel, T. Phan, Y.
                             Tangiyeva, M. Wong, K. Reem.
   Xue, Ella                 Attend Reporting System Solutions           $120.00      1.0      $120.00
                             (RSS) financial reporting system
                             Walkthrough and FY'19 Audit kick-off
                             with W. Kipkirui, A. Bhattacharya
                             (Deloitte), C. Benson, T. Tipirneni.
07/04/2019
   Choudhury, Viki           Prepare agenda for process                  $200.00      1.0      $200.00
                             walkthrough call with the PG&E SAP
                             Business Application Software
                             Integrated solution team.




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2019 Audit Services
07/04/2019
   Fazil, Mohamed         Discussion with D. Wang (PG&E)               $200.00      2.0      $400.00
                          regarding SAP Business Application
                          Software Integrated Solution controls.
   Fazil, Mohamed         Update design of SAP Business                $200.00      1.0      $200.00
                          Application Software Integrated
                          Solution controls based on results of
                          walkthrough meeting.
   Fazil, Mohamed         Coordinate scheduling of Identity and        $200.00      1.0      $200.00
                          Access Management controls
                          walkthrough to be held with Deloitte
                          and PG&E on 7/15.
   K, Kavya               Assess support provided by client for        $120.00      2.0      $240.00
                          user validation testing of SAP Business
                          Planning and Consolidation
                          application.
   K, Kavya               Prepare final updates to agenda for          $120.00      1.0      $120.00
                          SAP Basis system walkthrough
                          meeting with W. Cho (PG&E).
   K, Kavya               Create request list for controls             $120.00      2.0      $240.00
                          converted from Work of Others to
                          Independent for current year.
07/05/2019
   Bedi, Arpit            Documented the internal controls             $200.00      3.0      $600.00
                          mitigating the risks of material
                          misstatement related to the accounts
                          payable process.
   Bedi, Arpit            Documented planned audit substantive         $200.00      2.0      $400.00
                          testing proceudres related to accounts
                          payable process.
   Bedi, Arpit            Prepare accounts payable guided risk         $200.00      3.0      $600.00
                          assessment to identify risks of material
                          misstatement related to accounts
                          payable process.
   Choudhury, Viki        Meeting with K. Kavya (Deloitte), D.         $200.00      2.0      $400.00
                          Kung (PG&E) to walkthrough the
                          Company's internal controls related to
                          the SAP Business Application Software
                          Integrated solution system.




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       PG&E Corporation and Pacific Gas and Electric Company
                              Deloitte & Touche LLP
                   Fees Sorted by Category for the Fee Period
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2019 Audit Services
07/05/2019
   Fazil, Mohamed         Discussion with W. Cho (PG&E)               $200.00      3.0      $600.00
                          regarding SAP Business Application
                          Software Integrated Solution controls.
   Fazil, Mohamed         Update design of SAP Business               $200.00      3.0      $600.00
                          Application Software Integrated
                          Solution controls based on results of
                          walkthrough meeting.
   K, Kavya               Update user validation sheets for SAP       $120.00      3.0      $360.00
                          Business Planning and Consolidation.
   K, Kavya               Meeting with S. Kung (PG&E) and V.          $120.00      2.0      $240.00
                          Choudhury (Deloitte) to discuss the
                          internal controls related to the Endur
                          accounting system.
   Kamra, Akanksha        Draft responses for the questionnaires      $230.00      3.0      $690.00
                          related to the audit plan to check audit
                          procedures.
07/08/2019
   Agarwal, Rima          Prepare summary of alerts                   $230.00      0.5      $115.00
                          summarizing impact of new accounting
                          pronouncements as part of Q2'19
                          interim review procedures.
   Azebu, Matt            Status update meeting with S. Jasinski,     $230.00      0.6      $138.00
                          B. Rice, V. Hennessy, B. Martin, L.
                          Schloetter, K. Sewell, B. Steele, J.
                          Nguyen (Deloitte) regarding upcoming
                          audit priorities.
   Azebu, Matt            Discussion with S. Jasinski, S.             $230.00      0.5      $115.00
                          Varshney, T. Gillam, J. Ncho-Oguie, B.
                          Rice, J. Nguyen (Deloitte) regarding
                          quarterly review project plan and
                          weekly priorities.
   Azebu, Matt            Review the non-routine transactions         $230.00      2.5      $575.00
                          listing and make selections for
                          quarterly journal entry testing.
   Bhattacharya, Ayush    Document Advanced Billing System            $200.00      3.0      $600.00
                          testing workpapers.
   Bhattacharya, Ayush    Update the status of audit support          $200.00      2.0      $400.00
                          requests on Deloitte Connect site.




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2019 Audit Services
07/08/2019
   Bhattacharya, Ayush     Call with B. Jochum, M. McKinney            $200.00      1.0      $200.00
                           (PG&E), W. Kipkirui, E. Xue (Deloitte)
                           for Advanced Billing System
                           walkthrough and FY'19 Audit kick-off.
   Choudhury, Viki         Update the user listing validation sheet    $200.00      2.0      $400.00
                           for the SAP systems to include user
                           roles.
   Fazil, Mohamed          Document design and operating               $200.00      3.0      $600.00
                           effectiveness of default accounts
                           control for SAP Business Planning and
                           Consolidation system.
   Gillam, Tim             Discussion with S. Jasinski, M. Azebu,      $380.00      0.5      $190.00
                           S. Varshney, J. Ncho-Oguie, B. Rice,
                           J. Nguyen (Deloitte) regarding
                           quarterly review project plan and
                           weekly priorities.
   Hennessy, Vincent       Analyzed journal entry data for Q1-Q2       $200.00      0.7      $140.00
                           2019 to test for risk of management
                           override of controls
   Hennessy, Vincent       Status update meeting with S. Jasinski,     $200.00      0.6      $120.00
                           M. Azebu, B. Rice, B. Martin, L.
                           Schloetter, K. Sewell, B. Steele, J.
                           Nguyen (Deloitte) regarding upcoming
                           audit priorities.
   Hennessy, Vincent       Discussion with B. Martin (Deloitte)        $200.00      0.5      $100.00
                           regarding PG&E’s financial reporting
                           software.
   Hennessy, Vincent       Draft email to H. Bhimani (Deloitte) to     $200.00      0.4       $80.00
                           request that the Deloitte data specialist
                           team initiate the upload of journal entry
                           data to Deloitte Connect system for
                           testing.
   Hennessy, Vincent       Correspond via email with S. Ali            $200.00      0.4       $80.00
                           (PG&E) regarding accounting support
                           fee testing.
   Hennessy, Vincent       Correspond with J. Kan (PG&E)               $200.00      0.3       $60.00
                           regarding PG&E's institutional investor
                           information for the Independence
                           Roadmap.



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2019 Audit Services
07/08/2019
   Jasinski, Samantha      Discussion with M. Azebu, S.               $290.00      0.5      $145.00
                           Varshney, T. Gillam, J. Ncho-Oguie, B.
                           Rice, J. Nguyen (Deloitte) regarding
                           quarterly review project plan and
                           weekly priorities.
   Jasinski, Samantha      Discussion with E. Murdock (Deloitte)      $290.00      0.4      $116.00
                           to discuss reviewer allocation for Q2
                           quarterly review.
   Jasinski, Samantha      Prepare for discussion with M. Azebu,      $290.00      0.1       $29.00
                           S. Varshney, T. Gillam, J. Ncho-Oguie,
                           B. Rice, J. Nguyen (Deloitte) regarding
                           quarterly review project plan and
                           weekly priorities.
   K, Kavya                Create user validations for SAP ERP        $120.00      2.0      $240.00
                           Central Component (SAP ECC)
                           system
   Kamra, Akanksha         Review the summarized 8-Ks filed by        $230.00      2.0      $460.00
                           PG&E with Securities and Exchange
                           Commission to analyze the financial
                           impact of events that occurred in
                           PG&E on D&T’s audit approach and
                           planned procedures.
   Kamra, Akanksha         Draft responses for the questionnaires     $230.00      1.0      $230.00
                           to the audit plan to enable audit
                           procedures.
   Kamra, Akanksha         Discussion with S. Jasinski, M. Azebu,     $230.00      0.5      $115.00
                           S. Varshney, A. Bedi, B. Rice (Deloitte)
                           regarding quarterly review project plan
                           and weekly priorities.
   Kipkirui, Winnie        Documentation of control design            $230.00      3.0      $690.00
                           procedures for Advanced Billing
                           System application.
   Kipkirui, Winnie        Review and documentation of                $230.00      2.0      $460.00
                           evidence provided for Advanced Billing
                           System application.
   Kipkirui, Winnie        Continued to document testing of           $230.00      2.0      $460.00
                           internal control design procedures for
                           Advanced Billing System application.




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2019 Audit Services
07/08/2019
   Kipkirui, Winnie         Discussion with E. Xue (Deloitte) on        $230.00       1.0      $230.00
                            Advanced Billing System application
                            controls to prepare for walkthroughs
                            with PG&E teams .
   Kipkirui, Winnie         Call with B. Jochum, M. McKinney            $230.00       1.0      $230.00
                            (PG&E), A. Bhattacharya, E. Xue
                            (Deloitte) for ABS walkthrough and
                            FY'19 Audit kick-off.
   Martin, Blake            Discussion with V. Hennessy (Deloitte)      $200.00       0.5      $100.00
                            regarding PG&E’s financial reporting
                            software.
   Martin, Blake            Analyze PBOP (Postretirement                $200.00       1.6      $320.00
                            Benefits other than Pension) and
                            Pension Accounting Policies for
                            Understanding and Control Testing
                            Purposes.
   Martin, Blake            Draft Memo for audit file summarizing       $200.00       1.2      $240.00
                            determination of engagement risk and
                            planned audit response.
   Martin, Blake            Draft the PG&E Audit Planning Memo.         $200.00       0.9      $180.00
   Martin, Blake            Status update meeting with S. Jasinski,     $200.00       0.6      $120.00
                            M. Azebu, B. Rice, V. Hennessy, L.
                            Schloetter, K. Sewell, B. Steele, J.
                            Nguyen (Deloitte) regarding upcoming
                            audit priorities.
   Mehra, Shreya            Prepared the Q2'19 balance sheet            $180.00       1.6      $288.00
                            analytics summarizing the drivers of
                            period over period fluctuations in
                            balance sheet account balances.
   Mehra, Shreya            Reviewed the PG&E filings on Form 8-        $180.00       1.0      $180.00
                            K and summarized as part of interim
                            review procedures for Q2'19.
   Meredith, Wendy          Review draft form 10-Q for 2nd quarter.     $380.00       1.0      $380.00
   Morley, Carlye           Prepare budget to actual financial data     $230.00       1.0      $230.00
                            for 2019 audit.
   Murdock, Elizabeth       Discussion with S. Jasinski (all            $330.00       0.4      $132.00
                            Deloitte) to discuss reviewer allocation
                            for Q2 quarterly review.
   Murdock, Elizabeth       Prioritizing audit engagement team          $330.00       0.1       $33.00
                            tasks for the day

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       PG&E Corporation and Pacific Gas and Electric Company
                                  Deloitte & Touche LLP
                 Fees Sorted by Category for the Fee Period
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Date                          Description                                    Rate    Hours         Fees

2019 Audit Services
07/08/2019
   Murdock, Elizabeth         Review testing of design of internal        $330.00       2.9      $957.00
                              control mitigating risk of material
                              misstatement related to customer
                              billings
   Ncho-Oguie, Jean-Denis     Discussion with S. Jasinski, M. Azebu,      $330.00       0.5      $165.00
                              S. Varshney, T. Gillam, B. Rice, J.
                              Nguyen (Deloitte) regarding quarterly
                              review project plan and weekly
                              priorities.
   Ncho-Oguie, Jean-Denis     Schedule second quarter 2019 review         $330.00       0.4      $132.00
                              meetings.
   Ncho-Oguie, Jean-Denis     Review second quarter significant           $330.00       1.3      $429.00
                              transaction accounting analysis for
                              journal entries recorded for first close.
   Ncho-Oguie, Jean-Denis     Review balance sheet scoping analysis       $330.00       1.1      $363.00
                              for fiscal year 2019 year end audit.
   Ncho-Oguie, Jean-Denis     Review prior quarter 10Q disclosures        $330.00       0.9      $297.00
                              related to regulatory assets and
                              liabilities and regulatory rate cases.
   Ncho-Oguie, Jean-Denis     Review understanding the entity risk        $330.00       0.8      $264.00
                              analysis workpaper.
   Nguyen, Jessica            Begin Environmental Remediation             $120.00       2.6      $312.00
                              Liability Site Risk Assessment
   Nguyen, Jessica            Continue working on Environmental           $120.00       2.5      $300.00
                              Remediation Liability Site Risk
                              Assessment
   Nguyen, Jessica            Continue Working on Environmental           $120.00       1.5      $180.00
                              Remediation Liability Site Risk
                              Assessment
   Nguyen, Jessica            Discussion with S. Jasinski, M. Azebu,      $120.00       0.5       $60.00
                              T. Gillam, J. Ncho-Oguie, B. Rice, S.
                              Varshney (Deloitte) regarding quarterly
                              review project plan and weekly
                              priorities.
   Nguyen, Jessica            Prepare for discussion with S. Jasinski,    $120.00       0.2       $24.00
                              M. Azebu, T. Gillam, J. Ncho-Oguie, B.
                              Rice, S. Varshney (Deloitte) regarding
                              quarterly review project plan and
                              weekly priorities.



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       PG&E Corporation and Pacific Gas and Electric Company
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2019 Audit Services
07/08/2019
   Rice, Blake            Discussion with S. Jasinski, M. Azebu,     $230.00       0.5      $115.00
                          S. Varshney, T. Gillam, J. Ncho-Oguie,
                          J. Nguyen (Deloitte) regarding
                          quarterly review project plan and
                          weekly priorities.
   Rice, Blake            Prepare the financial statement            $230.00       3.9      $897.00
                          consolidation workpapers that
                          reconcile account balances from the
                          subsidiary level to the consolidated
                          parent level.
   Rice, Blake            Prepare balance sheet variance             $230.00       2.9      $667.00
                          analysis.
   Rice, Blake            Status update meeting with S. Jasinski,    $230.00       0.6      $138.00
                          M. Azebu, V. Hennessy, B. Martin, L.
                          Schloetter, K. Sewell, B. Steele, J.
                          Nguyen (Deloitte) regarding upcoming
                          audit priorities.
   Schloetter, Lexie      Status update meeting with S. Jasinski,    $180.00       0.6      $108.00
                          M. Azebu, B. Rice, V. Hennessy, B.
                          Martin, K. Sewell, B. Steele, J. Nguyen
                          (Deloitte) regarding upcoming audit
                          priorities.
   Schloetter, Lexie      Assess the testing of the internal         $180.00       0.6      $108.00
                          control group for control reliance on
                          billings control.
   Schloetter, Lexie      Close notes on billing control             $180.00       3.4      $612.00
                          workpaper related to the risks of
                          material misstatement.
   Schloetter, Lexie      Analyze Quarter 2 environmental            $180.00       1.0      $180.00
                          remediation workpaper.
   Schloetter, Lexie      Close notes on billings control process.   $180.00       0.8      $144.00
   Sewell, Kyle           Preparation of memo for audit files        $180.00       1.1      $198.00
                          summarizing the company's energy
                          procurement process including
                          relevant accounting guidance.
   Sewell, Kyle           Respond to questions from S.               $180.00       0.9      $162.00
                          Varshney (Deloitte) about quarterly
                          independence memo.




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2019 Audit Services
07/08/2019
   Sewell, Kyle              Status update meeting with S. Jasinski,   $180.00      0.6      $108.00
                             M. Azebu, B. Rice, V. Hennessy, B.
                             Martin, L. Schloetter, B. Steele, J.
                             Nguyen (Deloitte) regarding upcoming
                             audit priorities.
   Sewell, Kyle              Draft email to W. Perez (PG&E)            $180.00      0.6      $108.00
                             regarding energy resource recovery.
   Sewell, Kyle              Update procurement risk of material       $180.00      0.5       $90.00
                             misstatement workpapers.
   Sewell, Kyle              Draft email to A. Radomyselsky            $180.00      0.4       $72.00
                             (PG&E) regarding interim journal entry
                             data.
   Sewell, Kyle              Document Potential Adjustment Report      $180.00      3.8      $684.00
                             internal control workpaper.
   Steele, Bridget           Prepared documentation of audit           $120.00      2.6      $312.00
                             team's understanding of quarter over
                             quarter fluctuations in income
                             statement balances.
   Steele, Bridget           Continue to document audit team's         $120.00      1.5      $180.00
                             understanding of quarter over quarter
                             fluctuations in income statement
                             balances.
   Steele, Bridget           Review materials for compliance           $120.00      0.9      $108.00
                             program testing.
   Steele, Bridget           Status update meeting with S. Jasinski,   $120.00      0.6       $72.00
                             M. Azebu, B. Rice, V. Hennessy, B.
                             Martin, L. Schloetter, K. Sewell, J.
                             Nguyen (Deloitte) regarding upcoming
                             audit priorities.
   Steele, Bridget           Review Energy Procurement Sectional       $120.00      0.6       $72.00
                             Memo.
   Varshney, Swati           Discussion with S. Jasinski, M. Azebu,    $230.00      0.5      $115.00
                             T. Gillam, J. Ncho-Oguie, B. Rice, J.
                             Nguyen (Deloitte) regarding quarterly
                             review project plan and weekly
                             priorities.
   Xue, Ella                 Document Reporting System Solutions       $120.00      2.0      $240.00
                             system Privileged Access testing.




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       PG&E Corporation and Pacific Gas and Electric Company
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2019 Audit Services
07/08/2019
   Xue, Ella               Call with B. Jochum, M. McKinney            $120.00       1.0      $120.00
                           (PG&E), A. Bhattacharya, W. Kipkirui
                           (Deloitte) for ABS walkthrough and
                           FY'19 Audit kick-off.
   Xue, Ella               Document the Advanced Billing               $120.00       5.0      $600.00
                           System testing workpaper.
07/09/2019
   Agarwal, Rima           Prepare balance sheet analytics             $230.00       3.0      $690.00
                           summarizing drivers of period over
                           period fluctuations as part of Q2'19
                           interim review procedures.
   Azebu, Matt             Review the draft financial statements       $230.00       2.5      $575.00
                           to provide comments to external
                           reporting group.
   Azebu, Matt             Meeting with B. Rice, J. Ncho Oguie,        $230.00       2.4      $552.00
                           E. Murdock (Deloitte) to discuss non-
                           routine transactions.
   Azebu, Matt             Meeting with D. Kenna (PGE), B. Rice,       $230.00       0.6      $138.00
                           E. Murdock (Deloitte) to discuss
                           accounts payable control
                           considerations.
   Azebu, Matt             Discussion with A. Kamra, M. Azebu,         $230.00       0.4       $92.00
                           S. Varshney, B. Rice (Deloitte)
                           regarding Audit Plan and Scheduling
                           for fiscal year 2019 audit.
   Azebu, Matt             Discussion with J. Hamner, V.               $230.00       0.4       $92.00
                           Hennessy, S. Varshney (Deloitte)
                           regarding journal entry testing.
   Bedi, Arpit             Prepared documentation of                   $200.00       2.5      $500.00
                           completeness of Q2'19 Interim Review
                           Procedures.
   Bedi, Arpit             Continued to prepare documentation of       $200.00       3.7      $740.00
                           completeness of Q2'19 Interim Review
                           Procedures.
   Bhattacharya, Ayush     Document Qualifying Facility                $200.00       3.0      $600.00
                           Information Center (QIC) system
                           testing workpaper.
   Bhattacharya, Ayush     Update the status of audit support          $200.00       2.0      $400.00
                           requests on Deloitte Connect site.


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2019 Audit Services
07/09/2019
   Bhattacharya, Ayush     Document Customer Care & Billing            $200.00      2.0      $400.00
                           system workpaper.
   Bhattacharya, Ayush     Attend Qualifying Facility Information      $200.00      1.5      $300.00
                           Center (QIC) Walkthrough and FY'19
                           Audit kick-off with W. Kipkirui, E. Xue
                           (Deloitte).
   Choudhury, Viki         Test and documentation of Password          $200.00      1.0      $200.00
                           configuration control related to the SAP
                           Business Warehouse system.
   Donahue, Nona           Discussion with T. Lewis (PG&E) to          $380.00      0.5      $190.00
                           discuss Q2'19 tax provision questions.
   Giamanco, Patrick       Meetings with W. Kipkirui (Deloitte) to     $330.00      2.5      $825.00
                           discuss information technology audit
                           status and questions on IT audit testing
                           and scoping.
   Giamanco, Patrick       Review information technology audit         $330.00      2.1      $693.00
                           risk assessment documents.
   Giamanco, Patrick       Meeting with S. Jasinski, B. Rice, E.       $330.00      0.4      $132.00
                           Murdock (Deloitte) to discuss
                           engagement economics.
   Hamner, Jack            Discussion with M. Azebu, V.                $200.00      0.4       $80.00
                           Hennessy, S. Varshney (Deloitte)
                           regarding journal entry testing.
   Hennessy, Vincent       Discussion with L. Schloetter (Deloitte)    $200.00      1.8      $360.00
                           regarding closing notes and risks
                           associated with the controls.
   Hennessy, Vincent       Meeting with L. Schloetter (Deloitte), L.   $200.00      1.1      $220.00
                           Clapper, A. Sandoval, J. Pitman
                           (PG&E) regarding high billings report.
   Hennessy, Vincent       Create additional request for               $200.00      0.9      $180.00
                           management override sampling.
   Hennessy, Vincent       Discussion with R. Tirado (PG&E)            $200.00      0.7      $140.00
                           regarding access to the balance sheet
                           and income statement trial balances.
   Hennessy, Vincent       Discussion with K. Sewell (Deloitte)        $200.00      0.6      $120.00
                           regarding journal entry data.
   Hennessy, Vincent       Discussion with M. Azebu, J. Hamner,        $200.00      0.4       $80.00
                           S. Varshney (Deloitte) regarding
                           journal entry testing.


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       PG&E Corporation and Pacific Gas and Electric Company
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2019 Audit Services
07/09/2019
   Hennessy, Vincent       Correspond via email with S. Ali           $200.00       0.3       $60.00
                           (PG&E) regarding accounting support
                           fee testing.
   Jasinski, Samantha      Review draft financial statements on       $290.00       1.8      $522.00
                           Form 10-Q.
   K, Kavya                Create user validations for SAP ERP        $120.00       2.0      $240.00
                           Central Component (SAP ECC)
                           system.
   Kamra, Akanksha         Review balance sheet analytics             $230.00       0.5      $115.00
                           summarizing period over period
                           fluctuations in account balances as
                           part of interim review procedures for
                           Q2.
   Kipkirui, Winnie        Documentation of design control            $230.00       3.0      $690.00
                           procedures for Qualifying Facility
                           Information Center (QIC) application
                           related to power procurement.
   Kipkirui, Winnie        Review testing workpapers for              $230.00       2.0      $460.00
                           Qualifying Facility Information Center
                           (QIC) application testing related to
                           power procurement systems.
   Kipkirui, Winnie        Review and document evidence               $230.00       2.0      $460.00
                           related to Qualifying Facility
                           Information Center (QIC) application
                           testing related to power procurement
                           systems.
   Kipkirui, Winnie        Attend QIC Walkthrough and FY'19           $230.00       1.5      $345.00
                           Audit kick-off with A. Bhattacharya, E.
                           Xue (Deloitte).
   Kipkirui, Winnie        Continue to review and document            $230.00       0.5      $115.00
                           evidence provided for Qualifying
                           Facility Information Center (QIC)
                           application testing related to power
                           procurement systems.
   Martin, Blake           Draft the Memo for audit file              $200.00       3.6      $720.00
                           summarizing determination of
                           engagement risk and planned audit
                           response to determined engagement
                           risk.
   Meredith, Wendy         Read draft form 10-Q for 2nd quarter       $380.00       2.7     $1,026.00


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2019 Audit Services
07/09/2019
   Meredith, Wendy            Review draft agenda for quarterly             $380.00       0.4      $152.00
                              review meetings with PG&E
                              management
   Murdock, Elizabeth         Meeting with M. Azebu, B. Rice, J.            $330.00       2.4      $792.00
                              Ncho Oguie (Deloitte) to discuss non-
                              routine transactions.
   Murdock, Elizabeth         Review documentation of test of               $330.00       1.0      $330.00
                              design of internal controls over
                              customer billings process.
   Murdock, Elizabeth         Meeting with D. Kenna (PGE), M.               $330.00       0.6      $198.00
                              Azebu, B. Rice (Deloitte) to discuss
                              accounts payable control
                              considerations.
   Ncho-Oguie, Jean-Denis     Meeting with M. Azebu, B. Rice, E.            $330.00       2.4      $792.00
                              Murdock (Deloitte) to discuss non-
                              routine transactions.
   Ncho-Oguie, Jean-Denis     Preparation of analysis for Deloitte          $330.00       1.0      $330.00
                              issues log for second quarter non-
                              routine transactions.
   Nguyen, Jessica            Address review notes in environmental         $120.00       2.6      $312.00
                              remediation liability testing workpaper.
   Nguyen, Jessica            Address review notes in consolidated          $120.00       1.4      $168.00
                              analytic workpaper summarizing period
                              over period fluctuations between the
                              Utility and Consolidated levels.
   Nguyen, Jessica            Perform tie out of amounts included in        $120.00       1.2      $144.00
                              Q2'19 financial statements to
                              supporting client supporting schedules.
   Nguyen, Jessica            Discussion with L. Schloetter (Deloitte)      $120.00       1.1      $132.00
                              regarding environmental remediation
                              workpaper.
   Nguyen, Jessica            Begin Corporation Consolidation               $120.00       1.1      $132.00
                              Analytics.
   Rice, Blake                Meeting with M. Azebu, J. Ncho Oguie,         $230.00       2.4      $552.00
                              E. Murdock (Deloitte) to discuss non-
                              routine transactions.
   Rice, Blake                Prepare balance sheet variance                $230.00       2.0      $460.00
                              analysis.
   Rice, Blake                Continued to prepare balance sheet            $230.00       1.5      $345.00
                              variance analysis.

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Date                      Description                                      Rate    Hours         Fees

2019 Audit Services
07/09/2019
   Rice, Blake            Meeting with D. Kenna (PGE), M.               $230.00       0.6      $138.00
                          Azebu, E. Murdock (Deloitte) to
                          discuss accounts payable control
                          considerations.
   Schloetter, Lexie      Discussion with J. Nguyen (Deloitte)          $180.00       1.1      $198.00
                          regarding environmental remediation
                          workpaper.
   Schloetter, Lexie      Review the environmental remediation          $180.00       0.8      $144.00
                          liability workpaper.
   Schloetter, Lexie      Prepare for billings control process          $180.00       0.3       $54.00
                          meeting.
   Schloetter, Lexie      Continue to address manager review            $180.00       2.1      $378.00
                          notes on customer billings control
                          workpapers.
   Schloetter, Lexie      Discussion with V. Hennessy (Deloitte)        $180.00       1.8      $324.00
                          regarding closing notes and risks
                          associated with internal control
                          addressing customer billings process.
   Schloetter, Lexie      Address manager review comments on            $180.00       1.3      $234.00
                          documentation in customer billings
                          control workpapers.
   Schloetter, Lexie      Meeting with V. Hennessy (Deloitte), L.       $180.00       1.1      $198.00
                          Clapper, A. Sandoval, J. Pitman
                          (PG&E) regarding high billings report.
   Sewell, Kyle           Update energy procurement flowchart.          $180.00       0.8      $144.00
   Sewell, Kyle           Meet with E. Lopez (PG&E) to discuss          $180.00       0.6      $108.00
                          insurance risk questionnaire.
   Sewell, Kyle           Discussion with V. Hennessy (Deloitte)        $180.00       0.6      $108.00
                          regarding journal entry data.
   Sewell, Kyle           Drafted email to E. Lim (Deloitte)            $180.00       0.3       $54.00
                          regarding journal entry testing
                          specialists.
   Sewell, Kyle           Update quarterly income statement             $180.00       2.0      $360.00
                          analytic workpaper.
   Sewell, Kyle           Close notes within electric                   $180.00       1.8      $324.00
                          procurement controls.




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                     Fees Sorted by Category for the Fee Period
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Date                         Description                                   Rate    Hours         Fees

2019 Audit Services
07/09/2019
   Sewell, Kyle              Update memo documenting audit              $180.00       1.2      $216.00
                             team's understanding of the
                             Company's energy procurement
                             process, including relevant accounting
                             guidance.
   Sewell, Kyle              Update California independent system       $180.00       1.1      $198.00
                             operator memo.
   Steele, Bridget           Analyze and summarize drivers behind       $120.00       2.5      $300.00
                             period over period fluctuations in
                             income statement balances.
   Steele, Bridget           Document audit team's planned              $120.00       1.9      $228.00
                             responses and risk assessment
                             considerations related to the period
                             over period fluctuations in income
                             statement.
   Steele, Bridget           Continued to analyze and summarize         $120.00       1.8      $216.00
                             drivers behind period over period
                             fluctuations in income statement
                             balances.
   Varshney, Swati           Discussion with M. Azebu, J. Hamner,       $230.00       0.4       $92.00
                             V. Hennessy (Deloitte) regarding
                             journal entry testing.
   Xue, Ella                 Document Electric Procurement              $120.00       4.0      $480.00
                             Settlement Data System testing
                             Workpaper.
   Xue, Ella                 Prepare documentation of Customer          $120.00       2.5      $300.00
                             Care & Billing system change testing
                             workpaper.
   Xue, Ella                 Attend QIC Walkthrough and FY'19           $120.00       1.5      $180.00
                             Audit kick-off with W. Kipkirui, A.
                             Bhattacharya (Deloitte).
07/10/2019
   Agarwal, Rima             Prepare balance sheet analytics            $230.00       3.0      $690.00
                             summarizing drivers of period over
                             period fluctuations as part of Q2'19
                             interim review procedures.
   Azebu, Matt               Meeting with S. Hunter, D. Kenna, D.       $230.00       0.5      $115.00
                             DeMartini, K. Mallonee (PG&E), B.
                             Rice, S. Jasinski (Deloitte) to discuss
                             status of quarterly review procedures.

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2019 Audit Services
07/10/2019
   Azebu, Matt             Discussion with A. Kamra, S. Jasinski,     $230.00       0.5      $115.00
                           S. Varshney, A. Bedi, B. Rice (Deloitte)
                           regarding quarterly review project plan
                           and weekly priorities.
   Azebu, Matt             Review online guided risk assessment       $230.00       2.2      $506.00
                           for accounts payable.
   Azebu, Matt             Review online guided risk assessment       $230.00       1.5      $345.00
                           for operating and maintenance
                           expenses.
   Azebu, Matt             Review financial ratio analysis            $230.00       1.0      $230.00
                           workpaper as part of interim review
                           procedures.
   Azebu, Matt             Discussion with W. Meredith, E.            $230.00       0.7      $161.00
                           Murdock, S. Jasinski, J. Ncho-Oguie,
                           D. Choudhary, A. Kamra (Deloitte)
                           regarding audit status and areas of
                           focus for quarterly review.
   Azebu, Matt             Meeting with K. Mallonee (PG&E), B.        $230.00       0.5      $115.00
                           Rice, S. Jasinski (Deloitte) to discuss
                           comments on draft Form 10-Q.
   Bhattacharya, Ayush     Update Deloitte Connect site to add        $200.00       2.0      $400.00
                           audit support requests for automated
                           control testing.
   Bhattacharya, Ayush     Document design and evidence               $200.00       2.0      $400.00
                           screenshots for
                           reliance/reperformance workpapers.
   Bhattacharya, Ayush     Attend Endur walkthrough and FY'19         $200.00       2.0      $400.00
                           Audit kick-off with W. Kipkirui, E. Xue
                           (Deloitte), S. Kung, C. Schurmann, A.
                           Arana (PG&E).
   Bhattacharya, Ayush     Document Endur accounting system           $200.00       3.0      $600.00
                           workpaper.
   Choudhary, Devesh       Discussion with W. Meredith, E.            $380.00       0.7      $266.00
                           Murdock, S. Jasinski, J. Ncho-Oguie,
                           A. Kamra, M. Azebu (Deloitte)
                           regarding audit status and areas of
                           focus for quarterly review.
   Choudhury, Viki         Discussion with Jasinski (Deloitte)        $200.00       0.5      $100.00
                           regarding quarterly review project plan
                           and weekly priorities.

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       PG&E Corporation and Pacific Gas and Electric Company
                              Deloitte & Touche LLP
                 Fees Sorted by Category for the Fee Period
                                   July 01, 2019 - July 31, 2019
Date                      Description                                   Rate    Hours          Fees

2019 Audit Services
07/10/2019
   Giamanco, Patrick      Call with J. Cochran (Deloitte) to         $330.00       0.5      $165.00
                          discuss meeting agenda for quarterly
                          meeting with K. Kay (PG&E) regarding
                          status of IT audit
   Giamanco, Patrick      Review information technology audit        $330.00       3.2     $1,056.00
                          workpaper tracker to review the
                          progress of information technology
                          controls testing and prioritize next
                          steps.
   Giamanco, Patrick      Review information technology audit        $330.00       2.0      $660.00
                          workpaper tracker to review the
                          progress of information technology
                          controls testing and prioritize next
                          steps.
   Giamanco, Patrick      Discuss status of automated control        $330.00       1.0      $330.00
                          testing with W. Kipkirui (Deloitte).
   Giamanco, Patrick      Meeting with W. Kipkirui, S. Misra, V.     $330.00       1.0      $330.00
                          Choudhury (Deloitte) to discuss testing
                          progress related to information
                          technology controls related to
                          enterprise resource planning system.
   Hennessy, Vincent      Discussion with K. Sewell (Deloitte) to    $200.00       0.5      $100.00
                          discuss reconciliation of journal entry
                          data to trial balance.
   Hennessy, Vincent      Update independence roadmap for            $200.00       0.4       $80.00
                          Q2'19.
   Hennessy, Vincent      Discussion with L. Schloetter, B. Rice     $200.00       0.4       $80.00
                          (Deloitte) regarding billings control.
   Hennessy, Vincent      Preparing for meter to cash billings       $200.00       0.3       $60.00
                          discussion.
   Hennessy, Vincent      Correspond with H. Bhimani (Deloitte)      $200.00       0.3       $60.00
                          regarding journal entry testing.
   Hennessy, Vincent      Correspond via email with J. Kan           $200.00       0.2       $40.00
                          (PG&E) regarding PG&E's institutional
                          investor information for the
                          independence roadmap.
   Hennessy, Vincent      Discussion with L. Schloetter (Deloitte)   $200.00       0.6      $120.00
                          regarding PG&E's trial balance.




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       PG&E Corporation and Pacific Gas and Electric Company
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Date                      Description                                     Rate    Hours         Fees

2019 Audit Services
07/10/2019
   Hennessy, Vincent      Correspondence with H. Bhimani               $200.00       0.6      $120.00
                          (Deloitte) regarding journal entry
                          testing approach for Q1-Q2 2019
                          journal entry testing.
   Jasinski, Samantha     Meeting with J. Ncho-Oguie (Deloitte)        $290.00       2.4      $696.00
                          to discuss non-routine transactions.
   Jasinski, Samantha     Discussion with B. Rice, B. Martin           $290.00       1.5      $435.00
                          (Deloitte) regarding benefits (Pension/
                          PBOP) related controls and
                          substantive testing.
   Jasinski, Samantha     Meeting with S. Hunter, D. Kenna, D.         $290.00       0.5      $145.00
                          DeMartini, K. Mallonee (PG&E), M.
                          Azebu, B. Rice (Deloitte) to discuss
                          status of quarterly review procedures.
   Jasinski, Samantha     Discussion with V. Choudhury                 $290.00       0.5      $145.00
                          (Deloitte) regarding quarterly review
                          project plan and weekly priorities.
   Jasinski, Samantha     Discussion with W. Meredith, E.              $290.00       0.7      $203.00
                          Murdock, J. Ncho-Oguie (Deloitte)
                          regarding audit status and areas of
                          focus for quarterly review.
   Jasinski, Samantha     Meeting with D. Kenna (PGE) to               $290.00       0.6      $174.00
                          discuss AP control findings.
   Jasinski, Samantha     Meeting with K. Mallonee (PG&E), B.          $290.00       0.5      $145.00
                          Rice, M. Azebu (Deloitte) to discuss
                          comments on draft Form 10-Q.
   K, Kavya               Status Call with W. Kipkirui (Deloitte) to   $120.00       1.0      $120.00
                          discuss the status of IT audit testing.
   Kamra, Akanksha        Discussion with W. Meredith, E.              $230.00       0.7      $161.00
                          Murdock, S. Jasinski, J. Ncho-Oguie,
                          D. Choudhary, M. Azebu (Deloitte)
                          regarding audit status and areas of
                          focus for quarterly review.
   Kamra, Akanksha        Review analysis of the risk results for      $230.00       0.5      $115.00
                          the entity and assess analyst reports to
                          note if additional risks are to be
                          considered for the audit engagement




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       PG&E Corporation and Pacific Gas and Electric Company
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Date                       Description                                     Rate    Hours         Fees

2019 Audit Services
07/10/2019
   Kipkirui, Winnie        Documentation of control design              $230.00       3.0      $690.00
                           testing procedures for Endur
                           application for access security testing
                           area.
   Kipkirui, Winnie        Continued to document control design         $230.00       3.0      $690.00
                           testing procedures for Endur
                           application for access security testing
                           area.
   Kipkirui, Winnie        Attend Endur walkthrough and FY'19           $230.00       2.0      $460.00
                           Audit kick-off with A. Bhattacharya, E.
                           Xue (Deloitte), S. Kung, C.
                           Schurmann, A. Arana (PG&E).
   Kipkirui, Winnie        Discuss status of automated control          $230.00       1.0      $230.00
                           testing with P. Giamanco (Deloitte).
   Martin, Blake           Discussion with B. Rice, S. Jasinski         $200.00       1.5      $300.00
                           (Deloitte) regarding benefits (Pension/
                           PBOP) related controls and
                           substantive testing.
   Martin, Blake           Draft memo for audit file summarizing        $200.00       1.4      $280.00
                           determination of engagement risk and
                           audit team's planned response.
   Martin, Blake           Set up data analytics request for            $200.00       1.3      $260.00
                           pension and PBOP (Postretirement
                           Benefit other than Pension) plan
                           liabilities analytic.
   Martin, Blake           Prepare the benefits control                 $200.00       0.3       $60.00
                           workpaper.
   Mehra, Shreya           Prepare the quarterly summary of             $180.00       3.0      $540.00
                           alerts outlining the impacts and
                           relevance of new accounting
                           pronouncements relevant to the
                           Company's Form 10-Q.
   Mehra, Shreya           Continued to prepare the quarterly           $180.00       1.0      $180.00
                           summary of alerts outlining the impacts
                           and relevance of new accounting
                           pronouncements relevant to the
                           Company's Form 10-Q.
   Meredith, Wendy         Discussion with S. Jasinski, E.              $380.00       0.7      $266.00
                           Murdock, J. Ncho-Oguie (Deloitte)
                           regarding audit status and areas of
                           focus for quarterly review.

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       PG&E Corporation and Pacific Gas and Electric Company
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Date                          Description                                     Rate    Hours         Fees

2019 Audit Services
07/10/2019
   Murdock, Elizabeth         Discussion with S. Jasinski, W.              $330.00       0.7      $231.00
                              Meredith, J. Ncho-Oguie (Deloitte)
                              regarding audit status and areas of
                              focus for quarterly review.
   Ncho-Oguie, Jean-Denis     Meeting with S. Jasinski (Deloitte) to       $330.00       2.4      $792.00
                              discuss non-routine transactions.
   Ncho-Oguie, Jean-Denis     Discussion (partial) with S. Jasinski,       $330.00       0.6      $198.00
                              W. Meredith, E. Murdock (Deloitte)
                              regarding audit status and areas of
                              focus for quarterly review.
   Nguyen, Jessica            Perform tie out of amounts included in       $120.00       1.4      $168.00
                              Q2'19 financial statements to
                              supporting client supporting schedules.
   Nguyen, Jessica            Further performed tie out of amounts         $120.00       1.2      $144.00
                              included in Q2'19 financial statements
                              to supporting client supporting
                              schedules.
   Nguyen, Jessica            Address review notes in environmental        $120.00       2.6      $312.00
                              remediation liability testing workpaper.
   Nguyen, Jessica            Continued to tie out of amounts              $120.00       2.1      $252.00
                              included in Q2'19 financial statements
                              to supporting client supporting
                              schedules.
   Rice, Blake                Discussion with B. Martin, S. Jasinski       $230.00       1.5      $345.00
                              (Deloitte) regarding benefits (Pension/
                              PBOP) related controls and
                              substantive testing.
   Rice, Blake                Meeting with S. Hunter, D. Kenna, D.         $230.00       0.5      $115.00
                              DeMartini, K. Mallonee (PG&E), M.
                              Azebu, S. Jasinski (Deloitte) to discuss
                              status of quarterly review procedures.
   Rice, Blake                Review draft financial statements on         $230.00       0.5      $115.00
                              Form 10-Q to provide comments to
                              PG&E external reporting.
   Rice, Blake                Meeting with K. Mallonee (PG&E), M.          $230.00       0.5      $115.00
                              Azebu, S. Jasinski (Deloitte) to discuss
                              comments on draft Form 10-Q.




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       PG&E Corporation and Pacific Gas and Electric Company
                              Deloitte & Touche LLP
                  Fees Sorted by Category for the Fee Period
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Date                      Description                                     Rate    Hours         Fees

2019 Audit Services
07/10/2019
   Rice, Blake            Discussion between P. Giamanco, E.           $230.00       0.5      $115.00
                          Murdock, W. Kipkirui (Deloitte)
                          regarding Automated Controls testing
                          and Advisory timing.
   Rice, Blake            Discussion with L. Schloetter, V.            $230.00       0.4       $92.00
                          Hennessy (Deloitte) regarding billings
                          control.
   Schloetter, Lexie      Close notes to billings controls             $180.00       0.9      $162.00
                          workpaper.
   Schloetter, Lexie      Update billings control documentation        $180.00       0.9      $162.00
                          for design factors.
   Schloetter, Lexie      Discussion with V. Hennessy (Deloitte)       $180.00       0.6      $108.00
                          regarding PG&E's trial balance.
   Schloetter, Lexie      Discussion with A. Yee (PG&E)                $180.00       0.4       $72.00
                          regarding billings control process.
   Schloetter, Lexie      Discussion with V. Hennessy, B. Rice         $180.00       0.4       $72.00
                          (Deloitte) regarding billings control.
   Schloetter, Lexie      Continue to close notes to billings          $180.00       3.6      $648.00
                          control workpaper.
   Schloetter, Lexie      Review and understand environmental          $180.00       1.2      $216.00
                          remediation workpaper.
   Sewell, Kyle           Draft email to A. Radomyselsky               $180.00       0.4       $72.00
                          (PG&E) regarding the quarterly trial
                          balance sheet.
   Sewell, Kyle           Continue to document electric                $180.00       0.8      $144.00
                          balancing account journal entry control.
   Sewell, Kyle           Update natural gas journal entry             $180.00       0.7      $126.00
                          control workpaper.
   Sewell, Kyle           Continued to update the quarterly            $180.00       0.7      $126.00
                          income statement revenue analytic.
   Sewell, Kyle           Discussion with V. Hennessy (Deloitte)       $180.00       0.5       $90.00
                          regarding reconciliation of journal entry
                          data to trial balance extract from
                          enterprise resource planning system
                          (SAP).
   Sewell, Kyle           Draft email to S. Varshney (Deloitte)        $180.00       0.5       $90.00
                          regarding the independence memo.




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       PG&E Corporation and Pacific Gas and Electric Company
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                     Fees Sorted by Category for the Fee Period
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Date                         Description                                  Rate    Hours         Fees

2019 Audit Services
07/10/2019
   Sewell, Kyle              Draft email to A. Patel (PG&E)             $180.00      0.4       $72.00
                             regarding invoice payment
                             authorization.
   Sewell, Kyle              Update the quarterly income statement      $180.00      1.8      $324.00
                             revenue analytic.
   Sewell, Kyle              Document electric balancing account        $180.00      1.3      $234.00
                             journal entry control.
   Sewell, Kyle              Meet with W. Perez (PG&E) to discuss       $180.00      1.0      $180.00
                             electric balancing account journal entry
                             control.
   Steele, Bridget           Continued to summarize the drivers         $120.00      4.1      $492.00
                             behind period over period fluctuations
                             in income statement balances.
   Steele, Bridget           Summarize the drivers behind period        $120.00      3.3      $396.00
                             over period fluctuations in income
                             statement balances.
   Xue, Ella                 Document testing of design of internal     $120.00      4.0      $480.00
                             control related to Endur accounting
                             system.
   Xue, Ella                 Update Customer Care & Billing             $120.00      2.0      $240.00
                             System control testing workpapers.
   Xue, Ella                 Attend Endur walkthrough and FY'19         $120.00      2.0      $240.00
                             Audit kick-off with W. Kipkirui, A.
                             Bhattacharya (Deloitte), S. Kung, C.
                             Schurmann, A. Arana (PG&E).
   Yuen, Jennifer            Roll forward tax summary memo for          $230.00      0.7      $161.00
                             Q2 2019.
07/11/2019
   Agarwal, Rima             Continued to prepare documentation of      $230.00      2.5      $575.00
                             quarterly Independence Memo
                             summarizing audit team's compliance
                             with applicable independence rules as
                             part of Q2'19 interim review
                             procedures.
   Agarwal, Rima             Prepared documentation of quarterly        $230.00      1.5      $345.00
                             Independence Memo summarizing
                             audit team's compliance with
                             applicable independence rules as part
                             of Q2'19 interim review procedures.


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       PG&E Corporation and Pacific Gas and Electric Company
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                 Fees Sorted by Category for the Fee Period
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Date                       Description                                    Rate    Hours          Fees

2019 Audit Services
07/11/2019
   Bedi, Arpit             Prepare documentation of the drivers        $200.00       3.0      $600.00
                           behind period over period fluctuations
                           in balance sheet account balances as
                           part of Q2'19 interim review
                           procedures.
   Bedi, Arpit             Continued to prepare documentation of       $200.00       3.0      $600.00
                           the drivers behind period over period
                           fluctuations in balance sheet account
                           balances as part of Q2'19 interim
                           review procedures.
   Bedi, Arpit             Summarized audit team's conclusions         $200.00       2.0      $400.00
                           regarding the impact of period over
                           period fluctuations in balance sheet
                           account balances on planned audit
                           procedures.
   Bhattacharya, Ayush     Document Meter Data Management              $200.00       2.5      $500.00
                           System testing workpaper.
   Bhattacharya, Ayush     Update the status of audit support          $200.00       2.0      $400.00
                           requests in preparation for audit status
                           meeting with C. Lee (PG&E).
   Bhattacharya, Ayush     Attend Meter Data Management                $200.00       1.5      $300.00
                           System walkthrough and FY'19 Audit
                           kick-off with W. Kipkirui, E. Xue
                           (Deloitte), H. Chen, A. Wang (PG&E).
   Bhattacharya, Ayush     Address powerplan privileged access         $200.00       1.0      $200.00
                           review notes.
   Bhattacharya, Ayush     Attend Meter Data Management                $200.00       1.0      $200.00
                           System walkthrough and FY'19 Audit
                           kick-off with W. Kipkirui, E. Xue
                           (Deloitte).
   Giamanco, Patrick       Review information technology               $330.00       4.0     $1,320.00
                           controls testing workpapers for
                           enterprise resource planning system
                           (SAP).
   Giamanco, Patrick       Meeting with W. Kipkirui (Deloitte) to      $330.00       0.5      $165.00
                           discuss questions related to automated
                           system controls testing.
   Giamanco, Patrick       Call with E. Murdock (Deloitte) to          $330.00       0.5      $165.00
                           discuss IT Advisory status.



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                  Fees Sorted by Category for the Fee Period
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Date                      Description                                     Rate    Hours         Fees

2019 Audit Services
07/11/2019
   Giamanco, Patrick      Discussion with E. Murdock, W.               $330.00       0.5      $165.00
                          Kipkirui, B. Rice (Deloitte) regarding
                          automated controls testing and
                          advisory timing.
   Giamanco, Patrick      Meeting with J. Ncho Oguie (Deloitte)        $330.00       0.5      $165.00
                          to discuss the state of the PG&E
                          information technology environment as
                          a result of PG&E leadership changes.
   Giamanco, Patrick      Meeting with B. Rice, E. Murdock, and        $330.00       0.5      $165.00
                          W. Kipkirui (all Deloitte) to discuss
                          automated controls testing status.
   Giamanco, Patrick      Prepare agenda for meeting related to        $330.00       0.5      $165.00
                          information technology audit with K.
                          Kay (PG&E) next week.
   Gillam, Tim            Discussion with J. Ncho-Oguie                $380.00       0.5      $190.00
                          (Deloitte) internal control
                          considerations related to accounts
                          payable.
   Hennessy, Vincent      Review accounting support fees               $200.00       0.9      $180.00
                          workpapers.
   Hennessy, Vincent      Research guidance and next steps             $200.00       0.7      $140.00
                          related to accounting support fees.
   Hennessy, Vincent      Discussion with K. Sewell (Deloitte)         $200.00       0.6      $120.00
                          regarding journal entry data for Q1 Q2.
   Hennessy, Vincent      Discussion with B. Steele (Deloitte)         $200.00       0.5      $100.00
                          regarding accounting support fee
                          testing.
   Hennessy, Vincent      Correspond via email with S. Ali             $200.00       0.2       $40.00
                          (PG&E) regarding accounting support
                          fee testing.
   Hennessy, Vincent      Discussion with L. Schloetter (Deloitte)     $200.00       1.3      $260.00
                          regarding billing controls.
   Jain, Rachna           Review documentation of drivers              $230.00       1.0      $230.00
                          behind period over period fluctuations
                          in statement of cash flows as part of
                          interim review procedures for Q2'19.
   Jasinski, Samantha     Perform testing on the Company's             $290.00       2.8      $812.00
                          Transmisson Owner Formula Rate.



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Date                       Description                                    Rate    Hours         Fees

2019 Audit Services
07/11/2019
   Jasinski, Samantha      Meet with K. Sewell, B. Rice (Deloitte)     $290.00       0.5      $145.00
                           to discuss lease and procurement
                           workpaper status.
   Kamra, Akanksha         Assess the independence of the audit        $230.00       0.4       $92.00
                           engagement team members engaged
                           on the PG&E audit.
   Kipkirui, Winnie        Perform Meter Data Management               $230.00       3.0      $690.00
                           System design documentation update.
   Kipkirui, Winnie        Attend Meter Data Management                $230.00       1.5      $345.00
                           System walkthrough and FY'19 Audit
                           kick-off with A. Bhattacharya, E. Xue
                           (Deloitte).
   Kipkirui, Winnie        Prepare documentation related to            $230.00       1.0      $230.00
                           Endur system testing based on results
                           of meeting with PG&E team.
   Kipkirui, Winnie        Discussion with P. Giamanco, E.             $230.00       0.5      $115.00
                           Murdock, B. Rice (Deloitte) regarding
                           automated controls testing and
                           advisory timing.
   Kipkirui, Winnie        Attend Meter Data Management                $230.00       1.5      $345.00
                           System walkthrough and FY'19 Audit
                           kick-off with E. Xue, A. Bhattacharya
                           (Deloitte), H. Chen, A. Wang (PG&E).
   Kipkirui, Winnie        Attend procedures discussion to             $230.00       1.5      $345.00
                           identify changes on the Customer Care
                           & Billing system Unix Server with E.
                           Xue (Deloitte).
   Martin, Blake           Document the risks of material              $200.00       2.3      $460.00
                           misstatements identified related to the
                           benefits process for the 2019 audit.
   Martin, Blake           Review Q2'19 Corporation                    $200.00       1.4      $280.00
                           Consolidated Analytics summarizing
                           period over period fluctuations
                           between consolidated corporation and
                           utility level account balances as part of
                           interim review procedures.
   Mehra, Shreya           Prepare the quarterly summary of            $180.00       1.0      $180.00
                           alerts outlining the impacts and
                           relevance of new accounting
                           pronouncements relevant to the
                           Company's Form 10-Q.

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                                       July 01, 2019 - July 31, 2019
Date                          Description                                     Rate    Hours         Fees

2019 Audit Services
07/11/2019
   Meredith, Wendy            Meet with J. Ncho-Oguie (Deloitte) to        $380.00       0.3      $114.00
                              discuss quarter 2 PG&E management
                              meetings.
   Meredith, Wendy            Review summary of internal control           $380.00       0.3      $114.00
                              considerations related to quarter 2
                              findings.
   Meredith, Wendy            Research Public Company Accounting           $380.00       0.3      $114.00
                              Oversight Board guidance related to
                              entity payment of support fees.
   Murdock, Elizabeth         Provide comments on control finding          $330.00       1.4      $462.00
                              wording.
   Murdock, Elizabeth         Discussion with P. Giamanco, W.              $330.00       0.5      $165.00
                              Kipkirui, B. Rice (Deloitte) regarding
                              automated controls testing and
                              advisory timing.
   Murdock, Elizabeth         Call with P. Giamanco (Deloitte) to          $330.00       0.5      $165.00
                              discuss IT Advisory status.
   Murdock, Elizabeth         Call with S. Sreeram (Deloitte) to           $330.00       0.5      $165.00
                              discuss Q2 project plan and
                              environmental risk assessment.
   Murdock, Elizabeth         Call with D. Kenna (PG&E) to discuss         $330.00       0.1       $33.00
                              accounts payable control finding.
   Ncho-Oguie, Jean-Denis     Discussion with T. Gillam (Deloitte) for     $330.00       0.5      $165.00
                              internal control considerations related
                              to accounts payable findings.
   Ncho-Oguie, Jean-Denis     Meet with W. Meredith (Deloitte) to          $330.00       0.3       $99.00
                              discuss quarter 2 PG&E management
                              meetings.
   Nguyen, Jessica            Perform tie out of amounts included in       $120.00       3.0      $360.00
                              Q2'19 financial statements to
                              supporting client supporting schedules.
   Nguyen, Jessica            Continued to perform tie out of              $120.00       2.1      $252.00
                              amounts included in Q2'19 financial
                              statements to supporting client
                              supporting schedules.
   Nguyen, Jessica            Document audit team's approach of            $120.00       1.6      $192.00
                              Using the Work of others for reliance
                              on controls testing performed by PG&E
                              Financial Controls and Compliance
                              group.

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       PG&E Corporation and Pacific Gas and Electric Company
                              Deloitte & Touche LLP
                  Fees Sorted by Category for the Fee Period
                                   July 01, 2019 - July 31, 2019
Date                      Description                                   Rate    Hours         Fees

2019 Audit Services
07/11/2019
   Nguyen, Jessica        Discussion with L. Schloetter (Deloitte)    $120.00      0.6       $72.00
                          regarding analytics in Quarter 2.
   Rice, Blake            Discussion with L. Schloetter (Deloitte)    $230.00      1.0      $230.00
                          regarding automated controls in
                          billings process.
   Rice, Blake            Discussion with P. Giamanco, E.             $230.00      0.5      $115.00
                          Murdock, W. Kipkirui (Deloitte)
                          regarding automated controls testing
                          and advisory timing.
   Rice, Blake            Meet with K. Sewell, S. Jasinski            $230.00      0.5      $115.00
                          (Deloitte) to discuss lease and
                          procurement workpaper status.
   Rice, Blake            Met with K. Sewell, M. Azebu, S.            $230.00      0.5      $115.00
                          Jasinski (Deloitte) to discuss lease and
                          procurement workpaper status.
   Rice, Blake            Prepare income statement variance           $230.00      2.4      $552.00
                          analysis.
   Rice, Blake            Continue to prepare income statement        $230.00      2.4      $552.00
                          variance analysis.
   Schloetter, Lexie      Discussion with J. Nguyen (Deloitte)        $180.00      0.6      $108.00
                          regarding analytics in Quarter 2.
   Schloetter, Lexie      Meet with D. Demartini (PG&E) to            $180.00      0.4       $72.00
                          discuss billings control and the internal
                          audit control testing.
   Schloetter, Lexie      Update the testing approach to use the      $180.00      0.3       $54.00
                          work of others in control testing.
   Schloetter, Lexie      Meet with P. Lui (PG&E), K. Sewell          $180.00      0.3       $54.00
                          (Deloitte) to discuss trial balance
                          information.
   Schloetter, Lexie      Create control matrix to consider low       $180.00      0.3       $54.00
                          risk controls identified by PG&E
                          internal audit.
   Schloetter, Lexie      Prepare for meetings with B. Rice, W.       $180.00      0.3       $54.00
                          Kipkirui (Deloitte) and B. Chan (PG&E)
                          for billings controls.
   Schloetter, Lexie      Discussion with V. Hennessy (Deloitte)      $180.00      1.3      $234.00
                          regarding billing controls.




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       PG&E Corporation and Pacific Gas and Electric Company
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                     Fees Sorted by Category for the Fee Period
                                       July 01, 2019 - July 31, 2019
Date                         Description                                    Rate    Hours         Fees

2019 Audit Services
07/11/2019
   Schloetter, Lexie         Prepare for meeting with D. Demartini,       $180.00      0.2       $36.00
                             J. Pitman (PG&E), V. Hennessy, E.
                             Murdock (Deloitte) for billings controls.
   Schloetter, Lexie         Update billings control workpaper for        $180.00      1.1      $198.00
                             design factors.
   Schloetter, Lexie         Assessing the client information,            $180.00      1.0      $180.00
                             including the trial balance, for quarter 2
                             review procedures
   Schloetter, Lexie         Discussion with B. Rice (Deloitte)           $180.00      1.0      $180.00
                             regarding automated controls in
                             billings process.
   Sewell, Kyle              Review open items within the quarterly       $180.00      1.8      $324.00
                             independence memo.
   Sewell, Kyle              Review energy procurement internal           $180.00      1.6      $288.00
                             control testing.
   Sewell, Kyle              Reconcile the trial balance extract from     $180.00      1.3      $234.00
                             enterprise resource planning system
                             (SAP) to the Company's financial
                             statements.
   Sewell, Kyle              Discussion with V. Hennessy (Deloitte)       $180.00      0.6      $108.00
                             regarding journal entry data for Q1 Q2.
   Sewell, Kyle              Meet with M. Azebu, B. Rice, S.              $180.00      0.5       $90.00
                             Jasinski (Deloitte) to discuss lease and
                             procurement workpaper status.
   Sewell, Kyle              Meet with B. Rice, S. Jasinski               $180.00      0.5       $90.00
                             (Deloitte) to discuss lease and
                             procurement workpaper status.
   Sewell, Kyle              Meet with P. Lui (PG&E), L. Schloetter       $180.00      0.3       $54.00
                             (Deloitte) to discuss trial balance
                             information.
   Sreeram, Sree             Call with E. Murdock (Deloitte) to           $290.00      0.5      $145.00
                             discuss Q2 project plan
   Sreeram, Sree             Call with E. Murdock (Deloitte) to           $290.00      0.5      $145.00
                             discuss environmental remediation
                             liability risk assessment.
   Steele, Bridget           Analyze drivers behind period over           $120.00      1.3      $156.00
                             period fluctuations in income statement
                             balances.



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       PG&E Corporation and Pacific Gas and Electric Company
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                     Fees Sorted by Category for the Fee Period
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Date                         Description                                  Rate    Hours         Fees

2019 Audit Services
07/11/2019
   Steele, Bridget           Document support for compliance           $120.00       0.9      $108.00
                             program testing.
   Steele, Bridget           Discussion with V. Hennessy (Deloitte)    $120.00       0.5       $60.00
                             regarding accounting support fee
                             testing.
   Steele, Bridget           Continue to document support for          $120.00       1.3      $156.00
                             compliance program testing.
   Steele, Bridget           Perform tie out of amounts included in    $120.00       1.3      $156.00
                             Q2'19 financial statements to client
                             supporting schedules.
   Steele, Bridget           Document audit team's planned             $120.00       1.1      $132.00
                             responses to address the period over
                             period fluctuations in income statement
                             balances.
   Xue, Ella                 Attend procedures discussion to           $120.00       1.5      $180.00
                             identify changes on the CC&B Unix
                             Server with W. Kipkirui (Deloitte).
   Xue, Ella                 Attend Meter Data Management              $120.00       1.5      $180.00
                             System walkthrough and FY'19 Audit
                             kick-off with A. Bhattacharya, W.
                             Kipkirui (Deloitte).
   Xue, Ella                 Attend Market Data System (MDS)           $120.00       1.5      $180.00
                             walkthrough and FY'19 Audit kick-off
                             with W. Kipkirui, A. Bhattacharya
                             (Deloitte), H. Chen, A. Wang (PG&E).
   Xue, Ella                 Document Market Data System (MDS)         $120.00       1.5      $180.00
                             testing workpaper.
   Xue, Ella                 Update Customer Care & Billing            $120.00       2.0      $240.00
                             System control testing workpapers
07/12/2019
   Agarwal, Rima             Prepare quarterly statement of cash       $230.00       1.0      $230.00
                             flows analytics summarizing drivers of
                             period over period fluctuations as part
                             of Q2'19 interim review procedures.
   Azebu, Matt               Review the draft financial statements     $230.00       3.0      $690.00
                             to provide comments to external
                             reporting group.




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       PG&E Corporation and Pacific Gas and Electric Company
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                 Fees Sorted by Category for the Fee Period
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Date                       Description                                    Rate    Hours         Fees

2019 Audit Services
07/12/2019
   Bedi, Arpit             Document audit team's planned               $200.00       3.0      $600.00
                           responses to address the period over
                           period fluctuations in balance sheet
                           account balances.
   Bedi, Arpit             Continued to document audit team's          $200.00       3.0      $600.00
                           planned responses to address the
                           period over period fluctuations in
                           balance sheet account balances.
   Bedi, Arpit             Analyze drivers behind period over          $200.00       2.0      $400.00
                           period fluctuations in balance sheet
                           account balances.
   Bhattacharya, Ayush     Document Advanced Billing System            $200.00       4.0      $800.00
                           (ABS) testing workpapers.
   Bhattacharya, Ayush     Update the status of audit support          $200.00       2.0      $400.00
                           requests on Deloitte Connect site.
   Bhattacharya, Ayush     Prepare documentation of control            $200.00       2.0      $400.00
                           workpapers related to information
                           technology controls over system
                           change management.
   Bhattacharya, Ayush     Attend Windows Active Directory             $200.00       1.0      $200.00
                           walkthrough and FY'19 Audit kick-off
                           with W. Kipkirui, E. Xue (Deloitte), J.
                           Jorajuria, T. Sullivan, N. Casey
                           (PG&E).
   Gillam, Tim             Meeting with W. Meredith, J. Ncho-          $380.00       1.1      $418.00
                           Oguie, S. Jasinski, E. Murdock
                           (Deloitte), D. Thomason, S. Hunter, J.
                           Garboden (PG&E) to discuss
                           significant quarterly transactions
                           recorded during the second quarter of
                           2019.
   Gillam, Tim             Meeting with W. Meredith, J. Ncho-          $380.00       0.7      $266.00
                           Oguie, S. Jasinski, E. Murdock
                           (Deloitte), D. Thomason, S. Cairns, D.
                           Kenna (PG&E) to discuss internal
                           control considerations related to
                           accounts payable.
   Gillam, Tim             Discussion with J. Ncho-Oguie               $380.00       0.4      $152.00
                           (Deloitte) for considerations of Q2’19
                           capital costs disallowances.


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       PG&E Corporation and Pacific Gas and Electric Company
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                 Fees Sorted by Category for the Fee Period
                                   July 01, 2019 - July 31, 2019
Date                      Description                                   Rate    Hours         Fees

2019 Audit Services
07/12/2019
   Hennessy, Vincent      Discussion with L. Schloetter, E.           $200.00      0.8      $160.00
                          Murdock (Deloitte) regarding gas
                          billing rates.
   Hennessy, Vincent      Discussion with B. Rice, L. Schloetter      $200.00      0.7      $140.00
                          (Deloitte) regarding gas billing rates.
   Hennessy, Vincent      Discussion with L. Schloetter (Deloitte)    $200.00      0.7      $140.00
                          regarding Q2 journal entries.
   Hennessy, Vincent      Meeting with L. Schloetter (Deloitte), J.   $200.00      0.6      $120.00
                          Dinh (PG&E) regarding billings control
                          process.
   Hennessy, Vincent      Meeting with L. Schloetter (Deloitte), L.   $200.00      0.5      $100.00
                          Bacon (PG&E) regarding gas billing
                          rates.
   Hennessy, Vincent      Review journal entries related to           $200.00      0.4       $80.00
                          accounting support fees.
   Jasinski, Samantha     Perform testing on transmission owner       $290.00      1.6      $464.00
                          formula rate.
   Jasinski, Samantha     Meeting with W. Meredith, J. Ncho-          $290.00      1.1      $319.00
                          Oguie, T. Gillam, E. Murdock
                          (Deloitte), D. Thomason, S. Hunter, J.
                          Garboden (PG&E) to discuss
                          significant quarterly transactions
                          recorded during the second quarter of
                          2019.
   Jasinski, Samantha     Meet with K. Sewell, M. Azebu, B. Rice      $290.00      1.0      $290.00
                          (Deloitte) to discuss lease and
                          procurement workpaper status.
   Jasinski, Samantha     Edit presentation to be communicated        $290.00      0.9      $261.00
                          to Audit Committee in July of 2019
                          related to results of Q2'19 interim
                          review procedures.
   Jasinski, Samantha     Meeting with W. Meredith, J. Ncho-          $290.00      0.7      $203.00
                          Oguie, T. Gillam, E. Murdock
                          (Deloitte), D. Thomason, S. Cairns, D.
                          Kenna (PG&E) to discuss internal
                          control considerations associated with
                          accounts payable.




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       PG&E Corporation and Pacific Gas and Electric Company
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                   Fees Sorted by Category for the Fee Period
                                    July 01, 2019 - July 31, 2019
Date                       Description                                   Rate    Hours         Fees

2019 Audit Services
07/12/2019
   Kipkirui, Winnie        Attend Windows/Active Directory            $230.00       3.0      $690.00
                           walkthrough and FY'19 Audit kick-off
                           with A. Bhattacharya, E. Xue (Deloitte),
                           J. Jorajuria, T. Sullivan, N. Casey
                           (PG&E).
   Kipkirui, Winnie        Update Meter Data Management               $230.00       2.0      $460.00
                           System control design.
   Kipkirui, Winnie        Review of Customer care & billings         $230.00       2.0      $460.00
                           system controls testing workpapers.
   Kipkirui, Winnie        Documentation of control design            $230.00       2.0      $460.00
                           procedures for Windows server for
                           change management testing area.
   Martin, Blake           Draft the benefits process walkthrough     $200.00       0.8      $160.00
                           workpaper.
   Martin, Blake           Document testing of controls mitigating    $200.00       0.8      $160.00
                           the risk of management override of
                           controls
   Martin, Blake           Discussion with L. Schloetter (Deloitte)   $200.00       0.7      $140.00
                           regarding PG&E’s financial reporting
                           software.
   Martin, Blake           Update risks of material misstatement      $200.00       0.7      $140.00
                           workpaper related to benefits.
   Martin, Blake           Update the planning memo                   $200.00       0.2       $40.00
                           summarizing response to risk of
                           management override of controls for
                           FY'19.
   Mehra, Shreya           Prepare the quarterly summary of           $180.00       1.6      $288.00
                           alerts outlining the impacts and
                           relevance of new accounting
                           pronouncements relevant to the
                           Company's Form 10-Q.
   Meredith, Wendy         Meeting with J. Ncho-Oguie, T. Gillam,     $380.00       1.1      $418.00
                           S. Jasinski, E. Murdock (Deloitte), D.
                           Thomason, S. Hunter, J. Garboden
                           (PG&E) to discuss significant quarterly
                           transactions recorded during the
                           second quarter of 2019.




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       PG&E Corporation and Pacific Gas and Electric Company
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                 Fees Sorted by Category for the Fee Period
                                        July 01, 2019 - July 31, 2019
Date                          Description                                       Rate    Hours         Fees

2019 Audit Services
07/12/2019
   Meredith, Wendy            Meeting with J. Ncho-Oguie, T. Gillam,         $380.00       0.7      $266.00
                              S. Jasinski, E. Murdock (Deloitte), D.
                              Thomason, S. Cairns, D. Kenna
                              (PG&E) to discuss internal control
                              considerations associated with
                              accounts payable.
   Murdock, Elizabeth         Summarized audit team findings for             $330.00       1.7      $561.00
                              Q2'19 management meetings related
                              to internal control considerations
   Murdock, Elizabeth         Meeting with W. Meredith, J. Ncho-             $330.00       1.1      $363.00
                              Oguie, T. Gillam, S. Jasinski (Deloitte),
                              D. Thomason, S. Hunter, J. Garboden
                              (PG&E) to discuss significant quarterly
                              transactions recorded during the
                              second quarter of 2019.
   Murdock, Elizabeth         Discussion with L. Schloetter (Deloitte)       $330.00       0.9      $297.00
                              regarding billings control process.
   Murdock, Elizabeth         Discussion with V. Hennessy, L.                $330.00       0.8      $264.00
                              Schloetter (Deloitte) regarding gas
                              billing rates.
   Murdock, Elizabeth         Meeting with W. Meredith, J. Ncho-             $330.00       0.7      $231.00
                              Oguie, T. Gillam, S. Jasinski (Deloitte),
                              D. Thomason, S. Cairns, D. Kenna
                              (PG&E) to discuss internal control
                              considerations associated with
                              accounts payable.
   Ncho-Oguie, Jean-Denis     Meeting with W. Meredith, T. Gillam, S.        $330.00       1.1      $363.00
                              Jasinski, E. Murdock (Deloitte), D.
                              Thomason, S. Hunter, J. Garboden
                              (PG&E) to discuss significant quarterly
                              transactions recorded during the
                              second quarter of 2019.
   Ncho-Oguie, Jean-Denis     Meeting with W. Meredith, T. Gillam, S.        $330.00       0.7      $231.00
                              Jasinski, E. Murdock (Deloitte), D.
                              Thomason, S. Cairns, D. Kenna
                              (PG&E) to discuss internal control
                              considerations associated with
                              accounts payable.
   Ncho-Oguie, Jean-Denis     Meeting with A. Duran (PGE) to                 $330.00       0.5      $165.00
                              discuss wildfire cost recoverability.



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       PG&E Corporation and Pacific Gas and Electric Company
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                  Fees Sorted by Category for the Fee Period
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Date                          Description                                     Rate    Hours         Fees

2019 Audit Services
07/12/2019
   Ncho-Oguie, Jean-Denis     Discussion with T. Gillam (Deloitte) for     $330.00       0.4      $132.00
                              considerations of Q2’19 capital costs
                              disallowances.
   Nguyen, Jessica            .Discussion with V. Hennessy                 $120.00       0.4       $48.00
                              (Deloitte) regarding Q2 journal entries
                              testing as part of interim review
                              procedures.
   Rice, Blake                Continue to prepare income statement         $230.00       3.9      $897.00
                              variance analysis.
   Rice, Blake                Prepare income statement variance            $230.00       2.9      $667.00
                              analysis.
   Rice, Blake                Meet with K. Sewell, M. Azebu, S.            $230.00       1.0      $230.00
                              Jasinski (Deloitte) to discuss lease and
                              procurement workpaper status.
   Rice, Blake                Review audit status and audit plan for       $230.00       1.0      $230.00
                              July.
   Rice, Blake                Discussion with V. Hennessy, L.              $230.00       0.7      $161.00
                              Schloetter (Deloitte) regarding gas
                              billing rates.
   Salisam, Soujanya          Perform reconciliation of journal entry      $200.00       1.0      $200.00
                              data for the period from 1/1 - 6/30/19 to
                              prepare for audit testing.
   Schloetter, Lexie          Analyze the billings control process         $180.00       2.0      $360.00
                              and impacts of gas billings control.
   Schloetter, Lexie          Discussion with E. Murdock (Deloitte)        $180.00       0.9      $162.00
                              regarding billings control process.
   Schloetter, Lexie          Discussion with V. Hennessy, E.              $180.00       0.8      $144.00
                              Murdock (Deloitte) regarding gas
                              billing rates.
   Schloetter, Lexie          Discussion with V. Hennessy (Deloitte)       $180.00       0.7      $126.00
                              regarding Q2 journal entries.
   Schloetter, Lexie          Discussion with V. Hennessy, B. Rice         $180.00       0.7      $126.00
                              (Deloitte) regarding gas billing rates.
   Schloetter, Lexie          Meeting with V. Hennessy (Deloitte), J.      $180.00       0.6      $108.00
                              Dinh (PG&E) regarding billings control
                              process.
   Schloetter, Lexie          Meeting with V. Hennessy (Deloitte), L.      $180.00       0.5       $90.00
                              Bacon (PG&E) regarding gas billing
                              rates.

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       PG&E Corporation and Pacific Gas and Electric Company
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                     Fees Sorted by Category for the Fee Period
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Date                          Description                                   Rate    Hours          Fees

2019 Audit Services
07/12/2019
   Sewell, Kyle               Draft email to M. Devita, R. Sharma         $180.00      0.8      $144.00
                              (PG&E) related to items presented for
                              potential adjustment each month.
   Steele, Bridget            Perform tie out of amounts included in      $120.00      2.5      $300.00
                              Q2'19 financial statements to client
                              supporting schedules.
   Xue, Ella                  Prepare documentation of Endur              $120.00      5.0      $600.00
                              system testing workpapers.
   Xue, Ella                  Prepare a listing of the documents to       $120.00      2.0      $240.00
                              be provided by the client for 2019 IT
                              audit testing.
   Xue, Ella                  Attend (partial) Windows Active             $120.00      1.0      $120.00
                              Directory server walkthrough and
                              FY'19 Audit kick-off with W. Kipkirui, A.
                              Bhattacharya (Deloitte), J. Jorajuria, T.
                              Sullivan, N. Casey (PG&E).
07/13/2019
   Gillam, Tim                Review the Form 10-Q.                       $380.00      2.5      $950.00
   Jasinski, Samantha         Review second draft of the Company's        $290.00      2.0      $580.00
                              Q2 financial statements on Form 10-Q.
07/14/2019
   Gillam, Tim                Review Form 10Q.                            $380.00      3.0     $1,140.00
   Meredith, Wendy            Review draft Form 10-Q.                     $380.00      0.5      $190.00
   Ncho-Oguie, Jean-Denis     Review draft 10Q financial statements.      $330.00      2.3      $759.00
07/15/2019
   Azebu, Matt                Discussion with B. Rice (Deloitte), L.      $230.00      1.0      $230.00
                              Cheng (PG&E) regarding Q2'19 board
                              of directors meeting minutes.
   Azebu, Matt                Meeting with B. Rice, B. Martin, V.         $230.00      0.6      $138.00
                              Hennessy, L. Schloetter, and K. Sewell
                              (Deloitte) regarding weekly updates
                              and priorities.
   Azebu, Matt                Review draft financial statements to        $230.00      1.8      $414.00
                              prepare for comment meeting with
                              client's external reporting group




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       PG&E Corporation and Pacific Gas and Electric Company
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                 Fees Sorted by Category for the Fee Period
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Date                       Description                                   Rate    Hours         Fees

2019 Audit Services
07/15/2019
   Bedi, Arpit             Analyze the risk assessment                 $200.00      3.5      $700.00
                           considerations related to period over
                           period fluctuations in balance sheet
                           account balances as part of Q2'19
                           interim review procedures.
   Bedi, Arpit             Continued to analyze the risk               $200.00      2.5      $500.00
                           assessment considerations related to
                           period over period fluctuations in
                           balance sheet account balances as
                           part of Q2'19 interim review
                           procedures.
   Bedi, Arpit             Discussion with A. Kamra, S. Jasinski,      $200.00      0.5      $100.00
                           S. Varshney, B. Rice (Deloitte)
                           regarding quarterly review project plan
                           and weekly priorities.
   Bhimani, Harika         Perform reconciliation of journal entry     $230.00      1.0      $230.00
                           data for the period from 1/1 - 6/30/19 to
                           prepare for audit testing.
   Choudhury, Viki         Attend (partial) Identity and Access        $200.00      1.5      $300.00
                           Management (IAM) controls
                           walkthrough and FY'19 Audit kick-off
                           with W. Kipkirui, E. Xue, K. Kavya, M.
                           Fazil (Deloitte) E. Vo, R. Respicio, G.
                           Ghorpade, A. Bhattacharya, S. Misra,
                           L. DeAnda, T. Yuen.
   Fazil, Mohamed          Attend Identity and Access                  $200.00      3.0      $600.00
                           Management controls walkthrough and
                           FY'19 Audit kick-off with W. Kipkirui, E.
                           Xue, K. Kavya, V. Choudhury (Deloitte)
                           E. Vo, R. Respicio, G. Ghorpade, A.
                           Bhattacharya, S. Misra, L. DeAnda, T.
                           Yuen (all PG&E).
   Fazil, Mohamed          Document design and operating               $200.00      3.0      $600.00
                           effectiveness of authentication
                           (password) control for SAP Business
                           Planning and Consolidation system.
   Fazil, Mohamed          Discussion with S. Nambiar (Deloitte)       $200.00      1.0      $200.00
                           regarding the request of evidence of
                           change management controls being
                           implemented.



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                              Deloitte & Touche LLP
                 Fees Sorted by Category for the Fee Period
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Date                      Description                                    Rate    Hours         Fees

2019 Audit Services
07/15/2019
   Gillam, Tim            Review materiality memo summarizing         $380.00       1.5      $570.00
                          audit team considerations in
                          determination of materiality for 2019
                          audit.
   Gillam, Tim            Discussion with J. Wells (PG&E) on          $380.00       1.0      $380.00
                          critical 2nd quarter accounting /
                          business matters.
   Gillam, Tim            Review Form 10Q.                            $380.00       2.5      $950.00
   Hennessy, Vincent      Meet with K. Sewell (Deloitte), A.          $200.00       0.3       $60.00
                          Radomyselsky (PG&E) regarding
                          journal entry testing data.
   Hennessy, Vincent      Work on Q2 journal entry testing.           $200.00       1.9      $380.00
   Hennessy, Vincent      Discussion with K. Sewell (Deloitte) to     $200.00       1.2      $240.00
                          discuss reconciliation of journal entry
                          data to trial balance.
   Hennessy, Vincent      Correspond via email with P. Lui, M.        $200.00       0.9      $180.00
                          Lum, T. Li (PG&E) regarding journal
                          entry support.
   Hennessy, Vincent      Meeting with M. Azebu, B. Rice, B.          $200.00       0.6      $120.00
                          Martin, L. Schloetter, K. Sewell
                          (Deloitte) regarding weekly updates
                          and priorities.
   Hennessy, Vincent      Update customer accounts receivable         $200.00       0.6      $120.00
                          risk assessment.
   Hennessy, Vincent      Discussion with L. Schloetter               $200.00       0.3       $60.00
                          (Deloitte), J. Pitman (PG&E) regarding
                          further testing plans for billings
                          controls.
   Jasinski, Samantha     Review testing of design of the electric    $290.00       3.0      $870.00
                          energy procurement internal controls
   Jasinski, Samantha     Review testing of design of the gas         $290.00       3.0      $870.00
                          procurement internal controls
   Jasinski, Samantha     Review procurement accounting               $290.00       1.2      $348.00
                          methodology overview workpaper.
   Jasinski, Samantha     Review draft 2 of form 10-Q.                $290.00       1.2      $348.00
   Jasinski, Samantha     Address comments in quarterly audit         $290.00       0.8      $232.00
                          committee communication
                          presentation.


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                               Deloitte & Touche LLP
                  Fees Sorted by Category for the Fee Period
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Date                       Description                                   Rate    Hours         Fees

2019 Audit Services
07/15/2019
   Jasinski, Samantha      Discussion with A. Kamra, S.                $290.00      0.5      $145.00
                           Varshney, A. Bedi, B. Rice (Deloitte)
                           regarding quarterly review project plan
                           and weekly priorities.
   K, Kavya                Attend Identity and Access                  $120.00      3.0      $360.00
                           Management controls walkthrough and
                           FY'19 Audit kick-off with W. Kipkirui, E.
                           Xue, M. Fazil, V. Choudhury (Deloitte)
                           E. Vo, R. Respicio, G. Ghorpade, A.
                           Bhattacharya, S. Misra, L. DeAnda, T.
                           Yuen (PG&E).
   K, Kavya                Document IT controls related to SAP         $120.00      3.0      $360.00
                           ERP Central Component (SAP ECC).
   Kamra, Akanksha         Review independence memo.                   $230.00      3.0      $690.00
   Kamra, Akanksha         Discussion with S. Jasinski, S.             $230.00      0.5      $115.00
                           Varshney, A. Bedi, B. Rice (Deloitte)
                           regarding quarterly review project plan
                           and weekly priorities.
   Kamra, Akanksha         Review Summary of Alerts                    $230.00      2.5      $575.00
                           summarizing new accounting
                           pronouncements and their impact on
                           the Q2'19 financial statements.
   Kipkirui, Winnie        Attend Identity and Access                  $230.00      3.0      $690.00
                           Management system controls
                           walkthrough and FY'19 Audit kick-off
                           with E. Xue, K. Kavya, M. Fazil, V.
                           Choudhury (Deloitte) E. Vo, R.
                           Respicio, G. Ghorpade, A.
                           Bhattacharya, S. Misra, L. DeAnda, T.
                           Yuen.
   Kipkirui, Winnie        Design update of Identity and Access        $230.00      2.0      $460.00
                           Management controls.
   Kipkirui, Winnie        Perform Identity and Access                 $230.00      2.0      $460.00
                           Management system design
                           documentation.
   Kipkirui, Winnie        Continued to prepare Identity and           $230.00      2.0      $460.00
                           Access Management system design
                           documentation.
   M, Nikitha              Perform reconciliation of journal entry     $230.00      2.0      $460.00
                           data for the period from 1/1 - 6/30/19 to
                           prepare for audit testing.

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       PG&E Corporation and Pacific Gas and Electric Company
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                   Fees Sorted by Category for the Fee Period
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Date                       Description                                    Rate    Hours         Fees

2019 Audit Services
07/15/2019
   Martin, Blake           Meeting with M. Azebu, B. Rice, V.          $200.00       0.6      $120.00
                           Hennessy, L. Schloetter, K. Sewell
                           (Deloitte) regarding weekly updates
                           and priorities.
   Martin, Blake           Update documentation with the               $200.00       1.6      $320.00
                           benefits control working paper and
                           align risks identified to same.
   Martin, Blake           Update benefits control documentation       $200.00       1.3      $260.00
                           for FY'19 testing.
   Martin, Blake           Review the prepared Q2'19 Corporate         $200.00       1.3      $260.00
                           consolidation analytic workpaper.
   Martin, Blake           Edit the prepared Q2'19 Corporate           $200.00       1.3      $260.00
                           consolidation analytic workpaper.
   Martin, Blake           Obtain and review the company               $200.00       1.0      $200.00
                           prepared Benefit (Hire to Retire)
                           related account reconciliations.
   Mehra, Shreya           Prepare the quarterly summary of            $180.00       3.0      $540.00
                           alerts outlining the impacts and
                           relevance of new accounting
                           pronouncements relevant to the
                           Company's Form 10-Q.
   Mehra, Shreya           Prepare the quarterly summary of            $180.00       1.5      $270.00
                           alerts outlining the impacts and
                           relevance of new accounting
                           pronouncements relevant to the
                           Company's Form 10-Q.
   Meredith, Wendy         Review comments on draft Form 10-Q.         $380.00       0.6      $228.00
   Meredith, Wendy         Meet with J. Ncho-Oguie (Deloitte) to       $380.00       0.3      $114.00
                           discuss audit status and process.
   Meredith, Wendy         Respond to emails from T. Gillam            $380.00       0.3      $114.00
                           (Deloitte) related to PG&E quarter 2
                           accounting and disclosure matters.
   Meredith, Wendy         Review draft Form 10-Q.                     $380.00       1.7      $646.00
   Meredith, Wendy         Review PG&E audit planning and risk         $380.00       1.2      $456.00
                           assessment workpapers.
   Nambiar, Sachin         Discussion with M. Fazil (Deloitte)         $120.00       1.0      $120.00
                           regarding the request of evidence of
                           change management controls being
                           implemented.

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       PG&E Corporation and Pacific Gas and Electric Company
                                  Deloitte & Touche LLP
                  Fees Sorted by Category for the Fee Period
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Date                          Description                                     Rate    Hours         Fees

2019 Audit Services
07/15/2019
   Ncho-Oguie, Jean-Denis     Meet with W. Meredith (Deloitte) to          $330.00       0.3       $99.00
                              discuss audit status and process.
   Rice, Blake                Prepare balance sheet variance               $230.00       3.4      $782.00
                              analytics.
   Rice, Blake                Tie out procedures related to officer        $230.00       3.0      $690.00
                              draft of financial statements prepared
                              on Form 10-Q.
   Rice, Blake                Address comment within audit scoping         $230.00       1.0      $230.00
                              workpapers.
   Rice, Blake                Discussion with M. Azebu (Deloitte), L.      $230.00       1.0      $230.00
                              Cheng (PG&E) regarding Q2'19 board
                              of directors meeting minutes.
   Rice, Blake                Meeting with M. Azebu, B. Martin, V.         $230.00       0.6      $138.00
                              Hennessy, L. Schloetter, K. Sewell
                              (Deloitte) regarding weekly updates
                              and priorities.
   Rice, Blake                Discussion with A. Kamra, S. Jasinski,       $230.00       0.5      $115.00
                              S. Varshney, A. Bedi (Deloitte)
                              regarding quarterly review project plan
                              and weekly priorities.
   Salisam, Soujanya          Perform reconciliation of journal entry      $200.00       1.0      $200.00
                              data for the period from 1/1 - 6/30/19 to
                              prepare for audit testing.
   Schloetter, Lexie          Close notes on the environmental             $180.00       2.0      $360.00
                              remediation liability workpaper.
   Schloetter, Lexie          Document billings control selections         $180.00       1.5      $270.00
                              regarding gas rate changes.
   Schloetter, Lexie          Close notes on billings control              $180.00       1.2      $216.00
                              workpaper.
   Schloetter, Lexie          Analyze the automated control                $180.00       0.9      $162.00
                              documents for the accounts payable
                              process.
   Schloetter, Lexie          Update board minutes document for            $180.00       0.7      $126.00
                              quarter 2 review procedures.
   Schloetter, Lexie          Meeting with M. Azebu, B. Rice, B.           $180.00       0.6      $108.00
                              Martin, V. Hennessy, K. Sewell
                              (Deloitte) regarding weekly updates
                              and priorities.



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       PG&E Corporation and Pacific Gas and Electric Company
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                  Fees Sorted by Category for the Fee Period
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Date                      Description                                      Rate    Hours         Fees

2019 Audit Services
07/15/2019
   Schloetter, Lexie      Meeting with B. Baldwin (PG&E) to             $180.00       0.6      $108.00
                          document further billings control
                          selections.
   Schloetter, Lexie      Discussion with V. Hennessy                   $180.00       0.3       $54.00
                          (Deloitte), J. Pitman (PG&E) regarding
                          further testing plans for billings
                          controls.
   Sewell, Kyle           Meet with V. Hennessy (Deloitte), A.          $180.00       0.3       $54.00
                          Radomyselsky (PG&E) regarding
                          journal entry testing data.
   Sewell, Kyle           Format journal entry data for interim         $180.00       1.5      $270.00
                          journal entry testing.
   Sewell, Kyle           Discussion with V. Hennessy (Deloitte)        $180.00       1.2      $216.00
                          regarding reconciliation of journal entry
                          data to trial balance extract from
                          enterprise resource planning system
                          (SAP).
   Sewell, Kyle           Meeting with M. Azebu, B. Rice, B.            $180.00       0.6      $108.00
                          Martin, V. Hennessy, L. Schloetter
                          (Deloitte) regarding weekly updates
                          and priorities.
   Sewell, Kyle           Review email from H. Bhimani                  $180.00       0.3       $54.00
                          (Deloitte) regarding interim journal
                          entry testing.
   Varshney, Swati        Review various independence                   $230.00       1.5      $345.00
                          considerations summarizing
                          compliance with Deloitte independence
                          policies and Securities and Exchange
                          Commission rules and regulations.
   Varshney, Swati        Discussion with A. Kamra, S. Jasinski,        $230.00       0.5      $115.00
                          A. Bedi, B. Rice (Deloitte) regarding
                          quarterly review project plan and
                          weekly priorities.
   Varshney, Swati        Discussion with A. Kamra, S. Jasinski,        $230.00       0.5      $115.00
                          A. Bedi, B. Rice (Deloitte) regarding
                          quarterly review project plan and
                          weekly priorities.
   Varshney, Swati        Draft memo related to various                 $230.00       3.0      $690.00
                          enforcement, litigation and regulatory
                          matters related to the company.


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       PG&E Corporation and Pacific Gas and Electric Company
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Date                       Description                                    Rate    Hours         Fees

2019 Audit Services
07/15/2019
   Xue, Ella               Attend (partial) Identity and Access        $120.00       1.5      $180.00
                           Management system controls
                           walkthrough and FY'19 Audit kick-off
                           with W. Kipkirui, K. Kavya, M. Fazil, V.
                           Choudhury (Deloitte) E. Vo, R.
                           Respicio, G. Ghorpade, A.
                           Bhattacharya, S. Misra, L. DeAnda, T.
                           Yuen.
   Xue, Ella               Document testing of IT controls related     $120.00       2.0      $240.00
                           to Endur accounting system.
   Xue, Ella               Prepare Oracle Identity Manager             $120.00       1.5      $180.00
                           identity and access management
                           system testing workpaper
                           documentation.
   Xue, Ella               Continued testing of IT controls related    $120.00       1.5      $180.00
                           to Endur accounting system.
   Xue, Ella               Assess and documented the                   $120.00       0.5       $60.00
                           supporting documents provided by
                           client for automated controls testing.
07/16/2019
   Agarwal, Rima           Address notes in quarterly statement of     $230.00       2.5      $575.00
                           cash flows analytics related to drivers
                           of period over period fluctuations as
                           part of Q2'19 interim review
                           procedures.
   Agarwal, Rima           Continued to address notes in               $230.00       2.5      $575.00
                           quarterly statement of cash flows
                           analytics related to drivers of period
                           over period fluctuations as part of
                           Q2'19 interim review procedures.
   Azebu, Matt             Meet with B. Rice, W. Meredith              $230.00       0.8      $184.00
                           (Deloitte), K. Mallonee (PG&E) to
                           discuss comments on Form 10-Q draft.
   Azebu, Matt             Ran trial balance reports as of June        $230.00       0.5      $115.00
                           30, 2019 to reconcile journal entry data
                           to trial balance activity.
   Azebu, Matt             Review comments for external                $230.00       0.5      $115.00
                           reporting on Q2 Form 10-Q financial
                           statements.



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                 Fees Sorted by Category for the Fee Period
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Date                       Description                                     Rate    Hours         Fees

2019 Audit Services
07/16/2019
   Azebu, Matt             Meetings with J. Garboden, J.                $230.00       1.4      $322.00
                           Martinez, S. Schirle, E. Seals, C.
                           Middlekauf related to status of
                           enforcement matters (i.e. orders
                           instituting investigation) (all PG&E).
   Bedi, Arpit             Continued to document the drivers of         $200.00       2.0      $400.00
                           period over period fluctuations in
                           balance sheet account balances as
                           part of Q2'19 interim review
                           procedures.
   Bedi, Arpit             Traced and agreed the balance sheet          $200.00       1.5      $300.00
                           account balances per the financial
                           statements prepared on Form 10-Q to
                           the trial balance
   Bedi, Arpit             Review fluctuations in balance sheet         $200.00       2.5      $500.00
                           account balances to reassess the risk
                           of material misstatement for the related
                           account balances and classes of
                           transactions.
   Bedi, Arpit             Obtained SAP account modification            $200.00       2.0      $400.00
                           report for Q2'19 and updated trial
                           balance mapping for new balance
                           sheet accounts
   Fazil, Mohamed          Document design and operating                $200.00       2.0      $400.00
                           effectiveness of default accounts
                           control for SAP Business Planning and
                           Consolidation system.
   Fazil, Mohamed          Document design and operating                $200.00       2.0      $400.00
                           effectiveness of default accounts
                           control for SAP Business Planning and
                           Consolidation system.
   Hennessy, Vincent       Update Q2 journal entry testing.             $200.00       2.8      $560.00
   Hennessy, Vincent       Update journal entry testing for Q2          $200.00       2.2      $440.00
                           based on meetings.
   Hennessy, Vincent       Meeting with N. Nguyen, J. Pitman            $200.00       0.9      $180.00
                           (PG&E), L. Schloetter (Deloitte)
                           regarding billing rate changes.
   Hennessy, Vincent       Meeting with T. Li (PG&E) related to         $200.00       0.6      $120.00
                           Q2 journal entry support.



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Date                      Description                                   Rate    Hours          Fees

2019 Audit Services
07/16/2019
   Hennessy, Vincent      Correspond via email with T. Li            $200.00       0.6      $120.00
                          (PG&E) regarding journal entry
                          support.
   Hennessy, Vincent      Meeting with P. Lui (PG&E) regarding       $200.00       0.5      $100.00
                          Q2 journal entry support.
   Hennessy, Vincent      Discussion with K. Sewell (Deloitte)       $200.00       0.4       $80.00
                          regarding journal entry data.
   Hennessy, Vincent      Continue to correspond via email with      $200.00       0.4       $80.00
                          P. Lui (PG&E) regarding Q2 journal
                          entry support.
   Hennessy, Vincent      Discussion with L. Schloetter (Deloitte)   $200.00       0.3       $60.00
                          regarding billings control.
   Hennessy, Vincent      Prepare for meter to cash billings         $200.00       0.3       $60.00
                          discussion with M. Nguyen, J. Pitman
                          (PG&E).
   Jasinski, Samantha     Review risks of material misstatement      $290.00       3.5     $1,015.00
                          identified and the related planned audit
                          procedures for the company's energy
                          procurement process
   Jasinski, Samantha     Review testing of design of the energy     $290.00       2.5      $725.00
                          procurement internal controls
   Jasinski, Samantha     Review the process flow diagram            $290.00       1.0      $290.00
                          summarizing the electric/gas energy
                          procurement process, including the
                          risks of material misstatement and
                          internal controls mitigating those risks
   Jasinski, Samantha     Meeting with B. Rice, M. Azebu, W.         $290.00       0.5      $145.00
                          Meredith (all Deloitte), and K. Mallonee
                          (PG&E) to discuss audit team's
                          comments on the draft financial
                          statements
   Jasinski, Samantha     Meeting with B. Rice, M. Azebu, E.         $290.00       0.5      $145.00
                          Murdock, S. Jasinski (all Deloitte), D.
                          DeMartini, D. Kenna and C. Baxter
                          (PG&E) to discuss Q2'19 internal
                          control considerations
   Jasinski, Samantha     Meeting with E. Murdock (Deloitte) to      $290.00       0.4      $116.00
                          discuss status of audit and Q2 review.




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       PG&E Corporation and Pacific Gas and Electric Company
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                   Fees Sorted by Category for the Fee Period
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Date                       Description                                    Rate    Hours         Fees

2019 Audit Services
07/16/2019
   K, Kavya                Test controls over user access related      $120.00       3.0      $360.00
                           to SAP Governance Risk and
                           Compliance system.
   K, Kavya                Test controls over segregation of           $120.00       3.0      $360.00
                           duties related to SAP Governance Risk
                           and Compliance system.
   Kamra, Akanksha         Review balance sheet analytics              $230.00       1.0      $230.00
                           summarizing period over period
                           fluctuations in account balances as
                           part of interim review procedures for
                           Q2.
   Kamra, Akanksha         Review independence memo.                   $230.00       1.0      $230.00
   Kipkirui, Winnie        Perform testing of controls mitigating      $230.00       3.0      $690.00
                           risks of material misstatement related
                           to Identity and Access Management for
                           SAP.
   Kipkirui, Winnie        Continued testing of controls mitigating    $230.00       3.0      $690.00
                           risks of material misstatement related
                           to Identity and Access Management for
                           SAP.
   Kipkirui, Winnie        Document testing of design of controls      $230.00       2.0      $460.00
                           related to access security for
                           Advanced Billing System
   Kipkirui, Winnie        Review audit strategy for testing           $230.00       1.0      $230.00
                           Identity and Access Management
                           controls.
   M, Nikitha              Perform reconciliation of journal entry     $230.00       2.0      $460.00
                           data for the period from 1/1 - 6/30/19 to
                           prepare for audit testing.
   Martin, Blake           Document review note updates to the         $200.00       4.0      $800.00
                           corporate consolidation working paper.
   Martin, Blake           Document testing of control design          $200.00       0.8      $160.00
                           related to the benefits account
                           reconciliation review.
   Meredith, Wendy         Review quarter 2 management                 $380.00       1.3      $494.00
                           representation letter.
   Meredith, Wendy         Meet with M. Azebu, B. Rice (Deloitte),     $380.00       0.8      $304.00
                           K. Mallonee (PG&E) to discuss
                           comments on Form 10-Q draft.


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       PG&E Corporation and Pacific Gas and Electric Company
                                  Deloitte & Touche LLP
                  Fees Sorted by Category for the Fee Period
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Date                          Description                                    Rate    Hours         Fees

2019 Audit Services
07/16/2019
   Meredith, Wendy            Meet with J. Ncho-Oguie (Deloitte) to       $380.00       0.6      $228.00
                              discuss quarterly review status and
                              procedures.
   Murdock, Elizabeth         Meeting with S. Jasinski (Deloitte) to      $330.00       0.4      $132.00
                              discuss status of audit and Q2 review.
   Murdock, Elizabeth         Call with J. Varkey, T. White (Deloitte)    $330.00       0.2       $66.00
                              to discuss environmental risk
                              assessment procedures for 2018 audit.
   Nambiar, Sachin            Prepare the control testing workpapers      $120.00       1.5      $180.00
                              for information technology segregation
                              of duties controls related to SAP
                              business warehouse system.
   Ncho-Oguie, Jean-Denis     Meet with W. Meredith (Deloitte) to         $330.00       0.6      $198.00
                              discuss quarterly review status and
                              procedures.
   Nkinzingabo, Rudy          Review tax specialist planning and          $290.00       2.0      $580.00
                              scoping memo outlining risk
                              assessment and scope of work to be
                              performed by tax specialists as part of
                              audit.
   Rice, Blake                Prepare income statement variance           $230.00       3.9      $897.00
                              analytics.
   Rice, Blake                Address comments for Corporation to         $230.00       2.0      $460.00
                              Utility analytics.
   Rice, Blake                Meet with M. Azebu, W. Meredith             $230.00       0.8      $184.00
                              (Deloitte), K. Mallonee (PG&E) to
                              discuss comments on Form 10-Q draft.
   Schloetter, Lexie          Close notes on billings control             $180.00       2.5      $450.00
                              workpapers.
   Schloetter, Lexie          Update control workpaper for                $180.00       2.3      $414.00
                              implementation selections related to
                              billings control on the electric rates.
   Schloetter, Lexie          Document implementation selections          $180.00       1.5      $270.00
                              for billings control workpaper.
   Schloetter, Lexie          Meeting with N. Nguyen, J. Pitman           $180.00       0.9      $162.00
                              (PG&E), V. Hennessy (Deloitte)
                              regarding billing rate changes.
   Schloetter, Lexie          Prepare for billings control walkthrough    $180.00       0.8      $144.00
                              over billings rate changes.


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       PG&E Corporation and Pacific Gas and Electric Company
                               Deloitte & Touche LLP
                   Fees Sorted by Category for the Fee Period
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Date                       Description                                    Rate    Hours         Fees

2019 Audit Services
07/16/2019
   Schloetter, Lexie       Document selections of test bills           $180.00       0.7      $126.00
                           related to the billing test received from
                           N. Nguyen( PG&E).
   Schloetter, Lexie       Discussion with V. Hennessy (Deloitte)      $180.00       0.3       $54.00
                           regarding billings control.
   Sewell, Kyle            Update potential adjustment report          $180.00       0.9      $162.00
                           monthly meeting control workpaper.
   Sewell, Kyle            Draft email to H. Bhimani (Deloitte)        $180.00       0.7      $126.00
                           regarding status of interim journal entry
                           testing.
   Sewell, Kyle            Meet with M. Rodriguez (PG&E) to            $180.00       0.7      $126.00
                           discuss monthly journal entry
                           adjustment report.
   Sewell, Kyle            Prepare quarterly review reports to be      $180.00       0.6      $108.00
                           provided to audit committee and PG&E
                           senior management at Q2 audit
                           committee meeting
   Sewell, Kyle            Discussion with V. Hennessy (Deloitte)      $180.00       0.4       $72.00
                           regarding journal entry data.
   Sewell, Kyle            Meet with A. Radomyselsky (PG&E) to         $180.00       0.3       $54.00
                           obtain updated journal entry data.
   Varkey, Jamie           Call with T. White, E. Murdock              $330.00       0.2       $66.00
                           (Deloitte) to discuss environmental risk
                           assessment procedures for 2018 audit.
   Varshney, Swati         Further analyze cash flow items at          $230.00       2.0      $460.00
                           each line item level.
   Varshney, Swati         Continue analyzing cash flow items at       $230.00       3.0      $690.00
                           each line item level.
   Varshney, Swati         Analyze cash flow items at each line        $230.00       3.0      $690.00
                           item level.
   White, Teal             Call with J. Varkey, E. Murdock             $330.00       0.2       $66.00
                           (Deloitte) to discuss environmental risk
                           assessment procedures for 2018 audit.
   Xue, Ella               Perform Market Data System (price           $120.00       4.0      $480.00
                           risk management) workpaper
                           documentation.
   Xue, Ella               Perform Endur (procurement) system          $120.00       3.0      $360.00
                           workpaper documentation.



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       PG&E Corporation and Pacific Gas and Electric Company
                                Deloitte & Touche LLP
                    Fees Sorted by Category for the Fee Period
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Date                        Description                                    Rate    Hours         Fees

2019 Audit Services
07/16/2019
   Xue, Ella                Update the listing of the documents to      $120.00       0.5       $60.00
                            be provided by the client for 2019 IT
                            audit testing for pending requests .
   Yuen, Jennifer           Roll forward Q2 effective tax rate          $230.00       0.3       $69.00
                            workpaper.
07/17/2019
   Agarwal, Rima            Address notes in quarterly balance          $230.00       2.0      $460.00
                            sheet analytics related to drivers of
                            period over period fluctuations as part
                            of Q2'19 interim review procedures.
   Agarwal, Rima            Continued to address manager review         $230.00       2.0      $460.00
                            notes in quarterly balance sheet
                            analytics related to drivers of period
                            over period fluctuations as part of
                            Q2'19 interim review procedures.
   Azebu, Matt              Discussion with E. Murdock, B. Rice         $230.00       1.0      $230.00
                            (Deloitte) regarding Q2'19 and overall
                            audit status.
   Azebu, Matt              Discussion with T. Pemberton, W.            $230.00       0.5      $115.00
                            Meredith, E. Murdock, J. Ncho-Oguie,
                            B. Rice, S. Jasinski (Deloitte) to
                            discuss the status of second quarter
                            review procedures.
   Azebu, Matt              Meeting with C. Middlekauf, J.              $230.00       0.4       $92.00
                            Martinez (PG&E) to discuss the status
                            of regulatory matters (orders instituting
                            investigation) and accounting impacts
                            for second quarter.
   Bedi, Arpit              Document balance sheet analytics            $200.00       4.0      $800.00
                            workpaper for Q2'19.
   Bedi, Arpit              Update independent workpaper for            $200.00       2.5      $500.00
                            Q2'19.
   Cochran, James           Call with P. Giamanco (Deloitte), B.        $380.00       0.5      $190.00
                            Cowens, M. Strasburger (PG&E) to
                            discuss B. Cowens' departure from
                            PG&E and transition to new Director of
                            Information Security, M. Strasburger.
   Cochran, James           Meeting with P. Giamanco (Deloitte) to      $380.00       0.5      $190.00
                            discuss PG&E IT audit status and
                            approach.

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       PG&E Corporation and Pacific Gas and Electric Company
                              Deloitte & Touche LLP
                 Fees Sorted by Category for the Fee Period
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Date                      Description                                   Rate    Hours         Fees

2019 Audit Services
07/17/2019
   Fazil, Mohamed         Document design and operating              $200.00       2.0      $400.00
                          effectiveness of global settings control
                          for SAP Business Planning and
                          Consolidation system.
   Fazil, Mohamed         Continued to document design and           $200.00       1.0      $200.00
                          operating effectiveness of global
                          settings control for SAP Business
                          Planning and Consolidation system.
   Fazil, Mohamed         Weekly update call with W. Kipkirui, K.    $200.00       0.5      $100.00
                          Kavya, S. Nambiar (Deloitte) to discuss
                          status of automated control testing.
   Giamanco, Patrick      Review IT audit status and audit           $330.00       1.0      $330.00
                          approach in preparation for meeting
                          with K. Kay (PG&E).
   Giamanco, Patrick      Call with J. Cochran (Deloitte), B.        $330.00       0.5      $165.00
                          Cowens, M. Strasburger (PG&E) to
                          discuss B. Cowens' departure from
                          PG&E and transition to new Director of
                          Information Security.
   Giamanco, Patrick      Meeting with J. Cochran (Deloitte) to      $330.00       0.5      $165.00
                          discuss PG&E IT audit status and
                          approach.
   Gillam, Tim            Prepare for the meeting with D. Mielle     $380.00       2.0      $760.00
                          (PG&E) to discuss the agenda for the
                          upcoming audit committee meeting
                          summarizing results of Q2 review
                          procedures.
   Gillam, Tim            Meet with J. Ncho-Oguie (Deloitte) and     $380.00       1.1      $418.00
                          D. Mielle (Audit Committee Chair) to
                          discuss quarterly review status and
                          procedures.
   Hennessy, Vincent      Document journal entry testing.            $200.00       3.6      $720.00
   Hennessy, Vincent      Discussion with B. Martin (Deloitte)       $200.00       0.9      $180.00
                          regarding variance analysis
                          documentation.
   Hennessy, Vincent      Obtain journal entry support for journal   $200.00       0.8      $160.00
                          entry testing.
   Hennessy, Vincent      Discussion with P. Lui (PG&E)              $200.00       0.7      $140.00
                          regarding journal entries selected for
                          testing.

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       PG&E Corporation and Pacific Gas and Electric Company
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                 Fees Sorted by Category for the Fee Period
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Date                      Description                                    Rate    Hours          Fees

2019 Audit Services
07/17/2019
   Hennessy, Vincent      Work on Q2 tie-out of financial             $200.00       0.6      $120.00
                          statements to client supporting
                          schedules
   Hennessy, Vincent      Update trial balance and leadsheets as      $200.00       0.4       $80.00
                          of June 30, 2019 for interim audit
                          testing.
   Hennessy, Vincent      Discussion with L. Schloetter (Deloitte)    $200.00       0.4       $80.00
                          regarding billings control.
   Jasinski, Samantha     Review testing of design of the gas         $290.00       3.5     $1,015.00
                          procurement internal controls
   Jasinski, Samantha     Review testing of design of the electric    $290.00       2.0      $580.00
                          energy procurement internal controls
   Jasinski, Samantha     Review the walkthrough of energy            $290.00       1.5      $435.00
                          procurement process documenting
                          understanding of the flow of
                          transactions and risks of material
                          misstatement
   Jasinski, Samantha     Discuss with K. Sewell (Deloitte)           $290.00       1.3      $377.00
                          energy procurement notes.
   Jasinski, Samantha     Meeting with S. Jasinski, B. Rice, M .      $290.00       0.5      $145.00
                          Azebu, E. Murdock (all Deloitte), S.
                          Hunter, K. Mallonee, C. Baxter, D.
                          DeMartini (all PG&E) to discuss status
                          of quarterly review procedures and
                          communicate open item requests
   Jasinski, Samantha     Meeting with B. Rice, E. Murdock, M.        $290.00       0.5      $145.00
                          Azebu, S. Jasinski (all Deloitte) to
                          discuss status of audit against project
                          plan and identify priorities for the week
   Jasinski, Samantha     Discussion with W. Meredith, E.             $290.00       0.5      $145.00
                          Murdock, J. Ncho-Oguie (Deloitte) to
                          discuss the status of second quarter
                          review procedures.
   K, Kavya               Call with W. Kipkirui, M. Fazil, S.         $120.00       0.5       $60.00
                          Nambiar (Deloitte) to discuss status of
                          IT controls testing.
   K, Kavya               Continued to document testing of            $120.00       2.0      $240.00
                          database controls for SAP ERP
                          Central Component (SAP ECC).



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       PG&E Corporation and Pacific Gas and Electric Company
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                   Fees Sorted by Category for the Fee Period
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Date                       Description                                    Rate    Hours         Fees

2019 Audit Services
07/17/2019
   K, Kavya                Status call with W. Kipkirui (Deloitte) to   $120.00      1.0      $120.00
                           discuss the status of IT audit testing.
   K, Kavya                Work on documentation of testing of          $120.00      2.5      $300.00
                           database controls for SAP ERP
                           Central Component (SAP ECC).
   Kamra, Akanksha         Review interim summary memo.                 $230.00      1.5      $345.00
   Kamra, Akanksha         Discussion with Discussion with S.           $230.00      0.4       $92.00
                           Jasinski, M. Azebu, S. Varshney, B.
                           Rice (Deloitte) regarding quarterly
                           review project plan.
   Kipkirui, Winnie        Continue to perform IAM (Oracle              $230.00      3.0      $690.00
                           Identity Manager related controls)
                           controls documentation.
   Kipkirui, Winnie        Perform Customer Care & Billing              $230.00      2.0      $460.00
                           application testing documentation.
   Kipkirui, Winnie        Perform IAM (Oracle Identity Manager         $230.00      2.0      $460.00
                           related controls) controls
                           documentation.
   Kipkirui, Winnie        Continued to prepare Customer Care &         $230.00      1.5      $345.00
                           Billing application testing
                           documentation.
   Kipkirui, Winnie        Weekly update call with K. Kavya, M.         $230.00      0.5      $115.00
                           Fazil, S. Nambiar (Deloitte) to discuss
                           current status of IT Audit.
   M, Nikitha              Perform reconciliation of journal entry      $230.00      2.0      $460.00
                           data for the period from 1/1 - 6/30/19 to
                           prepare for audit testing.
   Martin, Blake           Update documentation within the              $200.00      1.3      $260.00
                           Quarterly Corp. Consolidated Analytic
                           workpaper.
   Martin, Blake           Draft documentation of the risks of          $200.00      1.1      $220.00
                           material misstatement identified
                           related to operating and maintenance
                           expense / accounts payable process
                           (Source to Pay) for the 2019 audit.
   Martin, Blake           Discussion with V. Hennessy (Deloitte)       $200.00      0.9      $180.00
                           regarding variance analysis
                           documentation.



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                 Fees Sorted by Category for the Fee Period
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Date                          Description                                   Rate    Hours         Fees

2019 Audit Services
07/17/2019
   Meredith, Wendy            Discussion with E. Murdock, J. Ncho-       $380.00       0.5      $190.00
                              Oguie, S. Jasinski (Deloitte) to discuss
                              the status of second quarter review
                              procedures.
   Meredith, Wendy            Meeting with C. Middlekauf, J.             $380.00       0.4      $152.00
                              Martinez (PG&E) to discuss the status
                              of regulatory matters (Order Instituting
                              Investigation) and accounting impacts
                              for second quarter.
   Meredith, Wendy            Review Company prepared memo               $380.00       0.3      $114.00
                              related to second quarter accounting
                              transactions.
   Murdock, Elizabeth         Discussion with B. Rice, M. Azebu          $330.00       1.0      $330.00
                              (Deloitte) regarding Q2'19 and overall
                              audit status.
   Murdock, Elizabeth         Meeting with E. Hyppolite (PG&E), L.       $330.00       0.5      $165.00
                              Schloetter (Deloitte) to discuss
                              environmental accrual changes for Q2.
   Murdock, Elizabeth         Discussion between T. Pemberton, W.        $330.00       0.5      $165.00
                              Meredith, J. Ncho-Oguie, B. Rice, S.
                              Jasinski, M. Azebu (Deloitte) to discuss
                              the status of second quarter review
                              procedures.
   Murdock, Elizabeth         Discussion with W. Meredith, J. Ncho-      $330.00       0.5      $165.00
                              Oguie, S. Jasinski (Deloitte) to discuss
                              the status of second quarter review
                              procedures.
   Nambiar, Sachin            Weekly update call with W. Kipkirui, K.    $120.00       0.5       $60.00
                              Kavya, M. Fazil (Deloitte) to discuss
                              status of information technology
                              controls testing related to Powerplan
                              system.
   Ncho-Oguie, Jean-Denis     Meet with T. Gillam (Deloitte) and D.      $330.00       1.1      $363.00
                              Mielle (Audit Committee Chair) to
                              discuss quarterly review status and
                              procedures.
   Ncho-Oguie, Jean-Denis     Discussion with W. Meredith, E.            $330.00       0.5      $165.00
                              Murdock, S. Jasinski (Deloitte) to
                              discuss the status of second quarter
                              review procedures.
   Nguyen, Jessica            Tie out income statement.                  $120.00       2.3      $276.00

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       PG&E Corporation and Pacific Gas and Electric Company
                              Deloitte & Touche LLP
                  Fees Sorted by Category for the Fee Period
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Date                      Description                                   Rate    Hours         Fees

2019 Audit Services
07/17/2019
   Nguyen, Jessica        Continued to tie out amounts disclosed     $120.00       2.1      $252.00
                          in Notes to the Q2'19 financial
                          statements to supporting client
                          supporting schedules.
   Nguyen, Jessica        Tie out balance sheet.                     $120.00       1.9      $228.00
   Nguyen, Jessica        Perform tie out of amounts included in     $120.00       1.7      $204.00
                          Q2'19 financial statements to
                          supporting client supporting schedules.
   Nkinzingabo, Rudy      Review effective tax rate workpaper        $290.00       2.7      $783.00
                          and supporting files.
   Nkinzingabo, Rudy      Review effective tax rate workpaper        $290.00       2.0      $580.00
                          and supporting files provided by T.
                          Lewis (PG&E).
   Nkinzingabo, Rudy      Review the draft Q2 10Q to identify        $290.00       2.0      $580.00
                          new items for the quarter with potential
                          tax impact.
   Nkinzingabo, Rudy      Review uncertain tax position analysis     $290.00       0.7      $203.00
                          provided by T. Lewis, B. Wong.
   Nkinzingabo, Rudy      Review tax balance sheet accounts          $290.00       0.6      $174.00
                          analysis provided by T. Lewis, B.
                          Wong.
   Rice, Blake            Prepare income statement variance          $230.00       3.9      $897.00
                          analytics.
   Rice, Blake            Discussion between T. Pemberton, W.        $230.00       0.5      $115.00
                          Meredith, E. Murdock, J. Ncho-Oguie,
                          S. Jasinski, M. Azebu (Deloitte) to
                          discuss the status of second quarter
                          review procedures.
   Rice, Blake            Meeting with B. Rice, L. Schloetter        $230.00       1.2      $276.00
                          (Deloitte), N. Nguyen (PG&E)
                          regarding billings control process and
                          automatic control.
   Rice, Blake            Discussion with E. Murdock, M. Azebu       $230.00       1.0      $230.00
                          (Deloitte) regarding Q2'19 and overall
                          audit status.
   Rice, Blake            Prepare Q2'19 summary memo.                $230.00       3.5      $805.00
   Schloetter, Lexie      Document selections for automated          $180.00       1.7      $306.00
                          control workpaper associated with
                          electric billings.

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       PG&E Corporation and Pacific Gas and Electric Company
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Date                      Description                                      Rate    Hours         Fees

2019 Audit Services
07/17/2019
   Schloetter, Lexie      Document information on the                   $180.00       1.4      $252.00
                          environmental accrual workpaper for
                          quarterly review process.
   Schloetter, Lexie      Document billings control selections          $180.00       1.4      $252.00
                          and design factors in workpaper.
   Schloetter, Lexie      Continue to document the billings             $180.00       1.3      $234.00
                          control workpaper for selections for
                          control process understanding.
   Schloetter, Lexie      Meeting with B. Rice (Deloitte), N.           $180.00       1.2      $216.00
                          Nguyen (PG&E) regarding billings
                          control process and automatic control.
   Schloetter, Lexie      Document the billings control                 $180.00       1.1      $198.00
                          workpaper for selections for control
                          process understanding.
   Schloetter, Lexie      Meeting with E. Hyppolite (PG&E), L.          $180.00       0.5       $90.00
                          Schloetter (Deloitte) to discuss
                          environmental accrual changes for Q2.
   Schloetter, Lexie      Prepare for billings control process          $180.00       0.5       $90.00
                          meeting.
   Schloetter, Lexie      Discussion with V. Hennessy (Deloitte)        $180.00       0.4       $72.00
                          regarding billings control.
   Sewell, Kyle           Continue to address notes in electric         $180.00       3.7      $666.00
                          energy grid control.
   Sewell, Kyle           Discuss with S. Jasinski (Deloitte)           $180.00       1.3      $234.00
                          energy procurement notes.
   Sewell, Kyle           Obtain trial balances from the                $180.00       1.1      $198.00
                          company's general ledger system.
   Sewell, Kyle           Draft email to S. Zhang, D. Chan, A.          $180.00       0.9      $162.00
                          Seto (PG&E) to request electric
                          settlement grids.
   Sewell, Kyle           Draft email to B. Ng (PG&E) to request        $180.00       0.6      $108.00
                          natural gas expense grids.
   Sewell, Kyle           Address notes in electric energy grid         $180.00       0.4       $72.00
                          control.




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       PG&E Corporation and Pacific Gas and Electric Company
                                 Deloitte & Touche LLP
                     Fees Sorted by Category for the Fee Period
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Date                         Description                                   Rate    Hours         Fees

2019 Audit Services
07/17/2019
   Sreeram, Sree             Review various accounting standard         $290.00       0.5      $145.00
                             alerts, updates in standard and other
                             financial reporting alerts issued during
                             the period, and their analysis of
                             whether they are applicable on
                             company or not.
   Steele, Bridget           Perform tie out of amounts included in     $120.00       4.2      $504.00
                             Q2'19 financial statements to client
                             supporting schedules.
   Steele, Bridget           Continued to tie out of amounts            $120.00       3.2      $384.00
                             included in Q2'19 financial statements
                             to client supporting schedules.
   Varshney, Swati           Review new accounting standards and        $230.00       3.0      $690.00
                             financial reporting alerts issued during
                             the period and prepared analysis of
                             impact to company financial
                             statements
   Varshney, Swati           Draft memo related to various              $230.00       3.0      $690.00
                             enforcement, litigation and regulatory
                             matters and other related to the
                             company that have occurred during the
                             period.
   Varshney, Swati           Continued to review new accounting         $230.00       2.0      $460.00
                             standards and financial reporting alerts
                             issued during the period and prepared
                             analysis of impact to company financial
                             statements
   Xue, Ella                 Perform Customer Care & Billing            $120.00       5.0      $600.00
                             system testing workpaper
                             documentation.
   Xue, Ella                 Perform Customer Care & billing            $120.00       2.0      $240.00
                             system change management evidence
                             examination and follow-up.
   Xue, Ella                 Update the listing of the documents to     $120.00       1.0      $120.00
                             be provided by the client for 2019 IT
                             audit testing for pending requests yet
                             to be provided.
   Yuen, Jennifer            Update tables and explanations within      $230.00       4.3      $989.00
                             tax summary memo.
   Yuen, Jennifer            Review client prepared tax workbooks       $230.00       2.5      $575.00
                             as received from PG&E tax team.

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       PG&E Corporation and Pacific Gas and Electric Company
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                    Fees Sorted by Category for the Fee Period
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Date                        Description                                     Rate    Hours         Fees

2019 Audit Services
07/17/2019
   Yuen, Jennifer           Review draft 10-Q provided by audit          $230.00       1.9      $437.00
                            team.
   Yuen, Jennifer           Clear notes in tax planning memo.            $230.00       0.8      $184.00
07/18/2019
   Azebu, Matt              Discussion with V. Hennessy (Deloitte)       $230.00       0.9      $207.00
                            regarding Q2 journal entry testing.
   Azebu, Matt              Discussion with V. Hennessy                  $230.00       0.4       $92.00
                            (Deloitte), P. Lui (PG&E) regarding
                            journal entries.
   Azebu, Matt              Discussion with N. Donahue, J. Ncho          $230.00       0.4       $92.00
                            Oguie, B. Rice (Deloitte) regarding
                            fiscal year 2019 tax risk assessment.
   Cochran, James           Meeting with W. Kipkirui, E. Xue, P.         $380.00       0.5      $190.00
                            Giamanco (Deloitte) to discuss general
                            information technology control testing
                            status and progress.
   Cochran, James           Meeting with P. Giamanco, T. Gilliam         $380.00       0.5      $190.00
                            (Deloitte) to prepare for IT audit update
                            with K. Kay (PG&E).
   Cochran, James           Meeting with K. Kay (PG&E), B.               $380.00       0.5      $190.00
                            Murdock, T. Gilliam, P. Giamanco
                            (D&T) to discuss Q2 information
                            technology matters and financial audit
                            status.
   Cochran, James           Meeting with P. Giamanco (Deloitte),         $380.00       0.5      $190.00
                            S. Gicking (PWC) to discuss transition
                            of Director of IT Security role
   Donahue, Nona            Meeting with R. Nkinzingabo, J. Yuen         $380.00       1.0      $380.00
                            (Deloitte), T. Lewis, K. Xu (PG&E) to
                            discuss Q2 provision questions, open
                            items and bankruptcy.
   Donahue, Nona            Discussion with J. Ncho Oguie, M.            $380.00       0.4      $152.00
                            Azebu, B. Rice (Deloitte) regarding
                            fiscal year 2019 tax risk assessment.
   Giamanco, Patrick        Meeting with K. Kay (PG&E), J.               $330.00       0.5      $165.00
                            Cochran, B. Murdock, T. Gilliam (D&T)
                            to discuss Q2 information technology
                            matters and financial audit status.



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       PG&E Corporation and Pacific Gas and Electric Company
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                 Fees Sorted by Category for the Fee Period
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Date                      Description                                   Rate    Hours         Fees

2019 Audit Services
07/18/2019
   Giamanco, Patrick      Meeting with W. Kipkirui (Deloitte) to      $330.00      0.5      $165.00
                          discuss IT audit status.
   Giamanco, Patrick      Meeting with J. Cochran (Deloitte), S.      $330.00      0.5      $165.00
                          Gicking (PWC) to discuss transition of
                          Director of IT Security role
   Giamanco, Patrick      Meeting with J. Cochran, W. Kipkirui,       $330.00      0.5      $165.00
                          E. Xue (Deloitte) to discuss general
                          information technology control testing
                          status and progress.
   Giamanco, Patrick      Meeting with J. Cochran, T. Gilliam         $330.00      0.5      $165.00
                          (Deloitte) to prepare for IT audit update
                          with K. Kay (CIO).
   Gillam, Tim            Meeting with K. Kay (PG&E), J.              $380.00      0.5      $190.00
                          Cochran, B. Murdock, P. Giamanco
                          (D&T) to discuss Q2 information
                          technology matters and financial audit
                          status.
   Gillam, Tim            Meeting with E. Murdock (Deloitte), J.      $380.00      0.5      $190.00
                          Kane (PGE) to discuss Q2 PG&E
                          compliance matters.
   Gillam, Tim            Meeting with J. Cochran, P. Giamanco        $380.00      0.5      $190.00
                          (Deloitte) to prepare for IT audit update
                          with K. Kay (CIO).
   Gillam, Tim            Meeting with E. Murdock (Deloitte), J.      $380.00      0.9      $342.00
                          Loduca, J. Lloyd, B. Wong (PGE) to
                          discuss Q2 legal matters.
   Gillam, Tim            Meet with J. Ncho-Oguie (Deloitte) J.       $380.00      0.5      $190.00
                          Wells (PG&E) to discuss quarterly
                          review status and procedures.
   Hennessy, Vincent      Document journal entry testing.             $200.00      3.4      $680.00
   Hennessy, Vincent      Discussion with M. Azebu (Deloitte)         $200.00      0.9      $180.00
                          regarding Q2 journal entry testing.
   Hennessy, Vincent      Obtain supporting documents for             $200.00      0.8      $160.00
                          journal entry testing.
   Hennessy, Vincent      Discussion with P. Lui (PG&E)               $200.00      0.8      $160.00
                          regarding journal entry support.
   Hennessy, Vincent      Discussion with A. Yip (PG&E) to            $200.00      0.7      $140.00
                          obtain supporting documents related to
                          a journal entry selected for testing as
                          part of interim review procedures

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       PG&E Corporation and Pacific Gas and Electric Company
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                  Fees Sorted by Category for the Fee Period
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Date                       Description                                   Rate    Hours          Fees

2019 Audit Services
07/18/2019
   Hennessy, Vincent       Discussion with L. Schloetter (Deloitte)   $200.00       0.3       $60.00
                           regarding billings control.
   Hennessy, Vincent       Discussion with L. Schloetter, E.          $200.00       0.5      $100.00
                           Murdock (Deloitte) regarding risks of
                           material misstatement associated with
                           the billings process.
   Hennessy, Vincent       Discussion with B. Martin (Deloitte), D.   $200.00       0.4       $80.00
                           Diaz (PG&E) regarding the Quarterly
                           Corp. Consolidate Analytic.
   Hennessy, Vincent       Discussion with M. Azebu (Deloitte), P.    $200.00       0.4       $80.00
                           Lui (PG&E) regarding journal entries.
   Jasinski, Samantha      Review the interim audit testing of        $290.00       3.5     $1,015.00
                           bilateral charges (energy procurement)
   Jasinski, Samantha      Review the interim audit testing of cost   $290.00       2.0      $580.00
                           of electricity
   Jasinski, Samantha      Review the interim audit testing of cost   $290.00       2.0      $580.00
                           of natural gas
   Jasinski, Samantha      Discussion with C. Morley (Deloitte)       $290.00       0.3       $87.00
                           regarding projected total hours
                           estimated at completion of 2019 audit.
   K, Kavya                Test controls over SAP HANA (high-         $120.00       3.0      $360.00
                           performance analytic appliance)
                           application database security.
   K, Kavya                Create new masters for controls            $120.00       3.0      $360.00
                           converted into Independent for current
                           year.
   Kamra, Akanksha         Review Board Minutes summary               $230.00       0.5      $115.00
                           documenting the discussions held by
                           PG&E's Board of Directors and Board
                           Committees during Q2'19.
   Kipkirui, Winnie        Continue to perform IT risk worksheet      $230.00       3.0      $690.00
                           documentation.
   Kipkirui, Winnie        Perform MDMS (Meter Data                   $230.00       3.0      $690.00
                           Management System) testing
                           documentation.
   Kipkirui, Winnie        Review IAM (Oracle Identity Manager        $230.00       2.0      $460.00
                           related controls) controls.
   Kipkirui, Winnie        Perform IT risk worksheet                  $230.00       1.0      $230.00
                           documentation.

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       PG&E Corporation and Pacific Gas and Electric Company
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Date                        Description                                   Rate    Hours         Fees

2019 Audit Services
07/18/2019
   Kipkirui, Winnie         Meeting with J. Cochran, E. Xue, P.        $230.00       0.5      $115.00
                            Giamanco (Deloitte) to discuss general
                            information technology control testing
                            status and progress.
   Kipkirui, Winnie         Meeting with P. Giamanco (Deloitte) to     $230.00       0.5      $115.00
                            discuss IT audit status.
   Martin, Blake            Perform risk assessment for Source to      $200.00       3.6      $720.00
                            Pay (AP) and operating & maintenance
                            expense processes.
   Martin, Blake            Meeting with K. Sewell (Deloitte), R.      $200.00       1.2      $240.00
                            Sharma (PG&E) regarding the monthly
                            Potential Adjustment Report control
                            and specifically the June Potential
                            Adjustment Report Meeting.
   Martin, Blake            Document testing of controls related to    $200.00       1.1      $220.00
                            the Potential Adjustment Report
                            review.
   Martin, Blake            Update documentation within the Corp.      $200.00       0.5      $100.00
                            Consolidated Analytic working paper.
   Martin, Blake            Discussion with V. Hennessy                $200.00       0.4       $80.00
                            (Deloitte), D. Diaz (PG&E) regarding
                            the Quarterly Corp. Consolidate
                            Analytic.
   Martin, Blake            Discuss testing approach with K.           $200.00       0.4       $80.00
                            Sewell (Deloitte) for journal entries
                            approved during the Company's
                            monthly meeting to review accounting
                            for non-recurring journal entries on the
                            potential adjustment report (PAR).
   Morley, Carlye           Discussion with S. Jasinski (Deloitte)     $230.00       0.3       $69.00
                            regarding audit budget with estimate of
                            total projected hours at completion of
                            audit.
   Murdock, Elizabeth       Meeting with T. Gillam (Deloitte), J.      $330.00       0.9      $297.00
                            Loduca, J. Lloyd, B. Wong (PGE) to
                            discuss Q2 legal matters.
   Murdock, Elizabeth       Discussion with V. Hennessy, L.            $330.00       0.5      $165.00
                            Schloetter (Deloitte) regarding risks of
                            material misstatement associated with
                            the billings process.


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Date                          Description                                   Rate    Hours         Fees

2019 Audit Services
07/18/2019
   Murdock, Elizabeth         Meeting with K. Kay (PG&E), J.             $330.00       0.5      $165.00
                              Cochran, T. Gilliam, P. Giamanco
                              (D&T) to discuss Q2 information
                              technology matters and financial audit
                              status.
   Murdock, Elizabeth         Meeting with T. Gillam (Deloitte), J.      $330.00       0.5      $165.00
                              Kane (PGE) to discuss Q2 PG&E
                              compliance matters.
   Nambiar, Sachin            Update design for controls Transfer        $120.00       1.0      $120.00
                              and New User Access papers.
   Ncho-Oguie, Jean-Denis     Review Independence Memo.                  $330.00       1.9      $627.00
   Ncho-Oguie, Jean-Denis     Review Q2 Audit Committee Slide            $330.00       0.7      $231.00
                              Deck.
   Ncho-Oguie, Jean-Denis     Meet with T. Gillam (Deloitte) J. Wells    $330.00       0.5      $165.00
                              (PG&E) to discuss quarterly review
                              status and procedures.
   Ncho-Oguie, Jean-Denis     Discussion with N. Donahue, B. Rice,       $330.00       0.4      $132.00
                              M. Azebu (Deloitte) regarding fiscal
                              year 2019 tax risk assessment.
   Ncho-Oguie, Jean-Denis     Discussion (partial) with N. Donahue,      $330.00       0.3       $99.00
                              M. Azebu, B. Rice (Deloitte) regarding
                              fiscal year 2019 tax risk assessment.
   Nguyen, Jessica            Continue to tie-out the income             $120.00       2.6      $312.00
                              statement.
   Nguyen, Jessica            Tie-out the income statement.              $120.00       1.8      $216.00
   Nguyen, Jessica            Tie-out the balance sheet.                 $120.00       1.8      $216.00
   Nguyen, Jessica            Perform tie out of amounts included in     $120.00       1.4      $168.00
                              Q2'19 financial statements to
                              supporting client supporting schedules.
   Nkinzingabo, Rudy          Review Q2'19 tax summary memo              $290.00       3.2      $928.00
                              outlining quarterly variance analyses
                              performed as part of interim review
                              procedures.
   Nkinzingabo, Rudy          Meeting with N. Donahue, J. Yuen           $290.00       1.0      $290.00
                              (Deloitte), T. Lewis, K. Xu (PG&E) to
                              discuss Q2 provision questions, open
                              items and bankruptcy.




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       PG&E Corporation and Pacific Gas and Electric Company
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                  Fees Sorted by Category for the Fee Period
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Date                      Description                                       Rate    Hours         Fees

2019 Audit Services
07/18/2019
   Pemberton, Tricia      Review the slides prepared for the             $380.00       0.5      $190.00
                          audit team's quarterly presentation to
                          the audit committee.
   Pemberton, Tricia      Review quarterly review reports for Q2         $380.00       0.5      $190.00
                          2019 summarizing results of audit
                          team's review procedures.
   Rice, Blake            Prepare Q2'19 summary memo.                    $230.00       3.5      $805.00
   Rice, Blake            Discussion with N. Donahue, J. Ncho            $230.00       0.4       $92.00
                          Oguie, M. Azebu (Deloitte) regarding
                          fiscal year 2019 tax risk assessment.
   Rice, Blake            Prepare income statement variance              $230.00       3.9      $897.00
                          analytics.
   Schloetter, Lexie      Document control workpaper related to          $180.00       2.3      $414.00
                          billings control regarding electric billing
                          rates.
   Schloetter, Lexie      Document control workpaper related to          $180.00       2.0      $360.00
                          billings control regarding cash
                          reconciliation.
   Schloetter, Lexie      Meeting with M. Amodu (PG&E)                   $180.00       0.9      $162.00
                          regarding cash reconciliation process.
   Schloetter, Lexie      Create testing Matrix to compare               $180.00       0.9      $162.00
                          control steps from internal audit for
                          control reliance.
   Schloetter, Lexie      Discussion with V. Hennessy, E.                $180.00       0.5       $90.00
                          Murdock (Deloitte) regarding risks of
                          material misstatement associated with
                          the billings process.
   Schloetter, Lexie      Pull account reconciliations for               $180.00       0.4       $72.00
                          revenue balancing accounts.
   Schloetter, Lexie      Discussion with V. Hennessy (Deloitte)         $180.00       0.3       $54.00
                          regarding billings control.
   Sewell, Kyle           Continue to document potential                 $180.00       0.8      $144.00
                          adjustment report internal control.
   Sewell, Kyle           Meeting (partial) with B. Martin               $180.00       0.8      $144.00
                          (Deloitte), R. Sharma (PG&E)
                          regarding the monthly Potential
                          Adjustment Report control and
                          specifically the June Potential
                          Adjustment Report Meeting.


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       PG&E Corporation and Pacific Gas and Electric Company
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                     Fees Sorted by Category for the Fee Period
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Date                         Description                                   Rate    Hours         Fees

2019 Audit Services
07/18/2019
   Sewell, Kyle              Document potential adjustment report       $180.00       0.7      $126.00
                             internal control.
   Sewell, Kyle              Discuss testing approach for non-          $180.00       0.4       $72.00
                             recurring journal entries with B. Martin
                             (Deloitte).
   Sreeram, Sree             Review analyzed cash flow items at         $290.00       1.0      $290.00
                             each line item level.
   Steele, Bridget           Perform tie out of amounts included in     $120.00       1.4      $168.00
                             Q2'19 financial statements to client
                             supporting schedules.
   Varshney, Swati           Further continue to review the             $230.00       3.0      $690.00
                             variances arising between December
                             18 and June 19 balance sheet items at
                             each line item level, and their reasons
                             of variances.
   Varshney, Swati           Continue reviewing the variances           $230.00       3.0      $690.00
                             arising between December 18 and
                             June 19 balance sheet items at each
                             line item level, and their reasons of
                             variances.
   Varshney, Swati           Continue drafting memo related to          $230.00       3.0      $690.00
                             various enforcement, litigation and
                             regulatory matters and other related to
                             the company that have occurred during
                             the period.
   Xue, Ella                 Meeting with J. Cochran, W. Kipkirui,      $120.00       0.5       $60.00
                             P. Giamanco (Deloitte) to discuss
                             general information technology control
                             testing status and progress.
   Yuen, Jennifer            Prepare the Q2'19 tax provision            $230.00       4.2      $966.00
                             summary memo as part of interim
                             review procedures.
   Yuen, Jennifer            Prepare PG&E Q2'19 effective tax rate      $230.00       3.6      $828.00
                             calculation workpaper as part of interim
                             review procedures.
   Yuen, Jennifer            Meeting with N. Donahue, R.                $230.00       1.0      $230.00
                             Nkinzingabo (Deloitte), T. Lewis, K. Xu
                             (PG&E) to discuss Q2 provision
                             questions, open items and bankruptcy.



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2019 Audit Services
07/19/2019
   Azebu, Matt             Review draft quarterly review reports       $230.00       0.8      $184.00
                           summarizing results of interim review
                           procedures to be provided to audit
                           committee for audit committee meeting
                           on July 23.
   Azebu, Matt             Discussion with K. Sewell, V.               $230.00       0.6      $138.00
                           Hennessy (Deloitte) regarding Q1 Q2
                           journal entry testing.
   Azebu, Matt             Discussion with L. Schloetter (Deloitte)    $230.00       0.5      $115.00
                           regarding upcoming audit tasks.
   Azebu, Matt             Review tax provision workpaper              $230.00       0.3       $69.00
                           prepared by R. Nkinzingabo (Deloitte).
   Bhattacharya, Ayush     Update the status of audit support          $200.00       2.0      $400.00
                           requests on Deloitte Connect site.
   Bhattacharya, Ayush     Attend PG&E IT Audit for FY'19 - bi-        $200.00       0.5      $100.00
                           weekly update with W. Kipkirui, P.
                           Giamanco (Deloitte), C. Lee, G.
                           Gadelha, S. Chui, S. Currie.
   Bhattacharya, Ayush     Prepare documentation of control            $200.00       0.5      $100.00
                           workpapers related to information
                           technology controls over system
                           change management.
   Choudhury, Viki         Review relational database                  $200.00       2.0      $400.00
                           management system (SAP HANA)
                           testing workpaper.
   Giamanco, Patrick       Attend PG&E SOX IT Audit for FY'19 -        $330.00       0.5      $165.00
                           bi-weekly update with W. Kipkirui, A.
                           Bhattacharya (Deloitte), C. Lee, G.
                           Gadelha, S. Chui, S. Currie.
   Gillam, Tim             Meet with J. Ncho-Oguie (Deloitte) and      $380.00       0.5      $190.00
                           J. Simon to discuss quarterly review
                           status and procedures.
   Gillam, Tim             Meet with J. Ncho-Oguie, S. Jasinski        $380.00       0.5      $190.00
                           (Deloitte) to discuss quarterly review
                           status and procedures.
   Hennessy, Vincent       Document journal entries for Q2             $200.00       3.1      $620.00
                           testing.
   Hennessy, Vincent       Document journal entry testing for Q2.      $200.00       1.2      $240.00
   Hennessy, Vincent       Discussion with K. Sewell (Deloitte)        $200.00       0.8      $160.00
                           regarding journal entry data.

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2019 Audit Services
07/19/2019
   Hennessy, Vincent       Discussion with M. Azebu, K. Sewell        $200.00       0.6      $120.00
                           (Deloitte) regarding Q1 Q2 journal
                           entry testing.
   Jain, Naman             Prepare human capital specialist           $180.00       2.0      $360.00
                           scoping memo outlining scope of
                           procedures to be performed by
                           specialists for 2019 audit.
   Jasinski, Samantha      Review the interim audit testing of cost   $290.00       3.5     $1,015.00
                           of electricity
   Jasinski, Samantha      Review the interim audit testing of cost   $290.00       3.5     $1,015.00
                           of natural gas
   Jasinski, Samantha      Meet with T. Gillam, J. Ncho-Oguie         $290.00       0.7      $203.00
                           (Deloitte) to discuss quarterly review
                           status and procedures.
   Jasinski, Samantha      Meeting with T. Gillam, J. Ncho-Oguie,     $290.00       0.5      $145.00
                           T. Kilkenny and S. Jasinski (all
                           Deloitte) to discuss the accounting for
                           significant Q2 transactions as part of
                           quarterly review procedures
   Jasinski, Samantha      Discussing with J. Garboden, A.            $290.00       0.5      $145.00
                           Duran, P. Ong (PG&E), S. Jasinski,
                           and E. Murdock (Deloitte) related to
                           accounting for proposed decision
                           related to 2019 gas transmission and
                           storage rate case
   K, Kavya                Update master tracker for controls and     $120.00       3.0      $360.00
                           deadlines.
   K, Kavya                Update user validation sheets for SAP      $120.00       3.0      $360.00
                           Business Warehouse and Business
                           Planning and Consolidation tools.
   Kamra, Akanksha         Review the Q2 financial statements.        $230.00       1.0      $230.00
   Kamra, Akanksha         Review balance sheet analytics.            $230.00       1.0      $230.00
   Kipkirui, Winnie        IAM testing (Oracle Identity Manager       $230.00       3.0      $690.00
                           related controls) documentation.
   Kipkirui, Winnie        Addressing manager review comments         $230.00       2.0      $460.00
                           on IT advisory planning memo.




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       PG&E Corporation and Pacific Gas and Electric Company
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2019 Audit Services
07/19/2019
   Kipkirui, Winnie           Perform Qualifying Facility Information    $230.00       1.5      $345.00
                              Center (QIC) application testing related
                              to power procurement systems testing
                              documentation.
   Kipkirui, Winnie           Document Market Data System testing        $230.00       1.0      $230.00
                              related to price risk management
                              process.
   Kipkirui, Winnie           Attend PG&E SOX IT Audit for FY'19 -       $230.00       0.5      $115.00
                              bi-weekly update with P. Giamanco, A.
                              Bhattacharya (Deloitte), C. Lee, G.
                              Gadelha, S. Chui, S. Currie.
   Martin, Blake              Document potential adjustment report       $200.00       3.3      $660.00
                              meeting control testing working paper.
   Martin, Blake              Document Q2'19 corporate                   $200.00       2.8      $560.00
                              consolidated analytic working paper.
   Martin, Blake              Document risk of material                  $200.00       0.6      $120.00
                              misstatement related to management
                              override of controls (Potential
                              Adjustment Report).
   Martin, Blake              Document memo for FY'19 related to         $200.00       0.6      $120.00
                              management override controls such as
                              journal entry and design &
                              implementation considerations.
   Morley, Carlye             Update audit budget with estimate of       $230.00       1.2      $276.00
                              total projected hours at completion of
                              audit.
   Ncho-Oguie, Jean-Denis     Review regulatory balancing accounts       $330.00       1.8      $594.00
                              fluctuations for second quarter review.
   Ncho-Oguie, Jean-Denis     Meet with T. Gillam, S. Jasinski           $330.00       0.7      $231.00
                              (Deloitte) to discuss quarterly review
                              status and procedures.
   Ncho-Oguie, Jean-Denis     Review Q2'19 communications to the         $330.00       0.6      $198.00
                              audit committee summarizing results of
                              Q2 review procedures and other audit
                              matters.
   Ncho-Oguie, Jean-Denis     Meet with T. Gillam (Deloitte) and J.      $330.00       0.5      $165.00
                              Simon to discuss quarterly review
                              status and procedures.
   Nkinzingabo, Rudy          Review valuation allowance analysis        $290.00       3.0      $870.00
                              memo.

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2019 Audit Services
07/19/2019
   Nkinzingabo, Rudy      Review Q2'19 tax summary memo                $290.00      2.0      $580.00
                          outlining quarterly variance analyses
                          performed as part of interim review
                          procedures.
   Nkinzingabo, Rudy      Meeting with T. Lewis, K. Xu (PG&E),         $290.00      0.4      $116.00
                          J. Yuen (Deloitte) to discuss
                          outstanding items on Q2 provision.
   Rice, Blake            Prepare cash flow statement variance         $230.00      3.9      $897.00
                          analytics.
   Rice, Blake            Prepare Q2'19 workpaper regarding            $230.00      3.0      $690.00
                          summary of uncorrected
                          misstatements.
   Rice, Blake            Address comments included within             $230.00      2.0      $460.00
                          Q2'19 officer draft.
   Salisam, Soujanya      Perform reconciliation of journal entry      $200.00      3.0      $600.00
                          data for the period from 1/1 - 6/30/19 to
                          prepare for audit testing.
   Schloetter, Lexie      Close notes on billings control              $180.00      1.2      $216.00
                          workpaper.
   Schloetter, Lexie      Prepare memo summarizing the Q2'19           $180.00      1.1      $198.00
                          communications to the audit
                          committee, which included
                          communication of results of Q2 review
                          procedures and other audit matters.
   Schloetter, Lexie      Update automated billings control            $180.00      1.0      $180.00
                          workpaper for electric billing validation.
   Schloetter, Lexie      Discussion with J. Pitman (PG&E)             $180.00      0.9      $162.00
                          about billings control reliance strategy
                          on internal audit.
   Schloetter, Lexie      Update automated billings control            $180.00      0.7      $126.00
                          workpaper for gas billing validation.
   Schloetter, Lexie      Update plan and testing steps for            $180.00      0.5       $90.00
                          planning steps related to internal
                          control reliance strategy.
   Schloetter, Lexie      Update the Generally Accepted                $180.00      0.3       $54.00
                          Accounting Principles checklist memo.
   Sewell, Kyle           Review interim journal entry data            $180.00      2.3      $414.00
                          reconciliation report.



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                                Deloitte & Touche LLP
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2019 Audit Services
07/19/2019
   Sewell, Kyle             Discussion with V. Hennessy (Deloitte)      $180.00       0.8      $144.00
                            regarding journal entry data.
   Sewell, Kyle             Discussion with M. Azebu, V.                $180.00       0.6      $108.00
                            Hennessy (Deloitte) regarding Q1 Q2
                            journal entry testing.
   Sewell, Kyle             Draft email to S. Salisam (PG&E)            $180.00       0.5       $90.00
                            regarding interim journal entry testing
                            reports.
   Varshney, Swati          Review the quarterly balance sheet          $230.00       3.0      $690.00
                            analytics summarizing the reasons for
                            period over period fluctuations in
                            account balances as part of interim
                            review procedures.
   Varshney, Swati          Continue to review the quarterly            $230.00       3.0      $690.00
                            balance sheet analytics summarizing
                            the reasons for period over period
                            fluctuations in account balances as
                            part of interim review procedures.
   Varshney, Swati          Further reviewed the quarterly balance      $230.00       2.0      $460.00
                            sheet analytics summarizing the
                            reasons for period over period
                            fluctuations in account balances as
                            part of interim review procedures.
   Yuen, Jennifer           Meeting with T. Lewis, K. Xu (PG&E),        $230.00       0.4       $92.00
                            R. Nkinzingabo (Deloitte) to discuss
                            outstanding items on Q2 provision.
07/20/2019
   Azebu, Matt              Review draft of the financial               $230.00       1.4      $322.00
                            statements to be provided to audit
                            committee.
   Gillam, Tim              Review the materials (including draft       $380.00       3.0     $1,140.00
                            review reports, summary of key
                            quarterly transactions) provided to
                            audit committee members prior to the
                            audit committee meeting.




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2019 Audit Services
07/21/2019
   Gillam, Tim             Continued to review the July 2019 AC        $380.00      3.0     $1,140.00
                           meeting materials (including quarterly
                           review reports and summary of key
                           quarterly transactions) to be provided
                           to audit committee members prior to
                           July 2019 audit committee meeting
   Gillam, Tim             Prepare for communication of results        $380.00      1.4      $532.00
                           of Q2 review procedures for the July
                           2019 audit committee meeting.
   Jasinski, Samantha      Review Q2 cash flow variance                $290.00      1.1      $319.00
                           analysis.
   Meredith, Wendy         Review edits to second quarter draft        $380.00      1.1      $418.00
                           Form 10-Q.
   Meredith, Wendy         Review edits to second quarter draft        $380.00      0.4      $152.00
                           management representation letter.
   Murdock, Elizabeth      Review income statement fluctuation         $330.00      1.0      $330.00
                           analysis for Q2.
07/22/2019
   Azebu, Matt             Meeting with L. Schloetter, B. Rice, B.     $230.00      1.3      $299.00
                           Martin, B. Steele, R. Sonn (Deloitte)
                           regarding operating and maintenance
                           testing approach.
   Azebu, Matt             Drafted email to K. Mallonee (PG&E)         $230.00      0.6      $138.00
                           summarizing audit team's comments
                           on the draft financial statements.
   Azebu, Matt             Meeting with S. Jasinski, B. Rice, B.       $230.00      0.5      $115.00
                           Martin, V. Hennessy, L. Schloetter, and
                           K. Sewell, B. Steele, R. Sonn (Deloitte)
                           regarding weekly updates and
                           priorities.
   Bhattacharya, Ayush     Attend Oracle database walkthrough          $200.00      3.0      $600.00
                           and FY'19 Audit kick-off with W.
                           Kipkirui, E. Xue (Deloitte), I.
                           Mohammed, A. Dua, K. Chanda, S.
                           Edla (PG&E).
   Bhimani, Harika         Perform reconciliation of journal entry     $230.00      1.0      $230.00
                           data for the period from 1/1 - 6/30/19 to
                           prepare for audit testing.




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2019 Audit Services
07/22/2019
   Choudhury, Viki        Attend security team agenda review          $200.00       2.0      $400.00
                          and walkthrough conduction with K.
                          Kavya, M. Fazil (Deloitte), N. Sachin,
                          R. Garcia, I. Kakarla, U. Ghnta, T.
                          Nguyen (PG&E).
   Fazil, Mohamed         Attend security team agenda review          $200.00       2.0      $400.00
                          and walkthrough conduction with K.
                          Kavya, V. Choudhury (Deloitte), N.
                          Sachin, R. Garcia, I. Kakarla, U.
                          Ghnta, T. Nguyen (PG&E).
   Giamanco, Patrick      Meeting (partial) with E. Murdock, S.       $330.00       0.5      $165.00
                          Jasinski (Deloitte), S. Cairns, C.
                          Pezzola, D. Kenna, C. Lee (PG&E)
                          regarding quarterly control matters.
   Gillam, Tim            Review the Form 10Q for PG&E.               $380.00       3.0     $1,140.00
   Hennessy, Vincent      Document additional journal entries for     $200.00       3.1      $620.00
                          Q2 testing.
   Hennessy, Vincent      Clear notes in Q2 journal entry testing     $200.00       1.7      $340.00
                          workpaper.
   Hennessy, Vincent      Obtain journal entry support from           $200.00       0.9      $180.00
                          terminal.
   Hennessy, Vincent      Discussion with R. Tirado (PG&E)            $200.00       0.6      $120.00
                          regarding journal entry testing.
   Hennessy, Vincent      Meeting with S. Jasinski, M. Azebu, B.      $200.00       0.5      $100.00
                          Rice, B. Martin, L. Schloetter, and K.
                          Sewell, B. Steele, R. Sonn (Deloitte)
                          regarding weekly updates and
                          priorities.
   Hennessy, Vincent      Discussion with B. Rice, L. Schloetter,     $200.00       0.4       $80.00
                          B. Steele (Deloitte) regarding tie out
                          tool.
   Hennessy, Vincent      Discussion with B. Rice (Deloitte)          $200.00       0.4       $80.00
                          regarding Q2 journal entry testing
                          notes.
   Hennessy, Vincent      Discussion with L. Chen (PG&E)              $200.00       0.3       $60.00
                          regarding journal entry testing.
   Jasinski, Samantha     Continue to review balance sheet            $290.00       2.9      $841.00
                          fluctuation workpaper.
   Jasinski, Samantha     Review balance sheet variance               $290.00       1.8      $522.00
                          workpaper.

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       PG&E Corporation and Pacific Gas and Electric Company
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2019 Audit Services
07/22/2019
   Jasinski, Samantha      Meeting with E. Murdock, P. Giamanco        $290.00      1.0      $290.00
                           (Deloitte), S. Cairns, C. Pezzola, D.
                           Kenna, C. Lee (PG&E) regarding
                           quarterly control matters.
   Jasinski, Samantha      Meeting with B. Martin, R. Sonn             $290.00      0.5      $145.00
                           (Deloitte) to discuss updating of
                           documentation within the Q2'19
                           Corporate Consolidated Analytic.
   K, Kavya                Final updates to the Security Team          $120.00      1.5      $180.00
                           Walkthrough agenda.
   K, Kavya                Test the ACTT (Automated Controls           $120.00      1.5      $180.00
                           Testing Tool) report for the SAP
                           system BW (Business Warehouse).
   K, Kavya                Attend security team agenda review          $120.00      2.0      $240.00
                           and walkthrough conduction with V.
                           Choudhury, M. Fazil (Deloitte), N.
                           Sachin, R. Garcia, I. Kakarla, U.
                           Ghnta, T. Nygyun (PG&E).
   Kamra, Akanksha         Review Tie out of financial statements      $230.00      1.5      $345.00
                           to client supporting schedules.
   Kipkirui, Winnie        Attend Oracle database walkthrough          $230.00      3.0      $690.00
                           and FY'19 Audit kick-off with A.
                           Bhattacharya, E. Xue (Deloitte), I.
                           Mohammed, A. Dua, K. Chanda, S.
                           Edla (PG&E).
   Kipkirui, Winnie        Update requests for Oracle Database         $230.00      2.0      $460.00
                           after discussion with PG&E team.
   Kipkirui, Winnie        Prepare scripts for testing Customer        $230.00      2.0      $460.00
                           Care & Billing application Unix server
                           1.
   Kipkirui, Winnie        Prepare ACTT (Automated Control             $230.00      1.0      $230.00
                           Testing Tool) scripts for testing Oracle
                           Database.
   Kipkirui, Winnie        Review ACTT (Automated Control              $230.00      1.0      $230.00
                           Testing Tool) scripts for testing Oracle
                           Database.
   M, Nikitha              Perform reconciliation of journal entry     $230.00      2.5      $575.00
                           data for the period from 1/1 - 6/30/19 to
                           prepare for audit testing.



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2019 Audit Services
07/22/2019
   M, Nikitha                 Continued to perform reconciliation of      $230.00       2.5      $575.00
                              journal entry data for the period from
                              1/1 - 6/30/19 to prepare for audit
                              testing.
   Martin, Blake              Document Q2'19 Corporate                    $200.00       2.2      $440.00
                              Consolidated Analytic.
   Martin, Blake              Meeting between L. Schloetter, V.           $200.00       0.8      $160.00
                              Hennessy, R. Sonn (Deloitte)
                              regarding PG&E background and
                              upcoming audit priorities.
   Martin, Blake              Meeting with S. Jasinski, M. Azebu, B.      $200.00       0.5      $100.00
                              Rice, V. Hennessy, L. Schloetter, K.
                              Sewell, B. Steele, R. Sonn (Deloitte)
                              regarding weekly updates and
                              priorities.
   Martin, Blake              Meeting with R. Sonn, S. Jasinski           $200.00       0.5      $100.00
                              (Deloitte) to discuss updating of
                              documentation within the Q2'19
                              Corporate Consolidated Analytic.
   Martin, Blake              Review documentation within the             $200.00       1.8      $360.00
                              Q2'19 Corp. Consolidated Analytic.
   Martin, Blake              Meeting with L. Schloetter, B. Rice, B.     $200.00       1.3      $260.00
                              Steele, M. Azebu, R. Sonn (Deloitte)
                              regarding operating and maintenance
                              testing approach.
   Meredith, Wendy            Clear notes on audit planning               $380.00       0.5      $190.00
                              workpapers.
   Morley, Carlye             Update audit budget with estimate of        $230.00       2.2      $506.00
                              total projected hours at completion of
                              audit.
   Murdock, Elizabeth         Meeting (partial) with S. Jasinski, P.      $330.00       0.6      $198.00
                              Giamanco (Deloitte), S. Cairns, C.
                              Pezzola, D. Kenna, C. Lee (PG&E)
                              regarding quarterly control matters.
   Murdock, Elizabeth         Meet with D. Kenna (PG&E) to discuss        $330.00       0.2       $66.00
                              accounts payable control findings.
   Nambiar, Sachin            Conducted walkthrough of information        $120.00       2.0      $240.00
                              technology system security process
   Ncho-Oguie, Jean-Denis     Review the interim summary memo.            $330.00       1.1      $363.00


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Date                      Description                                    Rate    Hours         Fees

2019 Audit Services
07/22/2019
   Pemberton, Tricia      Review 2nd draft of the Q2 2019 10-Q.       $380.00       1.1      $418.00
   Pemberton, Tricia      Review independence workpapers for          $380.00       0.5      $190.00
                          Q2 2019 quarterly review.
   Pemberton, Tricia      Review the management                       $380.00       1.2      $456.00
                          representation letter for Q2.
   Rice, Blake            Address balance sheet variance              $230.00       3.5      $805.00
                          analysis comments.
   Rice, Blake            Meeting with L. Schloetter, B. Martin,      $230.00       1.3      $299.00
                          B. Steele, M. Azebu, R. Sonn (Deloitte)
                          regarding operating and maintenance
                          testing approach.
   Rice, Blake            Review quarterly journal entry              $230.00       1.0      $230.00
                          transactions workpaper.
   Rice, Blake            Review draft of Form 10-Q to provide        $230.00       1.0      $230.00
                          comments before being sent to audit
                          committee.
   Rice, Blake            Meeting with S. Jasinski, M. Azebu, B.      $230.00       0.5      $115.00
                          Martin, V. Hennessy, L. Schloetter, and
                          K. Sewell, B. Steele, R. Sonn (Deloitte)
                          regarding weekly updates and
                          priorities.
   Rice, Blake            Discussion with V. Hennessy (Deloitte)      $230.00       0.4       $92.00
                          regarding Q2 journal entry testing
                          notes.
   Rice, Blake            Discussion with L. Schloetter, V.           $230.00       0.4       $92.00
                          Hennessy, B. Steele (Deloitte)
                          regarding tie out tool.
   Salisam, Soujanya      Perform reconciliation of journal entry     $200.00       2.0      $400.00
                          data for the period from 1/1 - 6/30/19 to
                          prepare for audit testing.
   Schloetter, Lexie      Analyze the trial balance for quarter 2     $180.00       1.7      $306.00
                          review procedures.
   Schloetter, Lexie      Close notes on the environmental            $180.00       1.6      $288.00
                          remediation liabilities workpaper.
   Schloetter, Lexie      Meeting with B. Rice, B. Martin, B.         $180.00       1.3      $234.00
                          Steele, M. Azebu, R. Sonn (Deloitte)
                          regarding operating and maintenance
                          testing approach.



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2019 Audit Services
07/22/2019
   Schloetter, Lexie      Update the operating and maintenance         $180.00       0.8      $144.00
                          testing workpaper.
   Schloetter, Lexie      Update the generally accepted                $180.00       0.8      $144.00
                          accounting policies checklist memo.
   Schloetter, Lexie      Meeting with S. Jasinski, M. Azebu, B.       $180.00       0.5       $90.00
                          Rice, B. Martin, V. Hennessy, K.
                          Sewell, B. Steele, R. Sonn (Deloitte)
                          regarding weekly updates and
                          priorities.
   Schloetter, Lexie      Discussion with B. Rice, V. Hennessy,        $180.00       0.4       $72.00
                          B. Steele (Deloitte) regarding tie out
                          tool.
   Schloetter, Lexie      Schedule meeting with E. Murdock             $180.00       0.3       $54.00
                          (Deloitte), E. Hyppolite (PG&E) for
                          environmental accruals considerations.
   Sewell, Kyle           Perform interim testing as of June 30        $180.00       5.8     $1,044.00
                          of cost of gas.
   Sewell, Kyle           Perform interim testing as of June 30        $180.00       2.8      $504.00
                          of cost of electricity.
   Sonn, Rebecca          Meeting with L. Schloetter, V.               $120.00       0.8       $96.00
                          Hennessy, B. Martin (Deloitte)
                          regarding PG&E background and
                          upcoming audit priorities.
   Sonn, Rebecca          Meeting with B. Martin, S. Jasinski          $120.00       0.5       $60.00
                          (Deloitte) to discuss updating of
                          documentation within the Q2'19
                          Corporate Consolidated Analytic.
   Sonn, Rebecca          Update Q2'19 corporate consolidated          $120.00       2.0      $240.00
                          analytic.
   Sonn, Rebecca          Meeting with L. Schloetter, B. Rice, B.      $120.00       1.3      $156.00
                          Martin, B. Steele, M. Azebu (Deloitte)
                          regarding operating and maintenance
                          testing approach.
   Sonn, Rebecca          Calculate other recoverable expenses         $120.00       0.9      $108.00
                          and environmental hazardous
                          substance mechanism recoverability
                          from the balancing account revenue
                          reconciliation for the operating and
                          maintenance reconciliation testing.



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Date                         Description                                     Rate    Hours         Fees

2019 Audit Services
07/22/2019
   Steele, Bridget           Perform tie out of amounts included in       $120.00       1.7      $204.00
                             Q2'19 financial statements to client
                             supporting schedules.
   Steele, Bridget           Meeting with L. Schloetter, B. Rice, B.      $120.00       1.3      $156.00
                             Martin, M. Azebu, R. Sonn (Deloitte)
                             regarding operating and maintenance
                             testing approach.
   Steele, Bridget           Update internal audit report review          $120.00       0.5       $60.00
                             document.
   Steele, Bridget           Meeting with S. Jasinski, M. Azebu, B.       $120.00       0.5       $60.00
                             Rice, B. Martin, V. Hennessy, L.
                             Schloetter, K. Sewell, R. Sonn
                             (Deloitte) regarding weekly updates
                             and priorities.
   Steele, Bridget           Discussion with B. Rice, L. Schloetter,      $120.00       0.4       $48.00
                             V. Hennessy (Deloitte) regarding tie
                             out tool.
   Steele, Bridget           Perform tie out of amounts included in       $120.00       2.5      $300.00
                             Q2'19 financial statements to client
                             supporting schedules.
   Veluri, Pavani            Review reconciliation of journal entry       $290.00       3.0      $870.00
                             data for the period from 1/1 - 6/30/19 to
                             prepare for audit testing.
   Xue, Ella                 Document Meter Data Management               $120.00       4.0      $480.00
                             System testing workpaper.
   Xue, Ella                 Attend (partial) Oracle database             $120.00       2.0      $240.00
                             walkthrough and FY'19 Audit kick-off
                             with W. Kipkirui, A. Bhattacharya
                             (Deloitte), I. Mohammed, A. Dua, K.
                             Chanda, S. Edla (PG&E).
   Yuen, Jennifer            Prepare PG&E Q2'19 effective tax rate        $230.00       2.5      $575.00
                             calculation workpaper as part of interim
                             review procedures.
07/23/2019
   Azebu, Matt               Review quarterly journal entry testing       $230.00       1.4      $322.00
                             workpaper.
   Azebu, Matt               Review reconciliation of trial balance       $230.00       1.2      $276.00
                             ending balance to journal entry data
                             reconciliations for journal entry testing.


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Date                         Description                                    Rate    Hours          Fees

2019 Audit Services
07/23/2019
   Azebu, Matt               Update affiliate listing for                 $230.00      0.6      $138.00
                             independence monitoring as part of
                             quarterly review procedures.
   Basilico, Ellen           Attend July 2019 PG&E Audit                  $380.00      2.8     $1,064.00
                             Committee Meeting with T. Gillam, J.
                             Ncho-Oguie (Deloitte) regarding
                             results of Q2 review procedures and
                             summary of key quarterly transaction.
   Basilico, Ellen           Prepare for discussion with T. Gillam,       $380.00      0.5      $190.00
                             J. Ncho-Oguie (Deloitte) for July 2019
                             PGE Audit Committee Meeting
                             regarding results of Q2 review
                             procedures and summary of key
                             quarterly transaction.
   Basilico, Ellen           Attend July 2019 Audit Committee             $380.00      0.4      $152.00
                             debrief discussion with J. Ncho-Oguie,
                             T. Gillam (Deloitte) to discuss results of
                             audit committee communications.
   Bedi, Arpit               Tied out amounts included in the             $200.00      8.0     $1,600.00
                             financial statements for Q2'19 to client
                             supporting schedules and interim
                             review testing workpapers
   Bedi, Arpit               Continue to tie out amounts included in      $200.00      8.0     $1,600.00
                             the financial statements for Q2'19 to
                             client supporting schedules and interim
                             review testing workpapers
   Bedi, Arpit               Updated risk assessment                      $200.00      8.0     $1,600.00
                             considerations in balance sheet
                             scoping workpaper
   Bush, Amber               Review workpaper documenting audit           $330.00      3.0      $990.00
                             team's determination of materiality for
                             FY'19 audit.
   Choudhury, Viki           Complete Oracle database testing             $200.00      2.0      $400.00
                             workpaper for S. Misra (Deloitte)
                             review.
   Choudhury, Viki           Discussion with V. Choudhury, K.             $200.00      1.5      $300.00
                             Kavya, M. Fazil (Deloitte), K. Tschoe,
                             N. Sachin (PG&E) with respect to SAP
                             internal controls testing related to SAP
                             validations.


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       PG&E Corporation and Pacific Gas and Electric Company
                              Deloitte & Touche LLP
                 Fees Sorted by Category for the Fee Period
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2019 Audit Services
07/23/2019
   Fazil, Mohamed         Discussion with V. Choudhury, K.            $200.00       2.0      $400.00
                          Kavya, M. Fazil (Deloitte), K. Tschoe,
                          N. Sachin (PG&E) with respect to SAP
                          internal controls testing related to SAP
                          validations.
   Gillam, Tim            Attend Audit Committee debrief              $380.00       0.4      $152.00
                          discussion with J. Ncho-Oguie, E.
                          Basilico (Deloitte) to discuss results of
                          audit committee communications.
   Gillam, Tim            Attend PG&E Audit Committee                 $380.00       2.8     $1,064.00
                          Meeting with J. Ncho-Oguie, E.
                          Basilico (Deloitte) regarding results of
                          Q2 review procedures and summary of
                          key quarterly transaction.
   Gillam, Tim            Review the Form 10Q for PG&E.               $380.00       1.5      $570.00
   Gillam, Tim            Prepare for discussion with E. Basilico,    $380.00       0.5      $190.00
                          J. Ncho-Oguie (Deloitte) for July 2019
                          PGE Audit Committee Meeting
                          regarding results of Q2 review
                          procedures and summary of key
                          quarterly transaction.
   Hennessy, Vincent      Perform tie out of amounts included in      $200.00       3.3      $660.00
                          Q2'19 financial statements to
                          supporting client supporting schedules.
   Hennessy, Vincent      Perform tie out of amounts included in      $200.00       2.2      $440.00
                          Q2'19 financial statements to
                          supporting client supporting schedules.
   Hennessy, Vincent      Discussion with L. Schloetter (Deloitte)    $200.00       0.7      $140.00
                          regarding customer billings system.
   Hennessy, Vincent      Discussion with B. Steele (Deloitte)        $200.00       0.5      $100.00
                          regarding approach for tying out of
                          amounts included in footnote
                          disclosures to client supporting
                          schedules.
   Hennessy, Vincent      Discussion with P. Manning (PG&E) to        $200.00       0.4       $80.00
                          obtain client schedules supporting
                          amounts included in Notes to the
                          financial statements for tie-out




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       PG&E Corporation and Pacific Gas and Electric Company
                               Deloitte & Touche LLP
                   Fees Sorted by Category for the Fee Period
                                    July 01, 2019 - July 31, 2019
Date                       Description                                   Rate    Hours          Fees

2019 Audit Services
07/23/2019
   Hennessy, Vincent       Discussion with K. Mallonee (PG&E) to      $200.00       0.3       $60.00
                           obtain client schedules supporting
                           amounts included in Notes to the
                           financial statements for tie-out
   Jasinski, Samantha      Addressing questions from T. Gillam        $290.00       3.9     $1,131.00
                           (Deloitte) regarding fluctuations in
                           certain balances within the draft 10Q.
   K, Kavya                Test the ACTT (Automated Controls          $120.00       3.0      $360.00
                           Testing Tool) report for the SAP
                           system BW (Business Warehouse).
   K, Kavya                Discussion with V. Choudhury, K.           $120.00       2.0      $240.00
                           Kavya, M. Fazil (Deloitte), K. Tschoe,
                           N. Sachin (PG&E) with respect to SAP
                           internal controls testing related to SAP
                           validations.
   Kamra, Akanksha         Review Board Minutes summary               $230.00       2.5      $575.00
                           documenting the discussions held by
                           PG&E's Board of Directors and Board
                           Committees during Q2'19.
   Kipkirui, Winnie        Prepare ACTT (Automated Control            $230.00       2.0      $460.00
                           Testing Tool) scripts for testing Market
                           Data System application server 2.
   Kipkirui, Winnie        Prepare ACTT scripts for Powerplan         $230.00       2.0      $460.00
                           Unix Server.
   Kipkirui, Winnie        Prepare ACTT (Automated Control            $230.00       2.0      $460.00
                           Testing Tool) script for testing
                           Customer Care & Billing application
                           Unix Server 2.
   Kipkirui, Winnie        Prepare ACTT (Automated Control            $230.00       2.0      $460.00
                           Testing Tool) scripts for testing Market
                           Data System application Server 1.
   Kipkirui, Winnie        Review Advanced Billing System             $230.00       1.0      $230.00
                           application privileged access testing
                           workpaper.
   Martin, Blake           Update documentation within the            $200.00       3.4      $680.00
                           worker's compensation and long term
                           disability risk assessment memos.




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                                  Deloitte & Touche LLP
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2019 Audit Services
07/23/2019
   Martin, Blake              Continued to update documentation           $200.00       2.7      $540.00
                              within the worker's compensation and
                              long term disability risk assessment
                              memos.
   Martin, Blake              Document the Q2'19 Corporate                $200.00       1.6      $320.00
                              Consolidated Analytic.
   Mehra, Shreya              Reconciled amounts included in the          $180.00       3.0      $540.00
                              financial statements prepared on Form
                              10-Q to supporting documents
                              provided by K. Mallonee (PG&E).
   Mehra, Shreya              Continued to reconcile amounts              $180.00       3.0      $540.00
                              included in the financial statements
                              prepared on Form 10-Q to supporting
                              documents provided by K. Mallonee
                              (PG&E).
   Mehra, Shreya              Further reconciled amounts included in      $180.00       3.0      $540.00
                              the financial statements prepared on
                              Form 10-Q to supporting documents
                              provided by K. Mallonee (PG&E).
   Meredith, Wendy            Review draft proposed decision related      $380.00       1.1      $418.00
                              to 2019 gas transmission & storage
                              rate case.
   Meredith, Wendy            Review status of quarter review             $380.00       0.8      $304.00
                              engagement.
   Meredith, Wendy            Continue to review draft proposed           $380.00       0.5      $190.00
                              decision related to 2019 gas
                              transmission & storage rate case.
   Nambiar, Sachin            Perform testing of design of SAP            $120.00       1.0      $120.00
                              validation internal controls
   Ncho-Oguie, Jean-Denis     Attend PG&E Audit Committee                 $330.00       2.8      $924.00
                              Meeting with T. Gillam, E. Basilico
                              (Deloitte) regarding results of Q2
                              review procedures and summary of
                              key quarterly transaction.
   Ncho-Oguie, Jean-Denis     Review cash flow analytical                 $330.00       1.6      $528.00
                              procedures summarizing drivers of
                              period over period fluctuations in
                              statement of cash flows.
   Ncho-Oguie, Jean-Denis     Review interim summary memo close           $330.00       1.3      $429.00
                              out notes.

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2019 Audit Services
07/23/2019
   Ncho-Oguie, Jean-Denis     Prepare for discussion with E. Basilico,    $330.00       0.5      $165.00
                              J. Ncho-Oguie (Deloitte) for July 2019
                              PGE Audit Committee Meeting
                              regarding results of Q2 review
                              procedures and summary of key
                              quarterly transaction.
   Ncho-Oguie, Jean-Denis     Attend Audit Committee debrief              $330.00       0.4      $132.00
                              discussion with E. Basilico, T. Gillam
                              (Deloitte) to discuss results of audit
                              committee communications.
   Rice, Blake                Address comments in quarterly               $230.00       3.5      $805.00
                              balance sheet analytic workpaper
                              explaining period over period
                              fluctuations in account balances.
   Rice, Blake                Address balance sheet variance              $230.00       3.5      $805.00
                              analysis comments.
   Rice, Blake                Review memo documenting required            $230.00       1.0      $230.00
                              quarterly communications to the audit
                              committee.
   Schloetter, Lexie          Update the quarter two tie out of the       $180.00       2.2      $396.00
                              financial statements.
   Schloetter, Lexie          Analyze regulatory asset / liability        $180.00       1.6      $288.00
                              balances included in the notes to the
                              Q2 financial statements prepared on
                              Form 10-Q.
   Schloetter, Lexie          Reconcile recoverable expenses in           $180.00       1.3      $234.00
                              operating and maintenance workpaper.
   Schloetter, Lexie          Call with M. Barbara, A. Lee (PG&E)         $180.00       0.8      $144.00
                              over customer payment processing.
   Schloetter, Lexie          Discussion with V. Hennessy (Deloitte)      $180.00       0.7      $126.00
                              regarding customer billings system.
   Schloetter, Lexie          Discussion with R. Sonn (Deloitte)          $180.00       0.6      $108.00
                              regarding the operating and
                              maintenance reconciliation.
   Schloetter, Lexie          Prepare for meeting over billings           $180.00       0.6      $108.00
                              control process related to customer
                              payment processing.
   Sewell, Kyle               Update bilateral grid control workpaper     $180.00       3.0      $540.00
                              to address review notes related to
                              current year testing approach.

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Date                         Description                                    Rate    Hours         Fees

2019 Audit Services
07/23/2019
   Sewell, Kyle              Update bilateral grid control workpaper     $180.00       1.0      $180.00
                             to address review notes related to
                             current year testing approach.
   Sewell, Kyle              Perform interim testing as of June 30       $180.00       3.9      $702.00
                             of cost of electricity.
   Sonn, Rebecca             Calculate other recoverable expenses        $120.00       3.2      $384.00
                             and environmental hazardous
                             substance mechanism recoverability
                             from the balancing account revenue
                             reconciliation for the operating and
                             maintenance reconciliation testing.
   Sonn, Rebecca             Tie-out ending account balances of          $120.00       1.7      $204.00
                             noncurrent regulatory assets.
   Sonn, Rebecca             Tie-out ending account balances of          $120.00       1.2      $144.00
                             noncurrent regulatory liabilities.
   Sonn, Rebecca             Discussion with R. Sonn (Deloitte)          $120.00       0.6       $72.00
                             regarding the operating and
                             maintenance reconciliation.
   Steele, Bridget           Continued to update Quarter 2               $120.00       4.2      $504.00
                             financial statement tie out document.
   Steele, Bridget           Update Quarter 2 financial statement        $120.00       2.5      $300.00
                             tie out document.
   Steele, Bridget           Discussion with V. Hennessy (Deloitte)      $120.00       0.5       $60.00
                             regarding footnote support.
   Xue, Ella                 Oracle database testing workpaper           $120.00       4.0      $480.00
                             documentation.
   Xue, Ella                 Sent follow up emails to H. Chen            $120.00       1.0      $120.00
                             (PG&E) regarding documents to be
                             provided by the client for 2019 IT audit
                             testing related to Market Data System
                             application.
07/24/2019
   Azebu, Matt               Review quarterly journal entry testing      $230.00       2.9      $667.00
                             workpaper.
   Azebu, Matt               Meeting with B. Rice, S. Jasinski, E.       $230.00       0.8      $184.00
                             Murdock (Deloitte), S. Hunter, D.
                             Kenna, K. Mallonee (PGE) regarding
                             status of the quarterly review
                             procedures.


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                 Fees Sorted by Category for the Fee Period
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2019 Audit Services
07/24/2019
   Azebu, Matt             Discussion with V. Hennessy (Deloitte)      $230.00       0.7      $161.00
                           regarding Q2 journal entry testing.
   Azebu, Matt             Discussion with T. Gillam, W. Meredith,     $230.00       0.5      $115.00
                           E. Murdock, S. Jasinski, J. Ncho-
                           Oguie, D. Choudhary, S. Sreeram, A.
                           Kamra (Deloitte) regarding audit status
                           and areas of focus going forward.
   Bedi, Arpit             Perform tie out of Q2'19 financial          $200.00       2.0      $400.00
                           statements to supporting workpapers.
   Bhimani, Harika         Perform reconciliation of journal entry     $230.00       1.0      $230.00
                           data for the period from 1/1 - 6/30/19 to
                           prepare for audit testing.
   Choudhary, Devesh       Discussion with T. Gillam, W. Meredith,     $380.00       1.0      $380.00
                           E. Murdock, S. Jasinski, J. Ncho-
                           Oguie, S. Sreeram, M. Azebu, A.
                           Kamra (Deloitte) regarding audit status
                           and areas of focus going forward.
   Choudhury, Viki         Meeting with B. Chan, J. Dioletto           $200.00       1.5      $300.00
                           (PG&E), L. Schloetter, B. Rice, W.
                           Kipkirui, S. Nambiar, M. Fazil, K.
                           Kavya (Deloitte) regarding automated
                           control processes.
   Choudhury, Viki         Call with P. Giamanco, W. Kipkirui, K.      $200.00       0.5      $100.00
                           Kavya, M. Fazil, S. Nambiar (Deloitte)
                           to discuss engagement status update.
   Choudhury, Viki         Follow up call with D. Wang (PG&E) to       $200.00       0.5      $100.00
                           obtain screenshots needed for
                           automated system control testing.
   Fazil, Mohamed          Meeting with B. Chan, J. Dioletto           $200.00       1.5      $300.00
                           (PG&E), L. Schloetter, B. Rice, W.
                           Kipkirui, S. Nambiar, K. Kavya, V.
                           Choudhury (Deloitte) regarding
                           automated control processes.
   Fazil, Mohamed          Call with P. Giamanco, W. Kipkirui, V.      $200.00       0.5      $100.00
                           Choudhury, K. Kavya, S. Nambiar
                           (Deloitte) to discuss engagement
                           status update.
   Giamanco, Patrick       Call with W. Kipkirui, V. Choudhury, K.     $330.00       0.5      $165.00
                           Kavya, M. Fazil, S. Nambiar (Deloitte)
                           to discuss engagement status update.


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2019 Audit Services
07/24/2019
   Hennessy, Vincent      Perform tie out of amounts included in      $200.00       2.7      $540.00
                          Q2'19 financial statements to
                          supporting client supporting schedules
   Hennessy, Vincent      Create list of open items from Q2 tie       $200.00       1.6      $320.00
                          out for client.
   Hennessy, Vincent      Discussion with B. Steele (Deloitte)        $200.00       1.2      $240.00
                          regarding Q2 tie out of financial
                          statements to supporting audit testing
                          workpapers.
   Hennessy, Vincent      Discussion with M. Azebu (Deloitte)         $200.00       0.7      $140.00
                          regarding Q2 journal entry testing.
   Hennessy, Vincent      Clear Q2 journal entry notes.               $200.00       0.7      $140.00
   Jasinski, Samantha     Discussion with W. Meredity (Deloitte)      $290.00       1.0      $290.00
                          regarding audit status and areas of
                          focus going forward.
   Jasinski, Samantha     Meeting with B. Rice, M. Azebu, E.          $290.00       0.8      $232.00
                          Murdock (Deloitte), S. Hunter, D.
                          Kenna, K. Mallonee (PGE) regarding
                          status of the quarterly review
                          procedures.
   K, Kavya               Create agenda for internal control          $120.00       2.0      $240.00
                          inquiries with SAP Operations and BW
                          team.
   K, Kavya               Create agenda for internal control          $120.00       2.0      $240.00
                          inquiries with SAP Change
                          management team.
   K, Kavya               Meeting with B. Chan, J. Dioletto           $120.00       1.5      $180.00
                          (PG&E), L. Schloetter, B. Rice, W.
                          Kipkirui, S. Nambiar, M. Fazil, V.
                          Choudhury (Deloitte) regarding
                          automated control processes.
   K, Kavya               Call with P. Giamanco, W. Kipkirui, V.      $120.00       0.5       $60.00
                          Choudhury, M. Fazil, S. Nambiar
                          (Deloitte) to discuss engagement
                          status update.
   Kamra, Akanksha        Discussion with T. Gillam, W. Meredith,     $230.00       1.0      $230.00
                          E. Murdock, S. Jasinski, J. Ncho-
                          Oguie, D. Choudhary, S. Sreeram, M.
                          Azebu (Deloitte) regarding audit status
                          and areas of focus going forward.

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       PG&E Corporation and Pacific Gas and Electric Company
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                   Fees Sorted by Category for the Fee Period
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Date                       Description                                    Rate    Hours         Fees

2019 Audit Services
07/24/2019
   Kipkirui, Winnie        Document control design testing             $230.00       2.0      $460.00
                           procedures for Customer Care & Billing
                           system unix server.
   Kipkirui, Winnie        Document control design testing             $230.00       2.0      $460.00
                           procedures for Powerplan Unix server
                           application.
   Kipkirui, Winnie        Review privileged access workpaper -        $230.00       1.6      $368.00
                           Powerplan.
   Kipkirui, Winnie        Meeting with B. Chan, J. Dioletto           $230.00       1.5      $345.00
                           (PG&E), L. Schloetter, B. Rice, S.
                           Nambiar, M. Fazil, K. Kavya, V.
                           Choudhury (Deloitte) regarding
                           automated control processes.
   Kipkirui, Winnie        Review privileged access testing            $230.00       1.4      $322.00
                           workpaper for Customer Care & Billing
                           system.
   Kipkirui, Winnie        Call with P. Giamanco, V. Choudhury,        $230.00       0.5      $115.00
                           K. Kavya, M. Fazil, S. Nambiar
                           (Deloitte) to discuss engagement
                           status update.
   Martin, Blake           Document Worker' Compensation /             $200.00       4.2      $840.00
                           Long Term Disabilities Benefits Risk
                           Assessment.
   Martin, Blake           Tie out of Q2'19 10Q financials to          $200.00       2.0      $400.00
                           Deloitte audit file and support.
   Martin, Blake           Document the Q2'19 Corp.                    $200.00       0.5      $100.00
                           Consolidated Analytic.
   Martin, Blake           Meeting with P. Manning (PG&E)              $200.00       0.2       $40.00
                           regarding a questions to the Q2'19
                           Corp. Consolidated Analytic.
   Meredith, Wendy         Discussion with S. Jasinski (Deloitte)      $380.00       1.0      $380.00
                           regarding audit status and areas of
                           focus going forward.
   Meredith, Wendy         Review draft proposed decision related      $380.00       0.4      $152.00
                           to 2019 gas transmission & storage
                           rate case.
   Meredith, Wendy         Review internal audit reports prepared      $380.00       0.3      $114.00
                           by PG&E.



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Date                      Description                                    Rate    Hours         Fees

2019 Audit Services
07/24/2019
   Murdock, Elizabeth     Meeting (partial) with B. Rice, M.          $330.00       0.6      $198.00
                          Azebu, S. Jasinski (Deloitte), S.
                          Hunter, D. Kenna, K. Mallonee (PGE)
                          regarding status of the quarterly review
                          procedures.
   Nambiar, Sachin        Meeting with B. Chan, J. Dioletto           $120.00       1.5      $180.00
                          (PG&E), L. Schloetter, B. Rice, W.
                          Kipkirui, M. Fazil, K. Kavya, V.
                          Choudhury (Deloitte) regarding
                          automated control processes.
   Nambiar, Sachin        Call with P. Giamanco, W. Kipkirui, V.      $120.00       0.5       $60.00
                          Choudhury, K. Kavya, M. Fazil
                          (Deloitte) to discuss engagement
                          status update.
   Pemberton, Tricia      Review workpapers related to the Q2         $380.00       0.8      $304.00
                          2019 quarterly review.
   Rice, Blake            Update interim review report and letter     $230.00       2.7      $621.00
                          to audit committee to be provided to
                          address engagement quality control
                          review comments prior to submission
                          to audit committee.
   Rice, Blake            Meeting with B. Chan, J. Dioletto           $230.00       1.5      $345.00
                          (PG&E), L. Schloetter, W. Kipkirui, S.
                          Nambiar, M. Fazil, K. Kavya, V.
                          Choudhury (Deloitte) regarding
                          automated control processes.
   Rice, Blake            Update open item / request listing to be    $230.00       1.0      $230.00
                          provided to PG&E management for
                          current status and to highlight overdue
                          items.
   Rice, Blake            Meeting with M. Azebu, S. Jasinski, E.      $230.00       0.8      $184.00
                          Murdock (Deloitte), S. Hunter, D.
                          Kenna, K. Mallonee (PGE) regarding
                          status of the quarterly review
                          procedures.
   Salisam, Soujanya      Perform reconciliation of journal entry     $200.00       2.0      $400.00
                          data for the period from 1/1 - 6/30/19 to
                          prepare for audit testing.
   Schloetter, Lexie      Perform tie out of amounts included in      $180.00       2.3      $414.00
                          Q2'19 financial statements to client
                          supporting schedules.

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       PG&E Corporation and Pacific Gas and Electric Company
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                  Fees Sorted by Category for the Fee Period
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2019 Audit Services
07/24/2019
   Schloetter, Lexie      Perform tie out of amounts included in      $180.00       2.2      $396.00
                          Q2'19 financial statements to
                          supporting client supporting schedules.
   Schloetter, Lexie      Meeting with B. Chan, J. Dioletto           $180.00       1.5      $270.00
                          (PG&E), B. Rice, W. Kipkirui, S.
                          Nambiar, M. Fazil, K. Kavya, V.
                          Choudhury (Deloitte) regarding
                          automated control processes.
   Schloetter, Lexie      Expand the Audit Committee                  $180.00       0.6      $108.00
                          Communications memo summarizing
                          audit team's required communications
                          to the audit committee during Q2'19 as
                          part of interim review procedures.
   Schloetter, Lexie      Update documentation of testing of          $180.00       0.6      $108.00
                          automated controls
   Schloetter, Lexie      Discussion with R. Sonn (Deloitte)          $180.00       0.4       $72.00
                          regarding Compliance and Ethics
                          helpline selection documentation.
   Sewell, Kyle           Perform interim testing as of June 30       $180.00       3.8      $684.00
                          of cost of electricity.
   Sewell, Kyle           Update procurement grid control             $180.00       3.8      $684.00
                          workpaper to address manager review
                          notes on current year testing approach.
   Sonn, Rebecca          Calculate non-recoverable expenses          $120.00       0.2       $24.00
                          based on populations found within
                          electric and gas balancing account
                          revenue reconciliations specific to gas
                          and electric accounts.
   Sonn, Rebecca          Tie-out balancing accounts receivable       $120.00       2.2      $264.00
                          ending balances per the financial
                          statements to client supporting
                          schedules and/or general ledger
   Sonn, Rebecca          Calculate Non-Recoverable Expenses          $120.00       1.5      $180.00
                          for operating and maintenance
                          analytic.
   Sonn, Rebecca          Analyze compliance and ethics hotline       $120.00       1.4      $168.00
                          selections to check whether allegations
                          reported on the Compliance & Ethics
                          (C&E) Helpline are recorded and
                          addressed.


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       PG&E Corporation and Pacific Gas and Electric Company
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                     Fees Sorted by Category for the Fee Period
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2019 Audit Services
07/24/2019
   Sonn, Rebecca             Document compliance and ethics              $120.00      1.3      $156.00
                             hotline selections to check whether
                             allegations reported on the Compliance
                             & Ethics (C&E) Helpline are recorded
                             and addressed.
   Sonn, Rebecca             Tie-out Q2'19 financial statement           $120.00      0.5       $60.00
                             balances to client supporting
                             schedules.
   Sonn, Rebecca             Discussion with L. Schloetter (Deloitte)    $120.00      0.4       $48.00
                             regarding Compliance and Ethics
                             helpline selection documentation.
   Sreeram, Sree             Discussion with T. Gillam, W. Meredith,     $290.00      1.0      $290.00
                             E. Murdock, S. Jasinski, J. Ncho-
                             Oguie, D. Choudhary, M. Azebu, A.
                             Kamra (Deloitte) regarding audit status
                             and areas of focus going forward.
   Steele, Bridget           Perform tie out of amounts included in      $120.00      3.2      $384.00
                             Q2'19 financial statements to client
                             supporting schedules.
   Steele, Bridget           Perform tie out of amounts included in      $120.00      2.5      $300.00
                             Q2'19 financial statements to client
                             supporting schedules.
   Steele, Bridget           Discussion with V. Hennessy (Deloitte)      $120.00      1.2      $144.00
                             regarding Q2 tie out of financial
                             statements to supporting audit testing
                             workpapers.
   Steele, Bridget           Update Internal Audit Report Review         $120.00      1.0      $120.00
                             document.
   Xue, Ella                 Document Oracle database testing            $120.00      3.5      $420.00
                             workpaper.
   Xue, Ella                 Sent follow up emails to K. Worley          $120.00      1.0      $120.00
                             (PG&E) regarding documents to be
                             provided by the client for 2019 IT audit
                             testing related to SAP Business
                             Warehouse application.
07/25/2019
   Azebu, Matt               Review tie out of the quarterly financial   $230.00      3.9      $897.00
                             statements.




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2019 Audit Services
07/25/2019
   Azebu, Matt            Discussion with L. Schloetter, V.           $230.00      2.6      $598.00
                          Hennessy, B. Martin (Deloitte)
                          regarding the quarter 2 financial
                          statement tie out and open items.
   Choudhury, Viki        Discussion with M. Fazil (Deloitte)         $200.00      2.0      $400.00
                          related to SAP Governance Risk and
                          Compliance system’s ruleset testing
                          approach and the nature of the
                          supporting evidence that will be
                          needed from PG&E for this approach.
   Choudhury, Viki        Prepare agenda for the meeting with         $200.00      1.0      $200.00
                          D. Kung (PG&E) to discuss change
                          management controls.
   Fazil, Mohamed         Discuss governance risk management          $200.00      2.0      $400.00
                          and compliance system ruleset
                          benchmarking with V. Choudhury
                          (Deloitte).
   Hennessy, Vincent      Discussion with L. Schloetter, M.           $200.00      2.6      $520.00
                          Azebu, B. Martin (Deloitte) regarding
                          the quarter 2 financial statement tie out
                          and open items.
   Hennessy, Vincent      Update Q2 tie out tool.                     $200.00      2.3      $460.00
   Hennessy, Vincent      Discussion with L. Schloetter (Deloitte)    $200.00      1.3      $260.00
                          regarding Q2 tie out of financial
                          statements to supporting client
                          schedules.
   Hennessy, Vincent      Update Q2 journal entry notes based         $200.00      0.6      $120.00
                          on notes.
   Jasinski, Samantha     Clear comments from procurement             $290.00      2.7      $783.00
                          (cost of sales) workpaper.
   Jasinski, Samantha     Review summary of board of director         $290.00      0.8      $232.00
                          meeting minutes workpapers.
   Jasinski, Samantha     Discuss with J. Ncho-Oguie, E.              $290.00      0.4      $116.00
                          Murdock (Deloitte) regarding
                          accounting for renewable energy credit
                          sales.
   K, Kavya               Create roles and users sheet to obtain      $120.00      2.0      $240.00
                          the corresponding role owners and
                          user managers from client with respect
                          to SAP-GRC system.

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2019 Audit Services
07/25/2019
   K, Kavya                Document testing of design and                 $120.00       1.5      $180.00
                           operating effectiveness of IT controls
                           related to access security for SAP-
                           GRC system.
   Kipkirui, Winnie        Review change management controls              $230.00       3.0      $690.00
                           for Powerplant accounting system.
   Kipkirui, Winnie        Document ACTT (Automated Control               $230.00       1.4      $322.00
                           Testing Tool) scripts for testing SAP
                           ERP Central Component (ECC) unix
                           server 1.
   Kipkirui, Winnie        Perform Ariba privileged access                $230.00       1.0      $230.00
                           review.
   Kipkirui, Winnie        Review documentation of Ariba                  $230.00       2.0      $460.00
                           Change Management control.
   Kipkirui, Winnie        Document ACTT (Automated Control               $230.00       1.6      $368.00
                           Testing Tool) scripts for testing SAP
                           ERP Central Component (ECC) unix
                           server 2.
   M, Nikitha              Perform reconciliation of journal entry        $230.00       2.0      $460.00
                           data for the period from 1/1 - 6/30/19 to
                           prepare for audit testing.
   M, Nikitha              Continued to perform reconciliation of         $230.00       2.0      $460.00
                           journal entry data for the period from
                           1/1 - 6/30/19 to prepare for audit
                           testing.
   Martin, Blake           Tie out Q2'19 10Q financials to Deloitte       $200.00       3.5      $700.00
                           Audit file and support.
   Martin, Blake           Continued to tie out Q2'19 10Q                 $200.00       3.0      $600.00
                           financials to Deloitte Audit file and
                           support.
   Martin, Blake           Discussion with L. Schloetter, V.              $200.00       2.6      $520.00
                           Hennessy, M. Azebu (Deloitte)
                           regarding the quarter 2 financial
                           statement tie out and open items.
   Meredith, Wendy         Review internal audit reports prepared         $380.00       0.2       $76.00
                           by PG&E.
   Murdock, Elizabeth      Discuss with J. Ncho-Oguie, S.                 $330.00       0.4      $132.00
                           Jasinski (Deloitte) regarding
                           accounting for renewable energy credit
                           sales.

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       PG&E Corporation and Pacific Gas and Electric Company
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2019 Audit Services
07/25/2019
   Ncho-Oguie, Jean-Denis     Discuss with E. Murdock, S. Jasinski        $330.00       0.4      $132.00
                              (Deloitte) regarding accounting for
                              renewable energy credit sales.
   Nkinzingabo, Rudy          Addressing partner level review             $290.00       0.5      $145.00
                              comments in tax specialist planning
                              and scoping memo.
   Rice, Blake                Address income statement variance           $230.00       3.0      $690.00
                              analysis comments.
   Rice, Blake                Address income statement comments.          $230.00       3.0      $690.00
   Rice, Blake                Review staffing and audit plan for          $230.00       1.0      $230.00
                              August.
   Salisam, Soujanya          Perform reconciliation of journal entry     $200.00       1.0      $200.00
                              data for the period from 1/1 - 6/30/19 to
                              prepare for audit testing.
   Schloetter, Lexie          Discussion with V. Hennessy, M.             $180.00       2.6      $468.00
                              Azebu, B. Martin (Deloitte) regarding
                              the quarter 2 financial statement tie out
                              and open items.
   Schloetter, Lexie          Update operating and maintenance            $180.00       1.4      $252.00
                              reconciliation.
   Schloetter, Lexie          Discussion with R. Sonn (Deloitte)          $180.00       1.3      $234.00
                              regarding Q2 tie out.
   Schloetter, Lexie          Discussion with V. Hennessy (Deloitte)      $180.00       1.3      $234.00
                              regarding Q2 tie out of amounts
                              included in Q2'19 financial statements
                              to client supporting schedules.
   Schloetter, Lexie          Discussion with R. Sonn (Deloitte)          $180.00       0.9      $162.00
                              regarding operating and maintenance
                              expense testing.
   Sonn, Rebecca              Update tickmarks in operating and           $120.00       1.4      $168.00
                              maintenance expense testing.
   Sonn, Rebecca              Discussion with L. Schloetter (Deloitte)    $120.00       1.3      $156.00
                              regarding Q2 tie out.
   Sonn, Rebecca              Document selections made for testing        $120.00       1.2      $144.00
                              of Compliance and Ethics helpline
                              entity level control.




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Date                         Description                                     Rate    Hours         Fees

2019 Audit Services
07/25/2019
   Sonn, Rebecca             Research status of Orders Instituting        $120.00       1.1      $132.00
                             Investigation during review of footnote
                             11 to the Form 10-Q summarizing
                             regulatory and legal matters impacting
                             the company as of June 30.
   Sonn, Rebecca             Discussion with L. Schloetter (Deloitte)     $120.00       0.9      $108.00
                             regarding operating and maintenance
                             expense testing.
   Sreeram, Sree             Draft a memo related to environmental        $290.00       1.0      $290.00
                             accruals and its risk assessment for
                             FY19.
   Steele, Bridget           Perform tie out of amounts included in       $120.00       3.4      $408.00
                             Q2'19 financial statements to client
                             supporting schedules.
   Steele, Bridget           Perform tie out of amounts included in       $120.00       2.5      $300.00
                             Q2'19 financial statements to client
                             supporting schedules.
   Steele, Bridget           Review Q2'19 internal audit reports          $120.00       0.9      $108.00
                             and summarize our considerations of
                             audit / risk assessment impacts as part
                             of interim review procedures.
   Xue, Ella                 Update Meter Data Management                 $120.00       3.0      $360.00
                             System testing workpaper to reflect the
                             supporting screenshots provided by
                             client.
   Xue, Ella                 Update the listing of the documents to       $120.00       1.0      $120.00
                             be provided by the client for 2019 IT
                             audit testing for pending requests
                             related to Meter Data Management
                             System application that have yet to be
                             provided.
   Yuen, Jennifer            Update year-end tax planning memo            $230.00       3.6      $828.00
                             summarizing planned procedures /
                             scope of work to respond to partner-
                             level review comments.
07/26/2019
   Azebu, Matt               Review the tie out of the quarterly          $230.00       2.4      $552.00
                             financial statements.




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2019 Audit Services
07/26/2019
   Azebu, Matt            Discussion with V. Hennessy (Deloitte)     $230.00       0.9      $207.00
                          regarding quarterly (Q2) tie out
                          procedures .
   Choudhury, Viki        Meeting with (D. Kung, PG&E), Kavya        $200.00       2.0      $400.00
                          K, Fazil M and Sachin Nambiar
                          (Deloitte) to discuss change
                          management controls
   Fazil, Mohamed         Document design and operating              $200.00       3.0      $600.00
                          effectiveness of Oracle User Access
                          Review control workpaper.
   Hennessy, Vincent      Prepared listing of amounts disclosed      $200.00       2.1      $420.00
                          in the Q2 financial statements that are
                          pending client support and sent to K.
                          Mallonee (PG&E).
   Hennessy, Vincent      Perform tie out of amounts included in     $200.00       1.6      $320.00
                          Q2'19 financial statements to
                          supporting client supporting schedules.
   Hennessy, Vincent      Discussion with L. Schloetter (Deloitte)   $200.00       1.4      $280.00
                          regarding Q2 tie out.
   Hennessy, Vincent      Discussion with M. Azebu (Deloitte)        $200.00       0.9      $180.00
                          regarding quarterly (Q2) tie out
                          procedures .
   Hennessy, Vincent      Discussion with K. Mallonee (PG&E)         $200.00       0.6      $120.00
                          regarding tie out of financial
                          statements to supporting client
                          schedules.
   Hennessy, Vincent      Discussion with P. Manning (PG&E)          $200.00       0.2       $40.00
                          regarding Q2 financial statement
                          disclosures that are pending client
                          support.
   K, Kavya               Meeting with K. Worley (PG&E) to           $120.00       2.0      $240.00
                          discuss the approach for SAP
                          Business Warehouse change
                          management testing.
   K, Kavya               Follow up discussion with K. Worley        $120.00       1.0      $120.00
                          (PG&E) related to appraoch for SAP
                          Business Warehouse change
                          management testing.




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2019 Audit Services
07/26/2019
   K, Kavya                Final updates on walkthrough agenda         $120.00       1.0      $120.00
                           for change management and
                           operations team.
   Kipkirui, Winnie        Update documentation of powerplant          $230.00       1.0      $230.00
                           change implementer control.
   Kipkirui, Winnie        Update the documentation of risks of        $230.00       1.0      $230.00
                           material misstatement related to
                           information technology for 2019.
   Kipkirui, Winnie        Review documentation of powerplant          $230.00       1.0      $230.00
                           change implementation control.
   Kipkirui, Winnie        Review documentation of PowerPlan           $230.00       3.0      $690.00
                           system SOD (Segregation of Duties)
                           control.
   Kipkirui, Winnie        Document Ariba change implementer           $230.00       3.0      $690.00
                           control.
   Martin, Blake           Tie out of Q2'19 10Q financials to          $200.00       4.0      $800.00
                           Deloitte Audit File and support.
   Murdock, Elizabeth      Discussion with S. Hunter (PG&E)            $330.00       0.5      $165.00
                           regarding accounting for renewable
                           energy credit sales.
   Nambiar, Sachin         Discussion with K. Worley (PG&E)            $120.00       1.0      $120.00
                           related to SAP Business Warehouse
                           change management controls.
   Rice, Blake             Address income statement scoping            $230.00       2.0      $460.00
                           comments.
   Rice, Blake             Reviewed reconciliation of amounts          $230.00       2.0      $460.00
                           included in Q2 financial statements
                           and notes to the financial statements to
                           quarterly review procedures and/or
                           client schedules.
   Rice, Blake             Meeting with E. Li (PG&E) regarding         $230.00       1.5      $345.00
                           income statement variances.
   Schloetter, Lexie       Reconciled amounts included in Q2           $180.00       2.8      $504.00
                           financial statements and notes to the
                           financial statements to quarterly review
                           procedures and/or client schedules.
   Schloetter, Lexie       Update operating and maintenance            $180.00       1.6      $288.00
                           expense workbook.



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2019 Audit Services
07/26/2019
   Schloetter, Lexie         Discussion with V. Hennessy (Deloitte)        $180.00       1.4      $252.00
                             regarding Q2 tie out.
   Schloetter, Lexie         Discussion between J. Pitman                  $180.00       0.4       $72.00
                             regarding billings control planning.
   Schloetter, Lexie         Discussion with R. Sonn (Deloitte)            $180.00       0.4       $72.00
                             regarding control owner workpaper for
                             billings controls.
   Schloetter, Lexie         Discussion with B. Steele (Deloitte)          $180.00       0.3       $54.00
                             regarding control owner competence
                             and authority for accounts payable
                             controls.
   Sonn, Rebecca             Update control owner descriptions for         $120.00       2.1      $252.00
                             competence and authority related to
                             regulatory and journal entries controls.
   Sonn, Rebecca             Update control owner descriptions for         $120.00       1.8      $216.00
                             competence and authority related to
                             meter to cash controls.
   Sonn, Rebecca             Research annual electric true-up to be        $120.00       1.5      $180.00
                             used for operating and maintenance
                             testing.
   Sonn, Rebecca             Update control owner descriptions for         $120.00       1.0      $120.00
                             competence and authority related to
                             source to pay controls.
   Sonn, Rebecca             Research annual gas true-up on the            $120.00       0.7       $84.00
                             California Public Utilities Commission
                             website for use on operating and
                             maintenance testing.
   Sonn, Rebecca             Discussion with L. Schloetter (Deloitte)      $120.00       0.4       $48.00
                             regarding control owner workpaper for
                             billings controls.
   Sreeram, Sree             Draft a memo related to environmental         $290.00       0.5      $145.00
                             accruals and its risk assessment for
                             FY19.
   Steele, Bridget           Continue to update Quarter 2 tie out          $120.00       3.2      $384.00
                             document.
   Steele, Bridget           Update Quarter 2 tie out document.            $120.00       2.3      $276.00
   Steele, Bridget           Discussion with L. Schloetter (Deloitte)      $120.00       0.3       $36.00
                             regarding control owner competence
                             and authority for accounts payable
                             controls.

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2019 Audit Services
07/26/2019
   Xue, Ella               Update the listing of the documents to      $120.00      4.0       $480.00
                           be provided by the client for 2019 IT
                           audit testing for pending requests yet
                           to be provided.
   Yuen, Jennifer          Prepare return to tax provision testing     $230.00      1.4       $322.00
                           workpaper.
07/27/2019
   Rice, Blake             Reviewed the reconciliation of new          $230.00      1.0       $230.00
                           general ledger accounts to the
                           appropriate financial statement lines to
                           ensure appropriate mapping in trial
                           balance
   Rice, Blake             Review summary of Q2 internal audit         $230.00      1.0       $230.00
                           reports and the audit team's
                           determination of financial statement
                           impact
07/29/2019
   Adams, Haley            Address notes related to the                $230.00      4.0       $920.00
                           procurement risk assessment.
   Adams, Haley            Discussion with L. Schloetter (Deloitte)    $230.00      1.5       $345.00
                           regarding recoverable expenses in
                           operating and maintenance testing.
   Adams, Haley            Outlined hazardous substance                $230.00      1.0       $230.00
                           mechanism recoverable expense
                           testing procedures.
   Adams, Haley            Meeting with E. Murdock (Deloitte) to       $230.00      0.5       $115.00
                           discuss status and open items.
   Azebu, Matt             Review risks of material misstatement       $230.00      2.0       $460.00
                           identified related to management
                           override and planned substantive
                           procedures.
   Azebu, Matt             Meeting with B. Rice, B. Martin, L.         $230.00      1.0       $230.00
                           Schloetter, R. Sonn, C. Doolittle
                           (Deloitte) regarding this week’s
                           priorities.
   Giamanco, Patrick       Attend PG&E Systems Scoping FY'19           $330.00      1.0       $330.00
                           meeting with W. Kipkirui, E. Murdock,
                           B. Rice (Deloitte) to discuss the in-
                           scope systems for FY’19 testing.


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2019 Audit Services
07/29/2019
   Hennessy, Vincent      Update Q2 2019 tie out tool.                  $200.00      1.0       $200.00
   Hennessy, Vincent      Discussion with L. Schloetter (Deloitte)      $200.00      1.0       $200.00
                          regarding client's customer billings
                          control.
   Hennessy, Vincent      Discussion with D. Diaz (PG&E)                $200.00      1.0       $200.00
                          regarding tie out of financial
                          statements to supporting client
                          schedules.
   Hennessy, Vincent      Meeting with M. Azebu, B. Rice, B.            $200.00      1.0       $200.00
                          Martin, L. Schloetter, R. Sonn, C.
                          Doolittle (Deloitte) regarding this
                          week’s priorities.
   Hennessy, Vincent      Discussion with R. Sonn (Deloitte)            $200.00      0.5       $100.00
                          regarding journal entry support for
                          management override testing.
   Jasinski, Samantha     Review long term disability risk              $290.00      1.5       $435.00
                          assessment memorandum.
   Jasinski, Samantha     Review worker's compensation risk             $290.00      1.5       $435.00
                          assessment memorandum.
   Kipkirui, Winnie       Document internal control                     $230.00      3.0       $690.00
                          considerations related to IT
                          Compliance findings
   Kipkirui, Winnie       Drafted internal control documentation        $230.00      3.0       $690.00
                          to include evaluation of severity
                          assessment for 2019 internal control
                          findings.
   Kipkirui, Winnie       ACTT (Automated Control Testing               $230.00      2.0       $460.00
                          Tool) analysis of results for testing
                          Customer Care & Billing system unix
                          server 1.
   Kipkirui, Winnie       Attend PG&E Systems Scoping FY'19             $230.00      1.0       $230.00
                          meeting with P. Giamanco, E.
                          Murdock, B. Rice (Deloitte) to discuss
                          the in-scope systems for FY’19 testing.
   Martin, Blake          Document journal entry testing memo           $200.00      3.0       $600.00
                          summarizing response to risk of
                          management override of controls.
   Martin, Blake          Document management override risks            $200.00      3.0       $600.00
                          of material misstatement
                          considerations.

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       PG&E Corporation and Pacific Gas and Electric Company
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2019 Audit Services
07/29/2019
   Martin, Blake          Meeting with M. Azebu, B. Rice, L.            $200.00      1.0       $200.00
                          Schloetter, R. Sonn, C. Doolittle
                          (Deloitte) regarding this week’s
                          priorities.
   Murdock, Elizabeth     Attend PG&E Systems Scoping FY'19             $330.00      1.0       $330.00
                          meeting with W. Kipkirui, P. Giamanco,
                          B. Rice (Deloitte) to discuss the in-
                          scope systems for FY’19 testing.
   Murdock, Elizabeth     Meet with S. Hunter (PG&E) to discuss         $330.00      0.5       $165.00
                          potential implications of derivative
                          accounting.
   Rice, Blake            Attend PG&E Systems Scoping FY'19             $230.00      1.0       $230.00
                          meeting with W. Kipkirui, P. Giamanco,
                          E. Murdock (Deloitte) to discuss the in-
                          scope systems for FY’19 testing.
   Schloetter, Lexie      Discussion with H. Adams (Deloitte)           $180.00      1.5       $270.00
                          regarding recoverable expenses in
                          operating and maintenance testing.
   Schloetter, Lexie      Map operating and maintenance                 $180.00      1.5       $270.00
                          expenses to the recoverable revenue
                          reconciliation.
   Schloetter, Lexie      Meeting with M. Azebu, B. Rice, B.            $180.00      1.0       $180.00
                          Martin, V. Hennessy, C. Doolittle, R.
                          Sonn (Deloitte) regarding weekly
                          updates and priorities.
   Schloetter, Lexie      Close notes on design and operating           $180.00      1.0       $180.00
                          effectiveness testing related to
                          customer billings control.
   Schloetter, Lexie      Discussion with R. Sonn (Deloitte)            $180.00      1.0       $180.00
                          regarding operating and maintenance
                          testing.
   Schloetter, Lexie      Discussion with V. Hennessy (Deloitte)        $180.00      1.0       $180.00
                          regarding billings control.
   Schloetter, Lexie      Analyze and update the generally              $180.00      0.5        $90.00
                          accepted accounting principles (GAAP)
                          Check list memo.
   Schloetter, Lexie      Address review notes related to tie out       $180.00      0.5        $90.00
                          of amounts included in Q2'19 financial
                          statements to client supporting
                          schedules.

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2019 Audit Services
07/29/2019
   Sonn, Rebecca           Update control owner descriptions             $120.00      2.0       $240.00
                           related to property plant and
                           equipment controls
   Sonn, Rebecca           Update control owner descriptions             $120.00      1.6       $192.00
                           related to source to pay controls.
   Sonn, Rebecca           Compare control owner titles from             $120.00      1.5       $180.00
                           2018 to 2019 to identify changes and
                           increased risk related to meter to cash.
   Sonn, Rebecca           Meeting with M. Azebu, B. Rice, B.            $120.00      1.0       $120.00
                           Martin, L. Schloetter, C. Doolittle
                           (Deloitte) regarding this week’s
                           priorities.
   Sonn, Rebecca           Discussion with L. Schloetter (Deloitte)      $120.00      1.0       $120.00
                           regarding operating and maintenance
                           testing.
   Sonn, Rebecca           Discussion with V. Hennessy (Deloitte)        $120.00      0.5        $60.00
                           regarding journal entry support for
                           management override testing.
   Varshney, Swati         Execute review documentation                  $230.00      3.0       $690.00
                           regarding our risk assessment
                           process.
   Xue, Ella               Perform testing of automated                  $120.00      1.5       $180.00
                           application controls in SAP using the
                           automated control testing tool.
   Xue, Ella               Draft email to W. Kipkirui (Deloitte) to      $120.00      1.0       $120.00
                           communicate status of IT audit testing
                           and pending requests that have yet to
                           be fulfilled by the company.
   Xue, Ella               Complete Meter Data Management                $120.00      0.5        $60.00
                           System privileged access testing
                           workpaper.
   Yuen, Jennifer          Call with K. Xu (PG&E) to discuss             $230.00      3.0       $690.00
                           2018 RTP testing.
   Yuen, Jennifer          Clear comments in FY19 tax planning           $230.00      1.0       $230.00
                           memo.
07/30/2019
   Adams, Haley            Update procurement control                    $230.00      2.0       $460.00
                           workpapers to include documentation
                           of information used in the control.


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2019 Audit Services
07/30/2019
   Adams, Haley           Discussion with E. Murdock, S.               $230.00      1.0       $230.00
                          Jasinski, J. Hamner, L. Schloetter
                          (Deloitte) regarding the revenue
                          process and substantive workpaper.
   Adams, Haley           Address notes within the memo                $230.00      1.0       $230.00
                          summarizing understanding of the
                          company's energy procurement
                          process (including the relevant
                          accounting guidance)
   Adams, Haley           Prepare for meeting with A. Schloetter       $230.00      1.0       $230.00
                          (Deloitte) regarding Revenue Testing
                          procedures.
   Adams, Haley           Prepare requests/open items list for         $230.00      1.0       $230.00
                          procurement substantive testing.
   Adams, Haley           Address notes within the Procurement         $230.00      1.0       $230.00
                          risk of material misstatement
                          workpaper.
   Adams, Haley           Prepare email correspondence to A.           $230.00      0.5       $115.00
                          Schloetter (Deloitte) regarding best
                          practices for revenue testing.
   Azebu, Matt            Meeting with J. Ncho-Oguie, S.               $230.00      1.0       $230.00
                          Jasinski, E. Murdock (Deloitte) to
                          discuss audit section allocation for
                          2019 audit.
   Azebu, Matt            Meeting with S. Jasinski, E. Murdock         $230.00      1.0       $230.00
                          (Deloitte) to discuss proposed audit
                          section allocation for 2019 audit.
   Azebu, Matt            Discussion with V. Hennessy (Deloitte)       $230.00      0.5       $115.00
                          regarding tie out questions.
   Doolittle, Chase       Documented planned audit testing             $120.00      2.5       $300.00
                          procedures related to electric / gas
                          revenue.
   Doolittle, Chase       Prepare documentation related to             $120.00      2.0       $240.00
                          identification of risks of material
                          misstatement and corresponding
                          controls mitigating those risks related
                          to revenue process.




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2019 Audit Services
07/30/2019
   Doolittle, Chase       Prepare the guided risk assessment for      $120.00      1.5       $180.00
                          the property plant and equipment
                          process to document our risks of
                          material misstatement and
                          corresponding controls mitigating
                          those risks.
   Doolittle, Chase       Discussion with L. Schloetter (Deloitte)    $120.00      0.5        $60.00
                          regarding the revenue risk of material
                          misstatement workpaper.
   Fazil, Mohamed         Continued to document the testing of        $200.00      3.5       $700.00
                          design and operating effectiveness of
                          SAP Firefighter (temporary user ID log)
                          review control workpaper.
   Fazil, Mohamed         Document design and operating               $200.00      2.5       $500.00
                          effectiveness of SAP Firefighter
                          (temporary user ID log) review control
                          workpaper.
   Fazil, Mohamed         Further documented the testing of           $200.00      2.0       $400.00
                          design and operating effectiveness of
                          SAP Firefighter (temporary user ID log)
                          review control workpaper.
   Giamanco, Patrick      Call with S. Misra (Deloitte) to discuss    $330.00      0.5       $165.00
                          IT audit status.
   Hamner, Jack           Discussion with E. Murdock, S.              $200.00      1.0       $200.00
                          Jasinski, H. Adams, L. Schloetter
                          (Deloitte) regarding the revenue
                          process and substantive workpaper.
   Hennessy, Vincent      Continued to tie out of amounts             $200.00      2.5       $500.00
                          included in Q2'19 financial statements
                          to supporting client supporting
                          schedules.
   Hennessy, Vincent      Perform tie out of amounts included in      $200.00      2.0       $400.00
                          Q2'19 financial statements to
                          supporting audit testing workpapers.
   Hennessy, Vincent      Discussion with R. Sonn (Deloitte)          $200.00      0.5       $100.00
                          regarding journal entry support for
                          management override testing.
   Hennessy, Vincent      Review memo documenting company's           $200.00      0.5       $100.00
                          customer billings process, including
                          the relevant accounting guidance.


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2019 Audit Services
07/30/2019
   Hennessy, Vincent      Discussion with M. Azebu (Deloitte)           $200.00      0.5       $100.00
                          regarding tie out questions.
   Hennessy, Vincent      Discussion with K. Mallonee (PG&E)            $200.00      0.5       $100.00
                          regarding tie out questions.
   Jasinski, Samantha     Meeting with E. Murdock (Deloitte) to         $290.00      1.5       $435.00
                          update project plan for August priorities
                          and reassign work as needed.
   Jasinski, Samantha     Discussion with E. Murdock, H.                $290.00      1.0       $290.00
                          Adams, J. Hamner, L. Schloetter
                          (Deloitte) regarding the revenue
                          process and substantive workpaper.
   Jasinski, Samantha     Meeting with E. Murdock, M. Azebu             $290.00      1.0       $290.00
                          (Deloitte) to discuss proposed audit
                          section allocation for 2019 audit.
   Jasinski, Samantha     Meeting with J. Ncho-Oguie, M. Azebu,         $290.00      1.0       $290.00
                          E. Murdock (Deloitte) to discuss audit
                          section allocation for 2019 audit.
   Jasinski, Samantha     Meeting with B. Martin (Deloitte), M.         $290.00      0.5       $145.00
                          Lui, E. Gonzalez (PG&E) regarding
                          benefits related internal controls over
                          the actuarial rates utilized.
   Kamra, Akanksha        Review overall engagement risk                $230.00      0.5       $115.00
                          assessment workbook documenting
                          audit team's preliminary risk
                          assessment conclusions for 2019
                          audit.
   Kipkirui, Winnie       ACTT (Automated Control Testing               $230.00      3.0       $690.00
                          Tool) analysis of results for testing
                          Customer Care & Billing system unix
                          server 2.
   Kipkirui, Winnie       ACTT (Automated Control Testing               $230.00      3.0       $690.00
                          Tool) analysis of results for testing
                          SAP ERP Central Component (ECC)
                          unix server 1.
   Kipkirui, Winnie       ACTT (Automated Control Testing               $230.00      3.0       $690.00
                          Tool) analysis of results for testing
                          powerplant unix server 1.
   Martin, Blake          Document the potential adjustment             $200.00      2.5       $500.00
                          report process flow diagram.



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2019 Audit Services
07/30/2019
   Martin, Blake            Continue to document the hire to retire      $200.00      1.0       $200.00
                            (Benefits) controls walkthrough.
   Martin, Blake            Meeting with S. Jasinski (Deloitte), M.      $200.00      0.5       $100.00
                            Lui, E. Gonzalez (PG&E) regarding
                            benefits related controls related to the
                            actuarial rates utilized.
   Martin, Blake            Document the hire to retire (Benefits)       $200.00      4.0       $800.00
                            controls walkthrough.
   Meredith, Wendy          Review internal audit reports issued         $380.00      0.5       $190.00
                            during second quarter as part of
                            interim review procedures
   Murdock, Elizabeth       Meeting with S. Jasinski (Deloitte) to       $330.00      1.5       $495.00
                            update project plan for August priorities
                            and reassign work as needed.
   Murdock, Elizabeth       Discussion with S. Jasinski, H. Adams,       $330.00      1.0       $330.00
                            J. Hamner, L. Schloetter (Deloitte)
                            regarding the revenue process and
                            substantive workpaper.
   Murdock, Elizabeth       Meeting (partial) with S. Jasinski, M.       $330.00      0.5       $165.00
                            Azebu (Deloitte) to discuss proposed
                            audit section allocation for 2019 audit.
   Ncho-Oguie, Jean-Denis   Meeting with M. Azebu, S. Jasinski, E.       $330.00      1.0       $330.00
                            Murdock (Deloitte) to discuss audit
                            section allocation for 2019 audit.
   Schloetter, Lexie        Updated electric/gas revenue testing         $180.00      2.0       $360.00
                            workpaper
   Schloetter, Lexie        Analyzed advice letters from the             $180.00      1.5       $270.00
                            California Public Utilities Commission
                            for potential impacts on revenue
   Schloetter, Lexie        Close notes related to the billings          $180.00      1.5       $270.00
                            process control workpaper.
   Schloetter, Lexie        Discussion with A. Yee (PG&E)                $180.00      1.0       $180.00
                            regarding customer accounts
                            receivable process.
   Schloetter, Lexie        Discussion with E. Murdock, S.               $180.00      1.0       $180.00
                            Jasinski, H. Adams, J. Hamner
                            (Deloitte) regarding the revenue
                            process and substantive workpaper.



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2019 Audit Services
07/30/2019
   Schloetter, Lexie      Discussion with C. Doolittle (Deloitte)       $180.00      0.5        $90.00
                          regarding the revenue risk of material
                          misstatement workpaper.
   Schloetter, Lexie      Document the risks of material                $180.00      0.5        $90.00
                          misstatement identified related to the
                          Company's property plant and
                          equipment process for capital
                          additions.
   Sonn, Rebecca          Compare control owner titles from             $120.00      2.5       $300.00
                          2018 to 2019 to identify changes and
                          increased risk related to source to pay
                          controls.
   Sonn, Rebecca          Identify increased risk due to changes        $120.00      1.5       $180.00
                          in controls owners between 2018 and
                          2019 for regulatory controls.
   Sonn, Rebecca          Obtain audit evidence of supporting           $120.00      1.0       $120.00
                          documents and management's
                          review/approval for Q2 journal entry
                          testing selections.
   Sonn, Rebecca          Update 8-K summary workpaper for              $120.00      0.5        $60.00
                          changes that occurred during the
                          quarter.
   Sonn, Rebecca          Prepare documentation of workpaper            $120.00      0.5        $60.00
                          summarizing the significant
                          management estimates identified
                          during our audit procedures.
   Sonn, Rebecca          Discussion with V. Hennessy (Deloitte)        $120.00      0.5        $60.00
                          regarding journal entry support for
                          management override testing.
   Varshney, Swati        Continue executing review                     $230.00      3.0       $690.00
                          documentation regarding the risk
                          assessment process.
   Xue, Ella              Perform testing of automated                  $120.00      2.0       $240.00
                          application controls in SAP using the
                          automated control testing tool.
   Xue, Ella              Prepare Endur new user access                 $120.00      1.5       $180.00
                          testing workpaper.




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2019 Audit Services
07/30/2019
   Xue, Ella               Update the listing of the documents to       $120.00      1.5       $180.00
                           be provided by the client for 2019 IT
                           audit testing for pending requests yet
                           to be provided related to Oracle
                           database testing.
   Yuen, Jennifer          Correspondence with J. Yuen, R.              $230.00      0.5       $115.00
                           Nkinzingabo, and B. Rice (all Deloitte)
                           regarding Q2 workpaper status.
07/31/2019
   Adams, Haley            Review current year and prior year           $230.00      2.0       $460.00
                           environmental liability data as it relates
                           to risk assessment procedures.
   Adams, Haley            Prepare cost of electric testing             $230.00      1.5       $345.00
                           documentation.
   Adams, Haley            Prepare interim cost of electric             $230.00      1.5       $345.00
                           procurement testing selections.
   Adams, Haley            Review regulatory balancing account          $230.00      1.0       $230.00
                           testing procedures.
   Adams, Haley            Review internal control guide and risk       $230.00      1.0       $230.00
                           assessment guidance as it relates to
                           PG&E planning and interim testing
                           procedures.
   Azebu, Matt             Meeting with B. Martin (Deloitte), D.        $230.00      1.0       $230.00
                           Kenna, P. Ong, J. Garboden, N. Riojas
                           (PG&E) to observe the monthly
                           management override potential
                           adjustment report meeting.
   Azebu, Matt             Meeting with B. Martin (Deloitte)            $230.00      0.5       $115.00
                           regarding Optix (Journal Entry testing)
                           parameters and approach.
   Azebu, Matt             Discussion with B. Martin (Deloitte)         $230.00      0.5       $115.00
                           regarding management override
                           control testing approach.
   Bhattacharya, Ayush     Attend weekly call with A.                   $200.00      0.5       $100.00
                           Bhattacharya, V. Chaudhry, K. Kavya,
                           M. Saurabh, W. Kipkirui, and P.
                           Giamanco (Deloitte) regarding status
                           of IT audit testing.




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2019 Audit Services
07/31/2019
   Choudhury, Viki        Attend weekly call with A.                   $200.00      0.5       $100.00
                          Bhattacharya, V. Chaudhry, K. Kavya,
                          M. Saurabh, W. Kipkirui, and P.
                          Giamanco (Deloitte) regarding status
                          of IT audit testing.
   Clark, Brian           Review PG&E materiality                      $380.00      1.0       $380.00
                          determination memo with T. Gillam
                          (Deloitte).
   Doolittle, Chase       Prepare the guided risk assessment for       $120.00      2.5       $300.00
                          the property plant and equipment
                          process to document our risks of
                          material misstatement and
                          corresponding controls mitigating
                          those risks.
   Doolittle, Chase       Documented planned audit procedures          $120.00      2.5       $300.00
                          to address risks of material
                          misstatement identified related to
                          property plant and equipment
   Doolittle, Chase       Prepare documentation related to             $120.00      1.0       $120.00
                          identification of risks of material
                          misstatement and corresponding
                          controls mitigating those risks related
                          to revenue process.
   Giamanco, Patrick      Attend weekly call with A.                   $330.00      0.5       $165.00
                          Bhattacharya, V. Chaudhry, K. Kavya,
                          M. Saurabh, W. Kipkirui, and P.
                          Giamanco (Deloitte) regarding status
                          of IT audit testing.
   Gillam, Tim            Review PG&E materiality                      $380.00      1.0       $380.00
                          determination memo with B. Clark
                          (Deloitte).
   Hennessy, Vincent      Discussion with B. Martin (Deloitte)         $200.00      1.5       $300.00
                          regarding the Q2 tie out tool.
   Hennessy, Vincent      Update Q2 tie out tool with updated          $200.00      1.0       $200.00
                          version.
   Hennessy, Vincent      Discussions with K. Mallonee (PG&E)          $200.00      1.0       $200.00
                          regarding Q2 tie out questions.
   Hennessy, Vincent      Discussion with B. Martin (Deloitte)         $200.00      1.0       $200.00
                          regarding journal entry data.



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2019 Audit Services
07/31/2019
   Hennessy, Vincent      Discussion with B. Rice (Deloitte)            $200.00      0.5       $100.00
                          regarding tie out tool.
   K, Kavya               Attend weekly call with A.                    $120.00      0.5        $60.00
                          Bhattacharya, V. Chaudhry, K. Kavya,
                          M. Saurabh, W. Kipkirui, and P.
                          Giamanco (Deloitte) regarding status
                          of IT audit testing.
   Kipkirui, Winnie       ACTT (Automated Control Testing               $230.00      3.0       $690.00
                          Tool) analysis of results for testing
                          Market Data System unix server 1.
   Kipkirui, Winnie       Attend weekly call with A.                    $230.00      0.5       $115.00
                          Bhattacharya, V. Chaudhry, K. Kavya,
                          M. Saurabh, W. Kipkirui, and P.
                          Giamanco (Deloitte) regarding status
                          of IT audit testing.
   Kipkirui, Winnie       ACTT (Automated Control Testing               $230.00      2.0       $460.00
                          Tool) analysis of results for testing
                          Reporting System Solutions
                          application unix server 1.
   Kipkirui, Winnie       Update the documentation of planned           $230.00      2.0       $460.00
                          procedures to address risks of material
                          misstatement related to information
                          technology for 2019.
   Kipkirui, Winnie       Update the documentation of controls          $230.00      1.0       $230.00
                          mitigating risks of material
                          misstatement related to information
                          technology for 2019.
   Kipkirui, Winnie       Review and document the evidence              $230.00      0.5       $115.00
                          obtained related to the Market Data
                          System Unix Server 1 testing.
   Martin, Blake          Discussion with V. Hennessy (Deloitte)        $200.00      1.5       $300.00
                          regarding the Q2 tie out tool.
   Martin, Blake          Document the Significant Management           $200.00      1.0       $200.00
                          Override Potential Adjustment Report
                          Controls.
   Martin, Blake          Discussion with V. Hennessy (Deloitte)        $200.00      1.0       $200.00
                          regarding journal entry testing data.




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       PG&E Corporation and Pacific Gas and Electric Company
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2019 Audit Services
07/31/2019
   Martin, Blake            Meeting with M. Azebu (Deloitte), D.         $200.00      1.0       $200.00
                            Kenna, P. Ong, J. Garboden, N. Riojas
                            (PG&E) to observe the monthly
                            management override potential
                            adjustment report meeting.
   Martin, Blake            Discussion with M. Azebu (Deloitte)          $200.00      0.5       $100.00
                            regarding management override
                            control testing approach.
   Martin, Blake            Meeting with M. Azebu (Deloitte)             $200.00      0.5       $100.00
                            regarding Journal Entry testing
                            parameters and approach.
   Martin, Blake            Update the Process Flow Diagram              $200.00      3.5       $700.00
                            outlining the company's process for
                            accounting for significant, non-
                            recurring transactions in FY'19.
   Murdock, Elizabeth       Meeting with J. Ncho-Oguie (Deloitte)        $330.00      0.5       $165.00
                            to discuss critical audit matters.
   Ncho-Oguie, Jean-Denis   Review cash flow statement analytics         $330.00      1.0       $330.00
                            for second quarter review.
   Ncho-Oguie, Jean-Denis   Meeting with E. Murdock (Deloitte) to        $330.00      0.5       $165.00
                            discuss critical audit matters.
   Ncho-Oguie, Jean-Denis   Review quarterly affiliates and              $330.00      2.0       $660.00
                            independence analysis.
   Rice, Blake              Discussion with V. Hennessy (Deloitte)       $230.00      0.5       $115.00
                            regarding tie out tool.
   Salisam, Soujanya        Perform reconciliation of journal entry      $200.00      1.0       $200.00
                            data for the period from 1/1 - 6/30/19 to
                            prepare for audit testing.
   Schloetter, Lexie        Prepared memo summarizing the                $180.00      3.0       $540.00
                            company's process for recording
                            electric/gas revenue and the related
                            accounting guidance
   Schloetter, Lexie        Update revenue risk of material              $180.00      1.3       $234.00
                            misstatement workpaper.
   Schloetter, Lexie        Analyze revenue risk of material             $180.00      1.2       $216.00
                            misstatement workpaper.
   Schloetter, Lexie        Analyze the electric balancing account       $180.00      1.0       $180.00
                            revenue reconciliation for recoverable
                            costs related to operating and
                            maintenance workpaper.

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2019 Audit Services
07/31/2019
   Schloetter, Lexie           Discussion with R. Sonn (Deloitte)           $180.00       0.5        $90.00
                               regarding the policies and procedures
                               entity level control.
   Sonn, Rebecca               Document selections made for testing         $120.00       3.0       $360.00
                               of Compliance and Ethics helpline
                               entity level control.
   Sonn, Rebecca               Prepare selections for policies              $120.00       2.5       $300.00
                               standards and procedures related to
                               entity level controls.
   Sonn, Rebecca               Tie-out ending balances for pension          $120.00       1.0       $120.00
                               accounts.
   Sonn, Rebecca               Discussion with L. Schloetter (Deloitte)     $120.00       0.5        $60.00
                               regarding the policies and procedures
                               entity level control.
   Varshney, Swati             Reviewed documentation of                    $230.00       2.0       $460.00
                               engagement team's overall risk
                               assessment process and significant
                               estimates identified for 2019
   Xue, Ella                   Continued to update the Endur new            $120.00       3.0       $360.00
                               user access testing workpaper.
   Xue, Ella                   Update the Reporting System                  $120.00       3.0       $360.00
                               Solutions system testing workpaper.
   Xue, Ella                   Update the listing of the documents to       $120.00       1.0       $120.00
                               be provided by the client for 2019 IT
                               audit testing for pending requests yet
                               to be provided related to Reporting
                               System Solutions system testing.
   Yuen, Jennifer              Perform 2018 return to tax provision         $230.00       0.5       $115.00
                               testing.
   Subtotal for 2019 Audit Services:                                                  1,963.0   $410,633.00

AB 1054 Wildfire Fund
07/01/2019
   Barclay, Kelsey             Perform accounting research related to       $580.00       2.6      $1,508.00
                               accounting for wildfire fund
                               contributions.




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AB 1054 Wildfire Fund
07/01/2019
   Meredith, Wendy        Review articles related to new               $760.00      0.2       $152.00
                          proposed legislation in California
                          related to wildfires.
   Weller, Curt           Perform accounting research related to       $760.00      0.9       $684.00
                          accounting for Wildfire Fund
                          contributions.
07/02/2019
   Barclay, Kelsey        Perform accounting research related to       $580.00      1.2       $696.00
                          accounting for wildfire fund
                          contributions.
   Weller, Curt           Perform accounting research related to       $760.00      0.4       $304.00
                          accounting for Wildfire Fund
                          contributions.
07/03/2019
   Barclay, Kelsey        Discussion with K. Barclay, C. Weller,       $580.00      1.3       $754.00
                          J. Ncho-Oguie, T. Gillam, S. Barta
                          (Deloitte) for consideration of
                          accounting for securitization
                          transactions under new California
                          legislation (Assembly Bill 1054).
   Barclay, Kelsey        Call with C. Weller, D. Barton (Deloitte)    $580.00      0.8       $464.00
                          to discuss wildfire fund accounting
                          alternatives.
   Barta, Steve           Discussion with K. Barclay, C. Weller,       $760.00      1.3       $988.00
                          J. Ncho-Oguie, T. Gillam, S. Barta
                          (Deloitte) for consideration of
                          accounting for securitization
                          transactions under new California
                          legislation (Assembly Bill 1054).
   Barton, Doug           Call (partial) with K. Barclay, C. Weller    $760.00      0.3       $228.00
                          (Deloitte) to discuss wildfire fund
                          accounting alternatives.
   Garcia, Edward         Research accounting guidance related         $580.00      1.0       $580.00
                          to securitization transactions related to
                          new California legislation (Assembly
                          Bill 1054).




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AB 1054 Wildfire Fund
07/03/2019
   Gillam, Tim              Discussion with K. Barclay, C. Weller,       $760.00      1.3        $988.00
                            J. Ncho-Oguie, T. Gillam, S. Barta
                            (Deloitte) for consideration of
                            accounting for securitization
                            transactions under new California
                            legislation (Assembly Bill 1054).
   Ncho-Oguie, Jean-Denis   Review structure of Wildfire recovery        $660.00      2.1       $1,386.00
                            fund Q2 transaction.
   Ncho-Oguie, Jean-Denis   Discussion with K. Barclay, C. Weller,       $660.00      1.3        $858.00
                            J. Ncho-Oguie, T. Gillam, S. Barta
                            (Deloitte) for consideration of
                            accounting for securitization
                            transactions under new California
                            legislation (Assembly Bill 1054).
   Weller, Curt             Discussion with K. Barclay, C. Weller,       $760.00      1.3        $988.00
                            J. Ncho-Oguie, T. Gillam, S. Barta
                            (Deloitte) for consideration of
                            accounting for securitization
                            transactions under new California
                            legislation (Assembly Bill 1054).
   Weller, Curt             Call (partial) with K. Barclay, D. Barton    $760.00      0.6        $456.00
                            (Deloitte) to discuss wildfire fund
                            accounting alternatives.
07/05/2019
   Gillam, Tim              Review California legislation related to     $760.00      3.0       $2,280.00
                            creation of wildfire insurance fund
                            (assembly bill 1054).
   Gillam, Tim              Research relevant accounting                 $760.00      2.5       $1,900.00
                            guidance for wildfire insurance fund
                            contributions.
07/07/2019
   Gillam, Tim              Review California legislation related to     $760.00      1.0        $760.00
                            creation of wildfire insurance fund
                            (assembly bill 1054).
07/08/2019
   Barclay, Kelsey          Perform Wildfire fund accounting             $580.00      0.6        $348.00
                            alternative research.




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AB 1054 Wildfire Fund
07/08/2019
   Gillam, Tim              Review draft legislation for creation of     $760.00      2.5       $1,900.00
                            wildfire insurance fund (Assembly Bill
                            1054).
07/09/2019
   Ncho-Oguie, Jean-Denis   Review draft California Wildfire Fund        $660.00      1.3        $858.00
                            Legislation.
   Ncho-Oguie, Jean-Denis   Document Wildfire Fund                       $660.00      1.1        $726.00
                            considerations for accounting impacts.
   Weller, Curt             Review wildfire fund legislation passed      $760.00      0.5        $380.00
                            (Assembly Bill 1054) for accounting
                            impacts.
07/10/2019
   Barclay, Kelsey          Perform accounting research related to       $580.00      1.8       $1,044.00
                            accounting for wildfire fund
                            contributions.
   Barclay, Kelsey          Discussion with C. Weller, J. Ncho-          $580.00      1.0        $580.00
                            Oguie, T. Gillam, D. Barton (Deloitte)
                            for consideration of Wildfire Fund
                            Legislation accounting transactions.
   Barclay, Kelsey          Meeting with C. Weller (Deloitte) to         $580.00      0.5        $290.00
                            discuss accounting for the wildfire
                            insurance fund.
   Barton, Doug             Discussion (partial) with C. Weller, K.      $760.00      0.5        $380.00
                            Barclay, J. Ncho-Oguie, T. Gillam
                            (Deloitte) for consideration of Wildfire
                            Fund Legislation accounting
                            transactions.
   Gillam, Tim              Review revised legislation for creation      $760.00      2.0       $1,520.00
                            of wildfire insurance fund (Assembly
                            Bill 1054).
   Gillam, Tim              Discussion with C. Weller, K. Barclay,       $760.00      1.0        $760.00
                            J. Ncho-Oguie, D. Barton (Deloitte) for
                            consideration of Wildfire Fund
                            Legislation accounting transactions.
   Gillam, Tim              Discussion with J. Ncho-Oguie                $760.00      0.7        $532.00
                            (Deloitte), D. Thomosan, J. Garboden,
                            C. Foster, W. Manheim, D. Thomason,
                            S. Hunter (PG&E) for consideration of
                            accounting transactions related to
                            Wildfire Fund Legislation.

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AB 1054 Wildfire Fund
07/10/2019
   Ncho-Oguie, Jean-Denis   Discussion with T. Gillam (Deloitte), D.       $660.00      0.7        $462.00
                            Thomosan, J. Garboden, C. Foster, W.
                            Manheim, D. Thomason, S. Hunter
                            (PG&E) for consideration of accounting
                            transactions related to Wildfire Fund
                            Legislation.
   Ncho-Oguie, Jean-Denis   Discussion with C. Weller, K. Barclay,         $660.00      1.0        $660.00
                            T. Gillam, D. Barton (Deloitte) for
                            consideration of Wildfire Fund
                            Legislation accounting transactions.
   Weller, Curt             Meeting with K. Barclay (Deloitte) to          $760.00      0.5        $380.00
                            discuss accounting for wildfire
                            insurance fund.
   Weller, Curt             Discussion (partial) with K. Barclay, J.       $760.00      0.5        $380.00
                            Ncho-Oguie, T. Gillam, D. Barton
                            (Deloitte) for consideration of Wildfire
                            Fund Legislation accounting
                            transactions.
07/11/2019
   Barclay, Kelsey          Perform accounting research for                $580.00      4.2       $2,436.00
                            wildfire fund accounting alternatives.
   Barclay, Kelsey          Discussion with C. Weller, D. Barton           $580.00      0.3        $174.00
                            (Deloitte) for consideration of Wildfire
                            fund accounting alternatives.
   Barclay, Kelsey          Meet with C. Weller (Deloitte) to              $580.00      0.2        $116.00
                            discuss wildfire accounting
                            alternatives.
   Barton, Doug             Discussion with C. Weller, K. Barclay          $760.00      0.3        $228.00
                            (Deloitte) for consideration of Wildfire
                            fund accounting alternatives.
   Gillam, Tim              Discussion with J. Ncho-Oguie                  $760.00      0.4        $304.00
                            (Deloitte) for consideration of Wildfire
                            Fund Legislation accounting
                            transaction follow up action items.
   Ncho-Oguie, Jean-Denis   Discussion with T. Gillam (Deloitte) for       $660.00      0.4        $264.00
                            consideration of Wildfire Fund
                            Legislation accounting transaction
                            follow up action items.




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AB 1054 Wildfire Fund
07/11/2019
   Weller, Curt             Perform accounting research related to       $760.00      2.6       $1,976.00
                            accounting for Wildfire Fund
                            contributions.
   Weller, Curt             Discussion with K. Barclay, D. Barton        $760.00      0.3        $228.00
                            (Deloitte) for consideration of Wildfire
                            fund accounting alternatives.
   Weller, Curt             Meet with K. Barclay (Deloitte) to           $760.00      0.2        $152.00
                            discuss wildfire accounting
                            alternatives.
07/12/2019
   Barclay, Kelsey          Perform accounting research related to       $580.00      2.5       $1,450.00
                            accounting for contributions to fund
                            wildfire insurance fund under assembly
                            bill 1054.
   Barclay, Kelsey          Perform accounting research related to       $580.00      2.5       $1,450.00
                            accounting for contributions to fund
                            wildfire insurance fund under assembly
                            bill 1054.
   Barclay, Kelsey          Call with K. Barclay, J. Ncho Oguie, T.      $580.00      1.0        $580.00
                            Gillam, C. Weller and D. Barton (all
                            Deloitte) to discuss accounting for
                            wildfire insurance fund.
   Barclay, Kelsey          Discussion with C. Weller, J. Ncho-          $580.00      0.6        $348.00
                            Oguie, T. Gillam, D. Barton (Deloitte)
                            for consideration of Wildfire Fund
                            Legislation accounting transactions.
   Barton, Doug             Discussion with C. Weller, K. Barclay,       $760.00      0.6        $456.00
                            J. Ncho-Oguie, T. Gillam (Deloitte) for
                            consideration of Wildfire Fund
                            Legislation accounting transactions.
   Gillam, Tim              Discussion with C. Weller, K. Barclay,       $760.00      0.6        $456.00
                            J. Ncho-Oguie, D. Barton (Deloitte) for
                            consideration of Wildfire Fund
                            Legislation accounting transactions.
   Ncho-Oguie, Jean-Denis   Discussion with C. Weller, K. Barclay,       $660.00      0.6        $396.00
                            T. Gillam, D. Barton (Deloitte) for
                            consideration of Wildfire Fund
                            Legislation accounting transactions.




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AB 1054 Wildfire Fund
07/12/2019
   Ncho-Oguie, Jean-Denis   Document the summary analysis of                 $660.00      0.3        $198.00
                            final legislation of Wildfire California
                            Fund accounting analysis.
   Weller, Curt             Perform accounting research related to           $760.00      1.3        $988.00
                            accounting for Wildfire Fund
                            contributions.
   Weller, Curt             Discussion with K. Barclay, J. Ncho-             $760.00      0.6        $456.00
                            Oguie, T. Gillam, D. Barton (Deloitte)
                            for consideration of Wildfire Fund
                            Legislation accounting transactions.
07/13/2019
   Gillam, Tim              Review the updated Fire Fund                     $760.00      2.0       $1,520.00
                            legislation.
07/15/2019
   Barclay, Kelsey          Perform accounting research related to           $580.00      2.8       $1,624.00
                            accounting for wildfire fund
                            contributions.
   Barclay, Kelsey          Call with J. Ncho-Oguie (Deloitte)               $580.00      0.5        $290.00
                            regarding wildfire fund alternative
                            accounting treatments.
   Barclay, Kelsey          Discussion with C. Weller, R.                    $580.00      0.5        $290.00
                            Sojkowski, D. Barton (Deloitte) for
                            consideration of Wildfire Fund
                            Legislation accounting alternatives.
   Barclay, Kelsey          Perform accounting research to                   $580.00      0.4        $232.00
                            prepare for call with J. Ncho-Oguie
                            (Deloitte) related to consideration of
                            Wildfire Insurance Fund accounting
                            under insurance accounting model.
   Barton, Doug             Discussion with C. Weller, K. Barclay,           $760.00      0.5        $380.00
                            R. Sojkowski (Deloitte) for
                            consideration of Wildfire Fund
                            Legislation accounting alternatives.
   Ncho-Oguie, Jean-Denis   Discussion with K. Barclay (Deloitte)            $660.00      0.4        $264.00
                            for consideration of Wildfire Insurance
                            Fund accounting for insurance
                            accounting model.




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AB 1054 Wildfire Fund
07/15/2019
   Sojkowski, Rick          Discussion with C. Weller, K. Barclay,       $760.00      0.5       $380.00
                            D. Barton (Deloitte) for consideration of
                            Wildfire Fund Legislation accounting
                            alternatives.
   Weller, Curt             Discussion with K. Barclay, R.               $760.00      0.5       $380.00
                            Sojkowski, D. Barton (Deloitte) for
                            consideration of Wildfire Fund
                            Legislation accounting alternatives.
07/17/2019
   Barton, Doug             Meet with J. Ncho-Oguie (Deloitte) to        $760.00      0.5       $380.00
                            discuss wildfire insurance fund
                            accounting.
   Barton, Doug             Discussion with R. Sojkowski                 $760.00      0.3       $228.00
                            (Deloitte), T. Barbierei (PWC) for
                            discussion of Wildfire Fund Legislation.
   Gillam, Tim              Meet with T. Gillam, J. Ncho-Oguie, K.       $760.00      0.5       $380.00
                            Barclay and D. Barton (Deloitte) to
                            discuss wildfire insurance fund
                            accounting.
   Ncho-Oguie, Jean-Denis   Meet with D. Barton (Deloitte) to            $660.00      0.5       $330.00
                            discuss wildfire insurance fund
                            accounting.
   Sojkowski, Rick          Discussion with D. Barton (Deloitte), T.     $760.00      0.3       $228.00
                            Barbierei (PWC) for discussion of
                            Wildfire Fund Legislation.
07/18/2019
   Barclay, Kelsey          Prepare for Wildfire Insurance Fund          $580.00      0.6       $348.00
                            accounting considerations for
                            insurance accounting model discussion
                            with Deloitte team.
   Barclay, Kelsey          Discussion with C. Weller (Deloitte) for     $580.00      0.6       $348.00
                            consideration of Wildfire Fund
                            Legislation accounting alternatives.
   Barclay, Kelsey          Discussion with D. Barton, C. Weller,        $580.00      0.4       $232.00
                            R. Sojkowski (Deloitte) for Wildfire
                            Insurance Fund accounting
                            considerations for insurance
                            accounting model.



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AB 1054 Wildfire Fund
07/18/2019
   Barclay, Kelsey        Prepare for consideration of Wildfire         $580.00      0.2       $116.00
                          Fund Legislation accounting
                          alternatives discussion with C. Weller
                          (Deloitte).
   Barton, Doug           Discussion with C. Weller, R.                 $760.00      0.4       $304.00
                          Sojkowski, K. Barclay (Deloitte) for
                          Wildfire Insurance Fund accounting
                          considerations for insurance
                          accounting model.
   Sojkowski, Rick        Discussion with D. Barton, C. Weller,         $760.00      0.4       $304.00
                          K. Barclay (Deloitte) for Wildfire
                          Insurance Fund accounting
                          considerations for insurance
                          accounting model.
   Weller, Curt           Discussion with K. Barclay (Deloitte)         $760.00      0.6       $456.00
                          for consideration of Wildfire Fund
                          Legislation accounting alternatives.
   Weller, Curt           Discussion with D. Barton, R.                 $760.00      0.4       $304.00
                          Sojkowski, K. Barclay (Deloitte) for
                          Wildfire Insurance Fund accounting
                          considerations for insurance
                          accounting model.
07/19/2019
   Barclay, Kelsey        Discussion with C. Weller, R.                 $580.00      0.4       $232.00
                          Sojkowski, D. Barton (Deloitte) for
                          consideration of Wildfire Fund
                          accounting transactions for insurance
                          structures.
   Barton, Doug           Discussion with C. Weller, K. Barclay,        $760.00      0.4       $304.00
                          R. Sojkowski (Deloitte) for
                          consideration of Wildfire Fund
                          accounting transactions for insurance
                          structures.
   Sojkowski, Rick        Discussion with C. Weller, K. Barclay,        $760.00      0.4       $304.00
                          D. Barton (Deloitte) for consideration of
                          Wildfire Fund accounting transactions
                          for insurance structures.




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AB 1054 Wildfire Fund
07/19/2019
   Weller, Curt           Discussion with K. Barclay, R.              $760.00      0.4       $304.00
                          Sojkowski, D. Barton (Deloitte) for
                          consideration of Wildfire Fund
                          accounting transactions for insurance
                          structures.
07/21/2019
   Barclay, Kelsey        Prepared memo summarizing wildfire          $580.00      1.6       $928.00
                          fund contribution subsequent
                          measurement accounting model.
   Gillam, Tim            Review accounting guidance relevant         $760.00      0.5       $380.00
                          to Wildfire Insurance Fund
                          contributions as under new legislation
                          (Assembly Bill 1054).
07/22/2019
   Barclay, Kelsey        Prepare outline summarizing the             $580.00      1.0       $580.00
                          accounting for wildfire insurance fund
                          contributions.
   Barclay, Kelsey        Discussion with C. Weller, J. Ncho-         $580.00      0.5       $290.00
                          Oguie, T. Gillam, D. Barton (Deloitte)
                          for consideration of Wildfire Fund
                          accounting transactions for insurance
                          structures.
   Barclay, Kelsey        Discussion with C. Weller (Deloitte) for    $580.00      0.1        $58.00
                          consideration of Wildfire Fund
                          Legislation accounting alternatives.
   Barton, Doug           Draft spreadsheet on subsequent             $760.00      0.5       $380.00
                          measurement accounting model for
                          wildfire fund contributions.
   Barton, Doug           Review the final passed legislation for     $760.00      0.5       $380.00
                          Assembly Bill 1054 pertaining to
                          wildfire insurance fund.
   Barton, Doug           Draft white paper on accounting for         $760.00      0.5       $380.00
                          contributions to wildfire insurance fund
                          related to Assembly Bill 1054.
   Gillam, Tim            Discussion with C. Weller, K. Barclay,      $760.00      0.5       $380.00
                          J. Ncho-Oguie, D. Barton (Deloitte) for
                          consideration of Wildfire Fund
                          accounting transactions for insurance
                          structures.


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AB 1054 Wildfire Fund
07/22/2019
   Ncho-Oguie, Jean-Denis   Discussion with C. Weller, K. Barclay,         $660.00      0.5        $330.00
                            T. Gillam, D. Barton (Deloitte) for
                            consideration of Wildfire Fund
                            accounting transactions for insurance
                            structures.
   Weller, Curt             Discussion (partial) with K. Barclay, J.       $760.00      0.3        $228.00
                            Ncho-Oguie, T. Gillam, D. Barton
                            (Deloitte) for consideration of Wildfire
                            Fund accounting transactions for
                            insurance structures.
   Weller, Curt             Discussion with K. Barclay (Deloitte)          $760.00      0.1         $76.00
                            for consideration of Wildfire Fund
                            Legislation accounting alternatives.
07/23/2019
   Barclay, Kelsey          Prepare outline summarizing the                $580.00      1.8       $1,044.00
                            accounting for the initial recognition
                            and subsequent measurement of
                            wildfire insurance fund contributions.
   Barclay, Kelsey          Discussion with C. Weller, D. Barton           $580.00      0.5        $290.00
                            (Deloitte) for consideration of Wildfire
                            Fund accounting alternatives.
   Barton, Doug             Discussion with C. Weller, K. Barclay          $760.00      0.5        $380.00
                            (Deloitte) for consideration of Wildfire
                            Fund accounting alternatives.
   Gillam, Tim              Research potential accounting for the          $760.00      1.0        $760.00
                            Wildfire Insurance Fund.
   Weller, Curt             Perform accounting research related to         $760.00      1.8       $1,368.00
                            accounting for Wildfire Fund
                            contributions.
   Weller, Curt             Discussion with K. Barclay, D. Barton          $760.00      0.5        $380.00
                            (Deloitte) for consideration of Wildfire
                            Fund accounting alternatives.
07/24/2019
   Barclay, Kelsey          Discussion with C. Weller, T. Gillam, J.       $580.00      0.7        $406.00
                            Ncho-Oguie (Deloitte) for consideration
                            of Wildfire Fund accounting
                            transactions for insurance structures.




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AB 1054 Wildfire Fund
07/24/2019
   Barclay, Kelsey          Discussion with C. Weller, J. Ncho-          $580.00      0.3       $174.00
                            Oguie, D. Barton (Deloitte) for
                            consideration of Wildfire Fund
                            accounting transactions for insurance
                            structures.
   Barton, Doug             Discussion with C. Weller, K. Barclay,       $760.00      0.3       $228.00
                            J. Ncho-Oguie (Deloitte) for
                            consideration of Wildfire Fund
                            accounting transactions for insurance
                            structures.
   Gillam, Tim              Discussion with C. Weller, K. Barclay,       $760.00      0.7       $532.00
                            J. Ncho-Oguie (Deloitte) for
                            consideration of Wildfire Fund
                            accounting transactions for insurance
                            structures.
   Ncho-Oguie, Jean-Denis   Discussion (partial) with C. Weller, K.      $660.00      0.4       $264.00
                            Barclay, T. Gillam (Deloitte) for
                            consideration of Wildfire Fund
                            accounting transactions for insurance
                            structures.
   Ncho-Oguie, Jean-Denis   Discussion with C. Weller, K. Barclay,       $660.00      0.3       $198.00
                            D. Barton (Deloitte) for consideration of
                            Wildfire Fund accounting transactions
                            for insurance structures.
   Weller, Curt             Discussion (partial) with K. Barclay, T.     $760.00      0.6       $456.00
                            Gillam, J. Ncho-Oguie (Deloitte) for
                            consideration of Wildfire Fund
                            accounting transactions for insurance
                            structures.
   Weller, Curt             Discussion with K. Barclay, J. Ncho-         $760.00      0.3       $228.00
                            Oguie, D. Barton (Deloitte) for
                            consideration of Wildfire Fund
                            accounting transactions for insurance
                            structures.
07/25/2019
   Barclay, Kelsey          Prepare subsequent measurement               $580.00      1.2       $696.00
                            accounting models for wildfire fund.
   Barclay, Kelsey          Discussion with C. Weller, D. Barton         $580.00      0.2       $116.00
                            (Deloitte) for consideration of Wildfire
                            Fund subsequent measurement
                            models.

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AB 1054 Wildfire Fund
07/25/2019
   Barton, Doug             Discussion with C. Weller, K. Barclay        $760.00      0.2       $152.00
                            (Deloitte) for consideration of Wildfire
                            Fund subsequent measurement
                            models.
   Weller, Curt             Perform accounting research related to       $760.00      1.2       $912.00
                            accounting for Wildfire Fund
                            contributions.
   Weller, Curt             Discussion with K. Barclay, D. Barton        $760.00      0.2       $152.00
                            (Deloitte) for consideration of Wildfire
                            Fund subsequent measurement
                            models.
07/26/2019
   Barclay, Kelsey          Discussion with C. Weller, T. Gillam, D.     $580.00      0.6       $348.00
                            Barton (Deloitte) for consideration of
                            Wildfire Fund Legislation subsequent
                            measurement accounting models.
   Barclay, Kelsey          Work on subsequent measurement               $580.00      0.2       $116.00
                            accounting models.
   Barton, Doug             Discussion with C. Weller, K. Barclay,       $760.00      0.6       $456.00
                            T. Gillam (Deloitte) for consideration of
                            Wildfire Fund Legislation subsequent
                            measurement accounting models.
   Gillam, Tim              Discussion with J. Ncho-Oguie                $760.00      1.2       $912.00
                            (Deloitte) for consideration of Wildfire
                            Fund accounting transactions for
                            insurance structures.
   Gillam, Tim              Discussion with C. Weller, K. Barclay,       $760.00      0.6       $456.00
                            D. Barton (Deloitte) for consideration of
                            Wildfire Fund Legislation subsequent
                            measurement accounting models.
   Ncho-Oguie, Jean-Denis   Discussion with T. Gillam (Deloitte) for     $660.00      1.2       $792.00
                            consideration of Wildfire Fund
                            accounting transactions for insurance
                            structures.
   Weller, Curt             Discussion with K. Barclay, T. Gillam,       $760.00      0.4       $304.00
                            D. Barton (Deloitte) for consideration of
                            Wildfire Fund Legislation subsequent
                            measurement accounting models.




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AB 1054 Wildfire Fund
07/29/2019
   Barclay, Kelsey          Discussion with D. Barton, C. Weller,       $580.00      1.0       $580.00
                            M. Green, K. Roll, T. Gillam (Deloitte),
                            V. Loh (PG&E) for Wildfire Fund
                            durability analysis.
   Barclay, Kelsey          Discussion with D. Barton, C. Weller        $580.00      0.2       $116.00
                            (Deloitte) for regroup on Wildfire Fund
                            durability analysis.
   Barclay, Kelsey          Meeting (partial) with D. Barton, C.        $580.00      0.2       $116.00
                            Weller, J. Ncho-Oguie, T. Gillam
                            (Deloitte) to discuss Wildfire Fund
                            national office accounting consultation
                            update.
   Barton, Doug             Discussion (partial) with C. Weller, M.     $760.00      0.8       $608.00
                            Green, K. Roll, K. Barclay, T. Gillam
                            (Deloitte), V. Loh (PG&E) for Wildfire
                            Fund durability analysis.
   Barton, Doug             Meeting (partial) with K. Barclay, C.       $760.00      0.2       $152.00
                            Weller, J. Ncho-Oguie, T. Gillam
                            (Deloitte) to discuss Wildfire Fund
                            national office accounting consultation
                            update.
   Barton, Doug             Discussion with C. Weller, K. Barclay       $760.00      0.2       $152.00
                            (Deloitte) for regroup on Wildfire Fund
                            durability analysis.
   Gillam, Tim              Discussion with D. Barton, C. Weller,       $760.00      1.0       $760.00
                            M. Green, K. Roll, K. Barclay (Deloitte),
                            V. Loh (PG&E) for Wildfire Fund
                            durability analysis.
   Gillam, Tim              Meeting with K. Barclay, D. Barton, C.      $760.00      0.5       $380.00
                            Weller, J. Ncho-Oguie (Deloitte) to
                            discuss Wildfire Fund national office
                            accounting consultation update.
   Green, Mike              Discussion (partial) with D. Barton, C.     $760.00      0.8       $608.00
                            Weller, K. Roll, K. Barclay, T. Gillam
                            (Deloitte), V. Loh (PG&E) for Wildfire
                            Fund durability analysis.
   Ncho-Oguie, Jean-Denis   Meeting with K. Barclay, D. Barton, C.      $660.00      0.5       $330.00
                            Weller, T. Gillam (Deloitte) to discuss
                            Wildfire Fund national office
                            accounting consultation update.


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AB 1054 Wildfire Fund
07/29/2019
   Roll, Kevin            Discussion with D. Barton, C. Weller,          $660.00      1.0       $660.00
                          M. Green, K. Barclay, T. Gillam
                          (Deloitte), V. Loh (PG&E) for Wildfire
                          Fund durability analysis.
   Weller, Curt           Discussion (partial) with D. Barton, M.        $760.00      0.8       $608.00
                          Green, K. Roll, K. Barclay, T. Gillam
                          (Deloitte), V. Loh (PG&E) for Wildfire
                          Fund durability analysis.
   Weller, Curt           Meeting with K. Barclay, D. Barton, J.         $760.00      0.5       $380.00
                          Ncho-Oguie, T. Gillam (Deloitte) to
                          discuss Wildfire Fund national office
                          accounting consultation update.
   Weller, Curt           Continued to perform accounting                $760.00      0.5       $380.00
                          research related to accounting for
                          wildfire insurance fund contributions.
   Weller, Curt           Discussion with D. Barton, K. Barclay          $760.00      0.2       $152.00
                          (Deloitte) for regroup on Wildfire Fund
                          durability analysis.
07/30/2019
   Barclay, Kelsey        Discussion with D. Barton, C. Weller,          $580.00      0.5       $290.00
                          R. Sojkowski (Deloitte) for Wildfire
                          Insurance Fund accounting
                          considerations for insurance
                          accounting model.
   Barton, Doug           Discussion with C. Weller, R.                  $760.00      0.5       $380.00
                          Sojkowski, K. Barclay (Deloitte) for
                          Wildfire Insurance Fund accounting
                          considerations for insurance
                          accounting model.
   Sojkowski, Rick        Discussion with D. Barton, C. Weller,          $760.00      0.5       $380.00
                          K. Barclay (Deloitte) for Wildfire
                          Insurance Fund accounting
                          considerations for insurance
                          accounting model.
   Weller, Curt           Discussion with D. Barton, R.                  $760.00      0.5       $380.00
                          Sojkowski, K. Barclay (Deloitte) for
                          Wildfire Insurance Fund accounting
                          considerations for insurance
                          accounting model.



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AB 1054 Wildfire Fund
07/31/2019
   Barclay, Kelsey            Discussion with J. Ncho-Oguie, E.            $580.00      0.3        $174.00
                              Murdock, W. Meredith, M. Azebu, T.
                              Gillam (Deloitte) discuss Wildfire Fund
                              national office accounting consultation
                              update.
   Barton, Doug               Call with C. Weller (Deloitte) to            $760.00      0.3        $228.00
                              research wildfire fund accounting
                              alternatives.
   Gillam, Tim                Discussion with J. Ncho-Oguie, K.            $760.00      0.5        $380.00
                              Barclay, E. Murdock, W. Meredith, M.
                              Azebu (Deloitte) discuss Wildfire Fund
                              national office accounting consultation
                              update.
   Ncho-Oguie, Jean-Denis     Discussion with K. Barclay, E.               $660.00      0.5        $330.00
                              Murdock, W. Meredith, M. Azebu, T.
                              Gillam (Deloitte) discuss Wildfire Fund
                              national office accounting consultation
                              update.
   Weller, Curt               Research accounting for upfront              $760.00      0.5        $380.00
                              contribution to Fund.
   Weller, Curt               Call with D. Barton (Deloitte) to            $760.00      0.3        $228.00
                              research wildfire fund accounting
                              alternatives.
   Subtotal for AB 1054 Wildfire Fund:                                                111.1   $75,934.00

Accounting Consultations
07/16/2019
   Martin, Blake              Update documentation regarding the           $390.00      3.8       $1,482.00
                              Critical Audit Matters (CAM) workpaper
                              for the current year 2019.
07/17/2019
   Martin, Blake              Document critical audit matters from         $390.00      4.9       $1,911.00
                              FYE'18 through Q2'18




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Accounting Consultations
07/29/2019
   Martin, Blake              Draft critical audit matters related to         $390.00      1.0        $390.00
                              FY'19 to be discussed with audit
                              committee.
   Subtotal for Accounting Consultations:                                                  9.7       $3,783.00

California Wildfires
07/03/2019
   Gillam, Tim                Review slide presentations relating to          $760.00      2.5       $1,900.00
                              funding the current wildfire liabilities.
07/08/2019
   Meredith, Wendy            Review quarterly review planned                 $760.00      0.3        $228.00
                              procedures related to events
                              associated with wildfire claims.
07/11/2019
   Azebu, Matt                Prepare memo documenting audit                  $460.00      2.9       $1,334.00
                              procedures performed over wildfire
                              liability.
07/12/2019
   Azebu, Matt                Prepare memo documenting audit                  $460.00      3.5       $1,610.00
                              procedures performed over wildfire
                              liability.
07/15/2019
   Azebu, Matt                Draft documentation of audit                    $460.00      1.6        $736.00
                              procedures performed related to
                              wildfire settlements with public entities.
   Azebu, Matt                Discussion with J. Ncho-Oguie, T.               $460.00      0.2         $92.00
                              Gillam (Deloitte) for consideration of
                              Wildfire Settlement discussions with
                              National Office.
   Gillam, Tim                Discussion with J. Ncho-Oguie                   $760.00      0.4        $304.00
                              (Deloitte) for consideration of Wildfire
                              Settlement discussions with National
                              Office.




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California Wildfires
07/15/2019
   Gillam, Tim              Discussion with J. Ncho-Oguie, M.                $760.00      0.2       $152.00
                            Azebu (Deloitte) for consideration of
                            Wildfire Settlement discussions with
                            National Office.
   Gillam, Tim              Discussion with J. Ncho-Oguie                    $760.00      0.2       $152.00
                            (Deloitte) and J. Wells (PG&E) for
                            consideration of Wildfire Settlement
                            discussions.
   Gillam, Tim              Meet with W. Meredith (Deloitte) to              $760.00      0.2       $152.00
                            discuss accounting for wildfire liabilities
                            for quarter 2.
   Meredith, Wendy          Research accounting questions related            $760.00      0.6       $456.00
                            to California Public Utilities
                            Commission investigations related to
                            wildfires.
   Meredith, Wendy          Meet with J. Ncho-Oguie (Deloitte) to            $760.00      0.3       $228.00
                            discuss accounting for wildfire liabilities
                            for quarter 2.
   Meredith, Wendy          Meet with T. Gillam (Deloitte) to                $760.00      0.2       $152.00
                            discuss accounting for wildfire liabilities
                            for quarter 2.
   Ncho-Oguie, Jean-Denis   Discussion with T. Gillam (Deloitte) for         $660.00      0.4       $264.00
                            consideration of Wildfire Settlement
                            discussions with National Office.
   Ncho-Oguie, Jean-Denis   Meet with W. Meredith (Deloitte) to              $660.00      0.3       $198.00
                            discuss accounting for wildfire liabilities
                            for quarter 2.
   Ncho-Oguie, Jean-Denis   Discussion with T. Gillam (Deloitte) for         $660.00      0.2       $132.00
                            consideration of Wildfire Settlement
                            discussions with J. Wells (PG&E).
   Ncho-Oguie, Jean-Denis   Discussion with M. Azebu, T. Gillam              $660.00      0.2       $132.00
                            (Deloitte) for consideration of Wildfire
                            Settlement discussions with National
                            Office.
07/16/2019
   Azebu, Matt              Meet with W. Meredith, B. Rice                   $460.00      1.0       $460.00
                            (Deloitte) to discuss wildfire liability
                            considerations in bankruptcy
                            proceeding.


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California Wildfires
07/16/2019
   Azebu, Matt              Meeting between S. Schirle, J.                   $460.00      0.6       $276.00
                            Martinez (PG&E), W. Meredith
                            (Deloitte) to discuss legal updates
                            related to the wildfire liability.
   Azebu, Matt              Meet with D. Barton, T. Gillam, W.               $460.00      0.5       $230.00
                            Meredith, J. Ncho-Oguie (Deloitte) to
                            discuss wildfire liability accounting in
                            second quarter.
   Azebu, Matt              Meet with W. Meredith (Deloitte) to              $460.00      0.2        $92.00
                            discuss wildfire liability accounting
                            testing.
   Barton, Doug             Meet with T. Gillam, W. Meredith, J.             $760.00      0.5       $380.00
                            Ncho-Oguie, M. Azebu (Deloitte) to
                            discuss wildfire liability accounting in
                            second quarter.
   Gillam, Tim              Meet with D. Barton, W. Meredith, J.             $760.00      0.5       $380.00
                            Ncho-Oguie, M. Azebu (Deloitte) to
                            discuss wildfire liability accounting in
                            second quarter.
   Meredith, Wendy          Meet with M. Azebu, B. Rice (Deloitte)           $760.00      1.0       $760.00
                            to discuss wildfire liability
                            considerations in bankruptcy
                            proceeding.
   Meredith, Wendy          Meeting between S. Schirle, J.                   $760.00      0.6       $456.00
                            Martinez (PG&E), M. Azebu (Deloitte)
                            to discuss legal updates related to the
                            wildfire liability.
   Meredith, Wendy          Meet with D. Barton, T. Gillam, J.               $760.00      0.5       $380.00
                            Ncho-Oguie, M. Azebu (Deloitte) to
                            discuss wildfire liability accounting in
                            second quarter.
   Meredith, Wendy          Meet with M. Azebu (Deloitte) to                 $760.00      0.2       $152.00
                            discuss wildfire liability accounting
                            testing.
   Ncho-Oguie, Jean-Denis   Meet with D. Barton, T. Gillam, W.               $660.00      0.5       $330.00
                            Meredith, M. Azebu (Deloitte) to
                            discuss wildfire liability accounting in
                            second quarter.




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California Wildfires
07/16/2019
   Rice, Blake            Meet with W. Meredith, M. Azebu                  $460.00      1.0        $460.00
                          (Deloitte) to discuss wildfire liability
                          considerations in bankruptcy
                          proceeding.
07/17/2019
   Azebu, Matt            Draft documentation of audit                     $460.00      2.9       $1,334.00
                          procedures performed during second
                          quarter related to wildfire accounting
                          charge.
   Azebu, Matt            Review order instituting investigation           $460.00      1.3        $598.00
                          into 2017 Northern California Fires to
                          assess disclosure impacts for second
                          quarter financial statements.
   Meredith, Wendy        Review documentation related to                  $760.00      0.3        $228.00
                          accounting for wildfires.
07/18/2019
   Azebu, Matt            Draft documentation of audit                     $460.00      3.9       $1,794.00
                          procedures performed during second
                          quarter related to wildfire accounting
                          charge.
   Azebu, Matt            Discuss with J. Ncho-Oguie, W.                   $460.00      0.8        $368.00
                          Meredith, T. Gillam (Deloitte), D.
                          Thomason, J. Loduca, B. Wong, J.
                          Garboden, S. Schirle (PG&E) and K.
                          Orsini (Cravath) related to status of
                          wildfire settlement discussions and
                          second quarter accounting impact.
   Azebu, Matt            Meeting with J. Ncho-Oguie (Deloitte),           $460.00      0.5        $230.00
                          E. Seals, J. Martinez (PG&E) to
                          discuss the status of Order Instituting
                          Investigation into 2017 North Bay
                          Wildfires.
   Azebu, Matt            Discussion with J. Ncho-Oguie, T.                $460.00      0.4        $184.00
                          Gillam (Deloitte) for consideration of
                          wildfire settlement discussions and
                          second quarter review procedures to
                          be performed.




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California Wildfires
07/18/2019
   Gillam, Tim              Discuss with J. Ncho-Oguie, W.                $760.00      0.8       $608.00
                            Meredith, M. Azebu (Deloitte), D.
                            Thomason, J. Loduca, B. Wong, J.
                            Garboden, S. Schirle (PG&E) and K.
                            Orsini (Cravath) related to status of
                            wildfire settlement discussions and
                            second quarter accounting impact.
   Gillam, Tim              Meet with J. Ncho-Oguie (Deloitte), D.        $760.00      0.6       $456.00
                            Thomason, J. Garboden (PG&E) to
                            discuss quarterly review status and
                            procedures for fires.
   Gillam, Tim              Discussion with J. Ncho-Oguie, M.             $760.00      0.4       $304.00
                            Azebu (Deloitte) for consideration of
                            wildfire settlement discussions and
                            second quarter review procedures to
                            be performed.
   Meredith, Wendy          Discuss with J. Ncho-Oguie, T. Gillam,        $760.00      0.8       $608.00
                            M. Azebu (Deloitte), D. Thomason, J.
                            Loduca, B. Wong, J. Garboden, S.
                            Schirle (PG&E) and K. Orsini (Cravath)
                            related to status of wildfire settlement
                            discussions and second quarter
                            accounting impact.
   Meredith, Wendy          Review updates related wildfire liability     $760.00      0.5       $380.00
                            for second quarter 2019.
   Ncho-Oguie, Jean-Denis   Discuss with W. Meredith, T. Gillam,          $660.00      0.8       $528.00
                            M. Azebu (Deloitte), D. Thomason, J.
                            Loduca, B. Wong, J. Garboden, S.
                            Schirle (PG&E) and K. Orsini (Cravath)
                            related to status of wildfire settlement
                            discussions and second quarter
                            accounting impact.
   Ncho-Oguie, Jean-Denis   Meet with T. Gillam (Deloitte), D.            $660.00      0.6       $396.00
                            Thomason, J. Garboden (PG&E) to
                            discuss quarterly review status and
                            procedures for fires.
   Ncho-Oguie, Jean-Denis   Meeting with M. Azebu (Deloitte), E.          $660.00      0.5       $330.00
                            Seals, J. Martinez (PG&E) to discuss
                            the status of Order Instituting
                            Investigation into 2017 North Bay
                            Wildfires.


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       PG&E Corporation and Pacific Gas and Electric Company
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California Wildfires
07/18/2019
   Ncho-Oguie, Jean-Denis   Discussion with T. Gillam, M. Azebu             $660.00      0.4        $264.00
                            (Deloitte) for consideration of wildfire
                            settlement discussions and second
                            quarter review procedures to be
                            performed.
07/19/2019
   Azebu, Matt              Address comments on second quarter              $460.00      2.5       $1,150.00
                            wildfire liability accounting memo.
   Azebu, Matt              Review the wildfire liability including         $460.00      1.0        $460.00
                            the proposed plan of reorganization
                            submitted by bondholders.
   Azebu, Matt              Call with T. Gillam, W. Meredith, J.            $460.00      0.5        $230.00
                            Ncho-Oguie (Deloitte) to discuss
                            conclusion on the Company’s wildfire
                            liabilities recorded as of June 30, 2019.
   Gillam, Tim              Call with W. Meredith, J. Ncho-Oguie,           $760.00      0.5        $380.00
                            M. Azebu (Deloitte) to discuss
                            conclusion on the Company’s wildfire
                            liabilities recorded as of June 30, 2019.
   Meredith, Wendy          Review documentation related to                 $760.00      0.5        $380.00
                            accounting for wildfires for second
                            quarter.
   Meredith, Wendy          Call with T. Gillam, J. Ncho-Oguie, M.          $760.00      0.5        $380.00
                            Azebu (Deloitte) to discuss conclusion
                            on the Company’s wildfire liabilities
                            recorded as of June 30, 2019.
   Ncho-Oguie, Jean-Denis   Call with T. Gillam, W. Meredith, M.            $660.00      0.5        $330.00
                            Azebu (Deloitte) to discuss conclusion
                            on the Company’s wildfire liabilities
                            recorded as of June 30, 2019.
07/22/2019
   Azebu, Matt              Edit the wildfire liability memo to             $460.00      2.7       $1,242.00
                            address comments on documentation
                            of second quarter review procedures.
   Azebu, Matt              Draft emails to J. Garboden, J.                 $460.00      0.6        $276.00
                            Martinez, and K. Mallonee (PG&E) to
                            request meetings to be scheduled to
                            discuss the status of accounting for
                            wildfire liability.


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California Wildfires
07/22/2019
   Meredith, Wendy        Review second quarter review                   $760.00      0.9       $684.00
                          workpapers related to accounting for
                          wildfire liabilities.
   Meredith, Wendy        Review second quarter review draft             $760.00      0.2       $152.00
                          disclosure related to accounting for
                          wildfire liabilities.
07/23/2019
   Azebu, Matt            Discussion with S. Schirle, J. Martinez,       $460.00      0.5       $230.00
                          P. Lui, J. Garboden (PG&E), W.
                          Meredith (Deloitte) related to review of
                          the assumptions to the wildfire liability
                          estimate workbook.
   Meredith, Wendy        Discussion with S. Schirle, J. Martinez,       $760.00      0.5       $380.00
                          P. Lui, J. Garboden (PG&E), M. Azebu
                          (Deloitte) related to review of the
                          assumptions to the wildfire liability
                          estimate workbook.
07/24/2019
   Gillam, Tim            Review the year-end and quarterly              $760.00      1.2       $912.00
                          workpapers for the estimated wildfire
                          claims liability.
07/25/2019
   Azebu, Matt            Address comments on wildfire liability         $460.00      1.8       $828.00
                          memo.
07/26/2019
   Gillam, Tim            Discuss the status of the wildfire             $760.00      1.2       $912.00
                          liability estimate for the 2nd quarter
                          and discussions with the insurance
                          companies with D. Thomason (PG&E).
07/29/2019
   Azebu, Matt            Meeting with W. Meredith (Deloitte) to         $460.00      0.5       $230.00
                          discuss next steps with respect to
                          procedures to be performed over the
                          Company’s wildfire liability estimate.
   Meredith, Wendy        Meeting with M. Azebu (Deloitte) to            $760.00      0.5       $380.00
                          discuss next steps with respect to
                          procedures to be performed over the
                          Company’s wildfire liability estimate.


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California Wildfires
07/30/2019
   Azebu, Matt                   Discussion with J. Garboden (PG&E)            $460.00      0.5        $230.00
                                 on the status of the company's wildfire
                                 liability memo.
07/31/2019
   Azebu, Matt                   Review support for new disclosures in         $460.00      3.0       $1,380.00
                                 Form 10-Q related to wildfire liability.
   Azebu, Matt                   Meet with J. Garboden, S. Schirle             $460.00      0.5        $230.00
                                 (PG&E), W. Meredith (Deloitte) to
                                 discuss wildfire liability accounting for
                                 second quarter 2019.
   Azebu, Matt                   Discussion with J. Ncho-Oguie, K.             $460.00      0.5        $230.00
                                 Barclay, E. Murdock, W. Meredith, T.
                                 Gillam (Deloitte) discuss Wildfire Fund
                                 national office accounting consultation
                                 update.
   Gillam, Tim                   Discussion with J. Ncho-Oguie                 $760.00      2.0       $1,520.00
                                 (Deloitte) related to the Company’s
                                 considerations for accrual adjustments
                                 for wildfire liabilities.
   Gillam, Tim                   Meet with W. Meredith (Deloitte) to           $760.00      0.7        $532.00
                                 discuss wildfire liability accounting for
                                 second quarter 2019.
   Meredith, Wendy               Meet with T. Gillam (Deloitte) to             $760.00      0.7        $532.00
                                 discuss wildfire liability accounting for
                                 second quarter 2019.
   Meredith, Wendy               Meet with J. Garboden, S. Schirle             $760.00      0.5        $380.00
                                 (PG&E), M. Azebu (Deloitte) to discuss
                                 wildfire liability accounting for second
                                 quarter 2019.
   Meredith, Wendy               Discussion with J. Ncho-Oguie, K.             $760.00      0.5        $380.00
                                 Barclay, E. Murdock, M. Azebu, T.
                                 Gillam (Deloitte) discuss Wildfire Fund
                                 national office accounting consultation
                                 update.
   Ncho-Oguie, Jean-Denis        Discussion with T. Gillam (Deloitte)          $660.00      2.0       $1,320.00
                                 related to the Company’s
                                 considerations for accrual adjustments
                                 for wildfire liabilities.
   Subtotal for California Wildfires:                                                      64.3   $37,458.00


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Lease Accounting Services
07/10/2019
   Cochran, James             Meeting with P. Giamanco (Deloitte) to        $365.00      0.5        $182.50
                              discuss status of lease system
                              implementation
   Giamanco, Patrick          Meeting with J. Cochran (Deloitte) to         $325.00      0.5        $162.50
                              discuss status of lease system
                              implementation .
07/16/2019
   Cochran, James             Discuss with P. Giamanco (Deloitte)           $365.00      0.5        $182.50
                              staffing needs for lease system
                              implementation project.
   Giamanco, Patrick          Discuss with J. Cochran (Deloitte)            $325.00      0.5        $162.50
                              staffing needs for lease system
                              implementation project.
07/18/2019
   Cochran, James             Discussion between P. Giamanco and            $365.00      0.5        $182.50
                              J. Cochran (both Deloitte) to discuss
                              status of implementation of lease
                              module in Powerplan
   Subtotal for Lease Accounting Services:                                               2.5        $872.50

New Accounting Standards
07/08/2019
   Azebu, Matt                Review lease discount rate control and        $460.00      3.0       $1,380.00
                              reconciliation control.
07/10/2019
   Vitola, Paul               Exchange emails with N. Donahue               $760.00      0.3        $228.00
                              (Deloitte) regarding requirement to
                              disclose accounting standard 842
                              related deferred tax assets / liabilities
                              gross or net.
   Vitola, Paul               Research accounting guidance                  $760.00      0.3        $228.00
                              addressing the gross vs net question
                              on temporary differences related to
                              ASC 842 adoption
07/11/2019
   Azebu, Matt                Review the risks of material                  $460.00      2.6       $1,196.00
                              misstatement for the lease process.


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New Accounting Standards
07/11/2019
   Sewell, Kyle           Document discount rate control related          $350.00      0.7       $245.00
                          to leases.
07/12/2019
   Azebu, Matt            Meet with K. Sewell, B. Rice, S.                $460.00      1.0       $460.00
                          Jasinski (Deloitte) to discuss lease and
                          procurement workpaper status.
   Sewell, Kyle           Continue to update the lease process            $350.00      1.6       $560.00
                          flow diagram.
   Sewell, Kyle           Document lease discount rate internal           $350.00      1.3       $455.00
                          control.
   Sewell, Kyle           Update the lease section process flow           $350.00      1.2       $420.00
                          diagram.
   Sewell, Kyle           Meet with M. Azebu, B. Rice, S.                 $350.00      1.0       $350.00
                          Jasinski (Deloitte) to discuss lease and
                          procurement workpaper status.
07/15/2019
   Azebu, Matt            Meet with K. Sewell and M. Azebu                $460.00      0.6       $276.00
                          (Deloitte) to discuss internal controls
                          related to leases.
   Sewell, Kyle           Update lease risk of material                   $350.00      2.2       $770.00
                          misstatement workpaper.
   Sewell, Kyle           Continue to update lease risk of                $350.00      1.4       $490.00
                          material misstatement workpaper.
   Sewell, Kyle           Meet with K. Sewell and M. Azebu                $350.00      0.6       $210.00
                          (Deloitte) to discuss internal controls
                          related to leases.
07/16/2019
   Azebu, Matt            Discuss lease process with K. Sewell            $460.00      1.5       $690.00
                          (Deloitte).
   Azebu, Matt            Meet with K. Sewell (Deloitte) to               $460.00      0.6       $276.00
                          discuss lease internal controls.
   Sewell, Kyle           Discuss leases process with M. Azebu            $350.00      1.5       $525.00
                          (Deloitte).
   Sewell, Kyle           Update lease discount rate internal             $350.00      1.1       $385.00
                          control testing workpaper.
   Sewell, Kyle           Address notes within lease risk of              $350.00      0.7       $245.00
                          material misstatement workpaper.


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New Accounting Standards
07/16/2019
   Sewell, Kyle            Meet with M. Azebu (Deloitte) to            $350.00      0.6        $210.00
                           discuss lease internal controls.
07/17/2019
   Azebu, Matt             Review lease discount rate control.         $460.00      0.9        $414.00
07/18/2019
   Sewell, Kyle            Address notes in lease risk of material     $350.00      3.5       $1,225.00
                           misstatement control.
   Sewell, Kyle            Meet with Z. Birden (PG&E) to discuss       $350.00      0.8        $280.00
                           the company's internal controls related
                           to identification of new or modified
                           leases
   Sewell, Kyle            Prepare for meeting with Z. Birden          $350.00      0.7        $245.00
                           (PG&E) regarding internal controls
                           related to identification of new or
                           modified leases
   Sewell, Kyle            Research information relating to sale       $350.00      0.6        $210.00
                           leaseback transactions and asset
                           retirement obligations.
07/19/2019
   Azebu, Matt             Discuss lease process with K. Sewell        $460.00      1.5        $690.00
                           (Deloitte).
   Sewell, Kyle            Discuss lease process with M. Azebu         $350.00      1.5        $525.00
                           (Deloitte).
   Sewell, Kyle            Updated lease disclosure internal           $350.00      0.9        $315.00
                           control workpaper.
07/22/2019
   Azebu, Matt             Review the lease process flow               $460.00      0.7        $322.00
                           diagram.
07/26/2019
   Azebu, Matt             Review the lease discount rate control.     $460.00      1.1        $506.00
07/30/2019
   Bedi, Arpit             Prepare lease process flow diagram          $390.00      3.0       $1,170.00
                           summarizing the company's process
                           for accounting for leases under new
                           lease accounting standard



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New Accounting Standards
07/31/2019
   Bedi, Arpit               Continued to prepare the lease               $390.00      3.0       $1,170.00
                             process flow diagram summarizing the
                             company's process for accounting for
                             leases under new lease accounting
                             standard
   Subtotal for New Accounting Standards:                                             42.0   $16,671.00

Post Bankruptcy Matters
07/03/2019
   Gillam, Tim               Research the accounting guidance             $760.00      2.5       $1,900.00
                             related to pre-petition vs post-petition
                             in bankruptcy
07/08/2019
   Hennessy, Vincent         Prepare documentation of the risks of        $390.00      3.4       $1,326.00
                             material misstatement identified
                             related to bankruptcy.
07/09/2019
   Hennessy, Vincent         Continued to prepare documentation of        $390.00      1.6        $624.00
                             the risks of material misstatement
                             identified related to bankruptcy.
07/10/2019
   Hennessy, Vincent         Documented planned audit procedures          $390.00      2.3        $897.00
                             to address risks of material
                             misstatement identified related to
                             bankruptcy
   Rice, Blake               Meeting with J. Hamner, M. Azebu, L.         $460.00      1.0        $460.00
                             Schloetter, B. Steele, J. Nguyen, V.
                             Hennessy, S. Jasinski, B. Martin, W.
                             Meredith, J. Ncho Oguie, K. Chan, E.
                             Murdock, K. Sewell (Deloitte) regarding
                             bankruptcy impact and bankruptcy
                             accounting.




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Post Bankruptcy Matters
07/11/2019
   Azebu, Matt            Meeting with J. Hamner, L. Schloetter,    $460.00      1.0       $460.00
                          B. Steele, J. Nguyen, V. Hennessy, S.
                          Jasinski, B. Martin, B. Rice, W.
                          Meredith, J. Ncho Oguie, K. Chan, E.
                          Murdock, K. Sewell (Deloitte) regarding
                          bankruptcy impact and bankruptcy
                          accounting.
   Azebu, Matt            Meeting with L. Schloetter, B. Steele,    $460.00      1.0       $460.00
                          J. Nguyen, B. Martin, V. Hennessy, S.
                          Jasinski, B. Rice, J. Ncho Oguie, E.
                          Murdock, K. Sewell (Deloitte) regarding
                          bankruptcy impact and bankruptcy
                          accounting.
   Hamner, Jack           Meeting with M. Azebu, L. Schloetter,     $390.00      1.0       $390.00
                          B. Steele, J. Nguyen, V. Hennessy, S.
                          Jasinski, B. Martin, B. Rice, W.
                          Meredith, J. Ncho Oguie, K. Chan, E.
                          Murdock, K. Sewell (Deloitte) regarding
                          bankruptcy impact and bankruptcy
                          accounting
   Hennessy, Vincent      Meeting with M. Azebu, L. Schloetter,     $390.00      1.0       $390.00
                          B. Steele, J. Nguyen, B. Martin, S.
                          Jasinski, B. Rice, J. Ncho Oguie, E.
                          Murdock, K. Sewell (Deloitte) regarding
                          bankruptcy impact and bankruptcy
                          accounting.
   Hennessy, Vincent      Continued to document planned audit       $390.00      0.9       $351.00
                          procedures to address risks of material
                          misstatement identified related to
                          bankruptcy
   Hennessy, Vincent      Work on data retention memo for legal     $390.00      0.7       $273.00
                          hold due to bankruptcy.
   Hennessy, Vincent      Correspondence with P. Veluri             $390.00      0.3       $117.00
                          (Deloitte) to communicate the
                          requirement to preserve all journal
                          entry data due to PG&E’s Legal Hold.
   Hennessy, Vincent      Correspond with D. DeMartini (PG&E)       $390.00      0.2        $78.00
                          regarding bankruptcy controls.




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Post Bankruptcy Matters
07/11/2019
   Jasinski, Samantha       Meeting with M. Azebu, L. Schloetter,      $580.00      1.0       $580.00
                            B. Steele, J. Nguyen, B. Martin, V.
                            Hennessy, B. Rice, J. Ncho Oguie, E.
                            Murdock, K. Sewell (Deloitte) regarding
                            bankruptcy impact and bankruptcy
                            accounting.
   Martin, Blake            Meeting with J. Hamner, M. Azebu, L.       $390.00      1.0       $390.00
                            Schloetter, B. Steele, J. Nguyen, V.
                            Hennessy, S. Jasinski, B. Rice, W.
                            Meredith, J. Ncho Oguie, K. Chan, E.
                            Murdock, K. Sewell (Deloitte) regarding
                            bankruptcy impact and bankruptcy
                            accounting.
   Martin, Blake            Meeting with L. Schloetter, B. Steele,     $390.00      1.0       $390.00
                            J. Nguyen, B. Rice, J. Ncho Oguie, W.
                            Meredith (Deloitte) regarding
                            bankruptcy impact and bankruptcy
                            accounting.
   Meredith, Wendy          Prepare for internal meeting regarding     $760.00      0.2       $152.00
                            bankruptcy impact and bankruptcy
                            accounting.
   Meredith, Wendy          Meeting with L. Schloetter, B. Steele,     $760.00      1.0       $760.00
                            J. Nguyen, B. Rice, J. Ncho Oguie, B.
                            Martin (Deloitte) regarding bankruptcy
                            impact and bankruptcy accounting.
   Murdock, Elizabeth       Meeting with M. Azebu, L. Schloetter,      $660.00      1.0       $660.00
                            B. Steele, J. Nguyen, B. Martin, V.
                            Hennessy, S. Jasinski, B. Rice, J.
                            Ncho Oguie, K. Sewell (Deloitte)
                            regarding bankruptcy impact and
                            bankruptcy accounting.
   Ncho-Oguie, Jean-Denis   Meeting with M. Azebu, L. Schloetter,      $660.00      1.0       $660.00
                            B. Steele, J. Nguyen, B. Martin, V.
                            Hennessy, S. Jasinski, B. Rice, E.
                            Murdock, K. Sewell (Deloitte) regarding
                            bankruptcy impact and bankruptcy
                            accounting.
   Ncho-Oguie, Jean-Denis   Meeting with L. Schloetter, B. Steele,     $660.00      1.0       $660.00
                            J. Nguyen, B. Rice, B. Martin, W.
                            Meredith (Deloitte) regarding
                            bankruptcy impact and bankruptcy
                            accounting.

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Post Bankruptcy Matters
07/11/2019
   Nguyen, Jessica          Meeting with L. Schloetter, B. Steele,     $390.00      1.0       $390.00
                            B. Rice, J. Ncho Oguie, B. Martin, W.
                            Meredith (Deloitte) regarding
                            bankruptcy impact and bankruptcy
                            accounting.
   Rice, Blake              Meeting with L. Schloetter, B. Steele,     $460.00      1.0       $460.00
                            J. Nguyen, J. Ncho Oguie, B. Martin,
                            W. Meredith (Deloitte) regarding
                            bankruptcy impact and bankruptcy
                            accounting.
   Schloetter, Lexie        Meeting with J. Hamner, M. Azebu, B.       $390.00      1.0       $390.00
                            Steele, J. Nguyen, V. Hennessy, S.
                            Jasinski, B. Martin, B. Rice, W.
                            Meredith, J. Ncho Oguie, K. Chan, E.
                            Murdock, K. Sewell (Deloitte) regarding
                            bankruptcy impact and bankruptcy
                            accounting.
   Schloetter, Lexie        Meeting with B. Steele, J. Nguyen, B.      $390.00      1.0       $390.00
                            Rice, J. Ncho Oguie, B. Martin, W.
                            Meredith (Deloitte) regarding
                            bankruptcy impact and bankruptcy
                            accounting.
   Sewell, Kyle             Meeting with M. Azebu, L. Schloetter,      $390.00      1.0       $390.00
                            B. Steele, J. Nguyen, B. Martin, V.
                            Hennessy, S. Jasinski, B. Rice, J.
                            Ncho Oguie, E. Murdock (Deloitte)
                            regarding bankruptcy impact and
                            bankruptcy accounting.
   Steele, Bridget          Meeting with L. Schloetter, J. Nguyen,     $390.00      1.0       $390.00
                            B. Rice, J. Ncho Oguie, B. Martin, W.
                            Meredith (Deloitte) regarding
                            bankruptcy impact and bankruptcy
                            accounting.
07/12/2019
   Hennessy, Vincent        Update planned audit procedures to         $390.00      1.7       $663.00
                            address risks of material misstatement
                            identified related to bankruptcy /
                            reorganization items




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Post Bankruptcy Matters
07/12/2019
   Hennessy, Vincent      Prepare for bankruptcy meeting with E.       $390.00      1.3       $507.00
                          Murdock to discuss the planned audit
                          approach for testing bankruptcy related
                          risks of material misstatement.
   Hennessy, Vincent      Discussion with E. Murdock (Deloitte)        $390.00      0.6       $234.00
                          regarding bankruptcy risks and
                          controls and planned audit approach
                          for testing bankruptcy related risks of
                          material misstatement.
   Meredith, Wendy        Review draft accounting memo related         $760.00      0.3       $228.00
                          to presentation of preferred dividends
                          on the financial statements in
                          bankruptcy.
   Murdock, Elizabeth     Discussion with V. Hennessy (Deloitte)       $660.00      0.6       $396.00
                          regarding bankruptcy risks and
                          controls and planned audit approach
                          for testing bankruptcy related risks of
                          material misstatement.
07/14/2019
   Murdock, Elizabeth     Review updated preferred dividend            $660.00      0.4       $264.00
                          accrual memo summarizing accounting
                          in bankruptcy
07/15/2019
   Donahue, Nona          Call with K. Gerstel, M. Luong, R.           $760.00      0.5       $380.00
                          Nkinzingabo (Deloitte) to discuss
                          pending tax bankruptcy items and
                          bankruptcy issues to expect.
   Gerstel, Ken           Call with N. Donahue, M. Luong, R.           $760.00      0.5       $380.00
                          Nkinzingabo (Deloitte) to discuss
                          pending tax bankruptcy items and
                          bankruptcy issues to expect.
   Gerstel, Ken           Performed research on tax treatment          $760.00      0.5       $380.00
                          of pre-petition interest and bankruptcy
                          costs.
   Hennessy, Vincent      Correspond via email with D. DeMartini       $390.00      0.4       $156.00
                          (PG&E) regarding bankruptcy controls.
   Luong, Mimi            Call with N. Donahue, K. Gerstel, R.         $660.00      0.5       $330.00
                          Nkinzingabo (Deloitte) to discuss
                          pending tax bankruptcy items and
                          bankruptcy issues to expect.

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Post Bankruptcy Matters
07/15/2019
   Luong, Mimi               Prepare for bankruptcy planning call        $660.00      0.1         $66.00
                             with N. Donahue, K. Gerstel, M. Luong,
                             R. Nkinzingabo (Deloitte).
   Nkinzingabo, Rudy         Call with N. Donahue, K. Gerstel, M.        $580.00      0.5        $290.00
                             Luong (Deloitte) to discuss pending tax
                             bankruptcy items and bankruptcy
                             issues to expect.
07/16/2019
   Sivakumar, Gireesh kumar Review debtor in possession financing        $660.00      1.0        $660.00
                            agreements for accounting
                            considerations related to potential
                            embedded derivatives.
07/18/2019
   Donahue, Nona             Discussion with E. Min and T. Lewis         $760.00      1.6       $1,216.00
                             (PG&E) on tax bankruptcy items and
                             bankruptcy issues to expect.
   Nkinzingabo, Rudy         Review bankruptcy cost analysis.            $580.00      1.0        $580.00
   Nkinzingabo, Rudy         Review tax guidance related to              $580.00      0.9        $522.00
                             bankruptcy costs.
   Nkinzingabo, Rudy         Review company's bankruptcy costs           $580.00      0.9        $522.00
                             consideration memo.
07/19/2019
   Kilkenny, Tom             Perform research on accounting for          $760.00      0.8        $608.00
                             reorganization items in bankruptcy.
   Sivakumar, Gireesh kumar Review debtor in possession financing        $660.00      1.0        $660.00
                            agreements for accounting
                            considerations related to potential
                            embedded derivatives.
   Yuen, Jennifer            Review Q1 summary memo provided             $460.00      3.6       $1,656.00
                             by PG&E for bankruptcy cost
                             reconciliation.
07/22/2019
   Azebu, Matt               Review disclosure requirements              $460.00      1.6        $736.00
                             related to changes in estimates under
                             reorganization guidance.
   Meredith, Wendy           Research presentation for changes in        $760.00      0.4        $304.00
                             valuation of liabilities subject to
                             compromise.

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Post Bankruptcy Matters
07/22/2019
   Murdock, Elizabeth      Research accounting related to                 $660.00      0.7       $462.00
                           liabilities subject to compromise and
                           reorganization line items.
   Murdock, Elizabeth      Call with A. Sasso, M. Sullivan                $660.00      0.5       $330.00
                           (Deloitte) to discuss accounting
                           implications of planned reorganization
                           filing.
   Sasso, Anthony          Call with E. Murdock, M. Sullivan              $760.00      0.5       $380.00
                           (Deloitte) to discuss accounting
                           implications of planned reorganization
                           filing.
   Sullivan, Mike          Call with E. Murdock, A. Sasso                 $760.00      0.5       $380.00
                           (Deloitte) to discuss accounting
                           implications of planned reorganization
                           filing.
07/23/2019
   Azebu, Matt             Research the disclosures under                 $460.00      2.1       $966.00
                           generally accepted accounting
                           principles for changes in pre-petition
                           liabilities.
   Azebu, Matt             Discussion with M. Azebu, W.                   $460.00      0.5       $230.00
                           Meredith, E. Murdock, M. Sullivan, A.
                           Sasso (Deloitte) related to the
                           presentation of changes in the pre-
                           petition wildfire liability estimate in the
                           interim financial statements under
                           reorganization accounting guidance.
   Azebu, Matt             Discussion with M. Azebu, W.                   $460.00      0.4       $184.00
                           Meredith, T. Gillam, I. Perez (Deloitte)
                           related to the presentation of changes
                           in the pre-petition wildfire liability
                           estimate in the interim financial
                           statements under reorganization
                           accounting guidance.
   Gillam, Tim             Review the bankruptcy accounting               $760.00      0.6       $456.00
                           guidance.




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Post Bankruptcy Matters
07/23/2019
   Gillam, Tim               Discussion with M. Azebu, W.                   $760.00      0.4       $304.00
                             Meredith, T. Gillam, I. Perez (Deloitte)
                             related to the presentation of changes
                             in the pre-petition wildfire liability
                             estimate in the interim financial
                             statements under reorganization
                             accounting guidance.
   Meredith, Wendy           Discussion with M. Azebu, W.                   $760.00      0.5       $380.00
                             Meredith, E. Murdock, M. Sullivan, A.
                             Sasso (Deloitte) related to the
                             presentation of changes in the pre-
                             petition wildfire liability estimate in the
                             interim financial statements under
                             reorganization accounting guidance.
   Meredith, Wendy           Discussion with M. Azebu, W.                   $760.00      0.4       $304.00
                             Meredith, T. Gillam, I. Perez (Deloitte)
                             related to the presentation of changes
                             in the pre-petition wildfire liability
                             estimate in the interim financial
                             statements under reorganization
                             accounting guidance.
   Meredith, Wendy           Research accounting related to                 $760.00      0.4       $304.00
                             changes in the pre-petition wildfire
                             liability estimate in the interim financial
                             statements.
   Murdock, Elizabeth        Discussion with M. Azebu, W.                   $660.00      0.5       $330.00
                             Meredith, E. Murdock, M. Sullivan, A.
                             Sasso (Deloitte) related to the
                             presentation of changes in the pre-
                             petition wildfire liability estimate in the
                             interim financial statements under
                             reorganization accounting guidance.
   Perez Zaldivar, Ignacio   Discussion with M. Azebu, W.                   $760.00      0.4       $304.00
                             Meredith, T. Gillam, I. Perez (Deloitte)
                             related to the presentation of changes
                             in the pre-petition wildfire liability
                             estimate in the interim financial
                             statements under reorganization
                             accounting guidance.




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Post Bankruptcy Matters
07/23/2019
   Sasso, Anthony           Discussion with M. Azebu, W.                   $760.00      0.3        $228.00
                            Meredith, E. Murdock, M. Sullivan, A.
                            Sasso (Deloitte) related to the
                            presentation of changes in the pre-
                            petition wildfire liability estimate in the
                            interim financial statements under
                            reorganization accounting guidance.
   Sullivan, Mike           Discussion with M. Azebu, W.                   $760.00      0.5        $380.00
                            Meredith, E. Murdock, M. Sullivan, A.
                            Sasso (Deloitte) related to the
                            presentation of changes in the pre-
                            petition wildfire liability estimate in the
                            interim financial statements under
                            reorganization accounting guidance.
07/25/2019
   Kilkenny, Tom            Discussion between E. Murdock and T.           $760.00      1.0        $760.00
                            Kilkenny (both Deloitte) regarding
                            scope of bankruptcy testing
                            procedures.
   Murdock, Elizabeth       Discussion between E. Murdock and T.           $660.00      0.7        $462.00
                            Kilkenny (both Deloitte) regarding
                            scope of bankruptcy testing
                            procedures.
07/26/2019
   Pallai, Prakash          Review debt contract for accounting            $660.00      2.5       $1,650.00
                            implications as a result of bankruptcy.
07/28/2019
   Murdock, Elizabeth       Research subsequent event                      $660.00      0.3        $198.00
                            considerations for court approvals.
07/29/2019
  Anandan, Harish           Analyzed debt agreement for                    $460.00      3.0       $1,380.00
 Bharadwaj                  accounting considerations under
                            reorganization accounting guidance.
  Anandan, Harish           Continued to analyze debt agreement            $460.00      2.5       $1,150.00
 Bharadwaj                  for accounting consideraitions under
                            reorganization accounting guidance.
  Anandan, Harish           Further analyzed debt agreement for            $460.00      2.5       $1,150.00
 Bharadwaj                  accounting consideraitions under
                            reorganization accounting guidance.

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Post Bankruptcy Matters
07/29/2019
   Doolittle, Chase       Discussion with V. Hennessy (Deloitte)      $390.00      1.5        $585.00
                          regarding restructuring cost testing.
   Hennessy, Vincent      Discussion with C. Doolittle (Deloitte)     $390.00      1.5        $585.00
                          regarding restructuring cost testing.
   Hennessy, Vincent      Update restructuring costs workpaper.       $390.00      1.0        $390.00
   Hennessy, Vincent      Discussion with B. Rice (Deloitte)          $390.00      0.5        $195.00
                          regarding reorganization items testing.
   Rice, Blake            Discussion with V. Hennessy (Deloitte)      $460.00      0.5        $230.00
                          regarding reorganization items testing.
07/30/2019
  Anandan, Harish         Review debtor in possession credit          $460.00      4.0       $1,840.00
 Bharadwaj                agreements to assess accounting
                          treatment.
  Anandan, Harish         Performed accounting research related       $460.00      4.0       $1,840.00
 Bharadwaj                to accounting for debtor in possession
                          credit agreements under
                          reorganization accounting.
  Anandan, Harish         Continued to perform accounting             $460.00      4.0       $1,840.00
 Bharadwaj                research related to accounting for
                          debtor in possession credit
                          agreements under reorganization
                          accounting.
   Hennessy, Vincent      Discussion with T. Lett (PG&E)              $390.00      0.5        $195.00
                          regarding reorganization items for
                          testing.
07/31/2019
  Anandan, Harish         Continued to document assessment of         $460.00      3.0       $1,380.00
 Bharadwaj                accounting treatment related to debtor
                          in possession credit agreements under
                          reorganization accounting guidance.
  Anandan, Harish         Documented assessment of                    $460.00      2.5       $1,150.00
 Bharadwaj                accounting treatment related to debtor
                          in possession credit agreements under
                          reorganization accounting guidance.




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Post Bankruptcy Matters
07/31/2019
  Anandan, Harish             Documented considerations related to          $460.00      2.5       $1,150.00
 Bharadwaj                    assessment of accounting treatment of
                              debtor in possession credit
                              agreements under reorganization
                              accounting.
   Subtotal for Post Bankruptcy Matters:                                                98.0   $50,178.00

Preparation of Fee Applications
07/09/2019
   Jasinski, Samantha         Continue to review D&T time entries           $290.00      1.4        $406.00
                              for submission to bankruptcy court.
07/10/2019
   Jasinski, Samantha         Continue to prepare fee schedule for          $290.00      0.7        $203.00
                              time incurred through June 30, 2019.
07/25/2019
   Gutierrez, Dalia           Review the June fee detail in                 $200.00      4.1        $820.00
                              preparation for the monthly fee
                              application.
   Gutierrez, Dalia           Continue to review the June fee detail        $200.00      3.9        $780.00
                              in preparation for the monthly fee
                              application.
07/26/2019
   Gutierrez, Dalia           Provide comments to June fee detail in        $200.00      4.2        $840.00
                              preparation for the monthly fee
                              application.
   Gutierrez, Dalia           Continue to provide comments to June          $200.00      3.8        $760.00
                              fee detail in preparation for the monthly
                              fee application.
07/29/2019
   Gutierrez, Dalia           Complete review of June fee detail for        $200.00      3.6        $720.00
                              the monthly fee application.
   Gutierrez, Dalia           Review June expense detail in                 $200.00      2.0        $400.00
                              preparation for the monthly fee
                              application.




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Preparation of Fee Applications
07/30/2019
   Gutierrez, Dalia             Complete review of June fee detail for      $200.00      2.4        $480.00
                                monthly fee application.
07/31/2019
   Gutierrez, Dalia             Update expenses per team feedback           $200.00      2.0        $400.00
                                for first monthly fee application,
                                including upload to billing tool.
   Jasinski, Samantha           Review D&T time entries for                 $290.00      4.0       $1,160.00
                                submission to bankruptcy court.
    Subtotal for Preparation of Fee Applications:                                       32.1       $6,969.00

Regulatory Accounting
07/08/2019
   Meredith, Wendy              Review draft California Public Utilities    $760.00      0.4        $304.00
                                Commission (CPUC) report regarding
                                CPUC Rulemaking on Criteria and
                                Methodology for Wildfire Cost
                                Recovery.
   Meredith, Wendy              Review draft California Public Utilities    $760.00      0.3        $228.00
                                Commission (CPUC) report regarding
                                CPUC Rulemaking on Criteria and
                                Methodology for Wildfire Cost
                                Recovery.
07/12/2019
   Jasinski, Samantha           Prepare memo on recoverability of           $580.00      1.8       $1,044.00
                                wildfire costs.
   Jasinski, Samantha           Meeting with B. Rice (Deloitte) and A.      $580.00      1.0        $580.00
                                Duran (PG&E) to discuss wildfire cost
                                recoverability.
   Rice, Blake                  Meeting with S. Jasinski (Deloitte), A.     $460.00      1.0        $460.00
                                Duran (PG&E) to discuss wildfire cost
                                recoverability.
    Subtotal for Regulatory Accounting:                                                  4.5       $2,616.00
Total                                                                                 2,327.2   $605,114.50




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                                  Recapitulation
Name                                                 Rate          Hours            Fees
Barta, Steve                                      $760.00            1.3         $988.00
Barton, Doug                                      $760.00            9.4        $7,144.00
Donahue, Nona                                     $760.00            2.1        $1,596.00
Gerstel, Ken                                      $760.00            1.0         $760.00
Gillam, Tim                                       $760.00           38.9       $29,564.00
Green, Mike                                       $760.00            0.8         $608.00
Kilkenny, Tom                                     $760.00            1.8        $1,368.00
Meredith, Wendy                                   $760.00           14.2       $10,792.00
Perez Zaldivar, Ignacio                           $760.00            0.4         $304.00
Sasso, Anthony                                    $760.00            0.8         $608.00
Sojkowski, Rick                                   $760.00            2.1        $1,596.00
Sullivan, Mike                                    $760.00            1.0         $760.00
Vitola, Paul                                      $760.00            0.6         $456.00
Weller, Curt                                      $760.00           20.3       $15,428.00
Luong, Mimi                                       $660.00            0.6         $396.00
Murdock, Elizabeth                                $660.00            4.7        $3,102.00
Ncho-Oguie, Jean-Denis                            $660.00           21.5       $14,190.00
Pallai, Prakash                                   $660.00            2.5        $1,650.00
Roll, Kevin                                       $660.00            1.0         $660.00
Sivakumar, Gireesh kumar                          $660.00            2.0        $1,320.00
Barclay, Kelsey                                   $580.00           38.4       $22,272.00
Garcia, Edward                                    $580.00            1.0         $580.00
Jasinski, Samantha                                $580.00            3.8        $2,204.00
Nkinzingabo, Rudy                                 $580.00            3.3        $1,914.00
Anandan, Harish Bharadwaj                         $460.00           28.0       $12,880.00
Azebu, Matt                                       $460.00           55.0       $25,300.00
Rice, Blake                                       $460.00            4.5        $2,070.00
Yuen, Jennifer                                    $460.00            3.6        $1,656.00
Bedi, Arpit                                       $390.00            6.0        $2,340.00


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                             Recapitulation
Name                                            Rate          Hours            Fees
Doolittle, Chase                             $390.00            1.5         $585.00
Hamner, Jack                                 $390.00            1.0         $390.00
Hennessy, Vincent                            $390.00           17.9        $6,981.00
Martin, Blake                                $390.00           11.7        $4,563.00
Nguyen, Jessica                              $390.00            1.0         $390.00
Schloetter, Lexie                            $390.00            2.0         $780.00
Sewell, Kyle                                 $390.00            1.0         $390.00
Steele, Bridget                              $390.00            1.0         $390.00
Basilico, Ellen                              $380.00            3.7        $1,406.00
Choudhary, Devesh                            $380.00            1.7         $646.00
Clark, Brian                                 $380.00            1.0         $380.00
Cochran, James                               $380.00            3.0        $1,140.00
Donahue, Nona                                $380.00            1.9         $722.00
Gillam, Tim                                  $380.00           37.9       $14,402.00
Meredith, Wendy                              $380.00           23.3        $8,854.00
Pemberton, Tricia                            $380.00            4.6        $1,748.00
Cochran, James                               $365.00            1.5         $547.50
Sewell, Kyle                                 $350.00           21.9        $7,665.00
Bush, Amber                                  $330.00            3.0         $990.00
Giamanco, Patrick                            $330.00           28.2        $9,306.00
Murdock, Elizabeth                           $330.00           36.2       $11,946.00
Ncho-Oguie, Jean-Denis                       $330.00           44.6       $14,718.00
Varkey, Jamie                                $330.00            0.2          $66.00
White, Teal                                  $330.00            0.2          $66.00
Giamanco, Patrick                            $325.00            1.0         $325.00
Jasinski, Samantha                           $290.00           95.5       $27,695.00
Nkinzingabo, Rudy                            $290.00           20.1        $5,829.00
Sreeram, Sree                                $290.00            5.0        $1,450.00
Veluri, Pavani                               $290.00            3.0         $870.00


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Name                                             Rate          Hours            Fees
Adams, Haley                                  $230.00           21.5        $4,945.00
Agarwal, Rima                                 $230.00           20.5        $4,715.00
Azebu, Matt                                   $230.00           61.4       $14,122.00
Bhimani, Harika                               $230.00            3.0         $690.00
Jain, Rachna                                  $230.00            1.0         $230.00
Kamra, Akanksha                               $230.00           26.7        $6,141.00
Kipkirui, Winnie                              $230.00          185.0       $42,550.00
M, Nikitha                                    $230.00           15.0        $3,450.00
Morley, Carlye                                $230.00            4.7        $1,081.00
Rice, Blake                                   $230.00          116.2       $26,726.00
Varshney, Swati                               $230.00           47.4       $10,902.00
Yuen, Jennifer                                $230.00           32.4        $7,452.00
Bedi, Arpit                                   $200.00          102.2       $20,440.00
Bhattacharya, Ayush                           $200.00           70.0       $14,000.00
Choudhury, Viki                               $200.00           27.0        $5,400.00
Fazil, Mohamed                                $200.00           50.5       $10,100.00
Gutierrez, Dalia                              $200.00           26.0        $5,200.00
Hamner, Jack                                  $200.00            1.4         $280.00
Hennessy, Vincent                             $200.00          107.8       $21,560.00
Martin, Blake                                 $200.00          108.3       $21,660.00
Salisam, Soujanya                             $200.00           11.0        $2,200.00
Jain, Naman                                   $180.00            2.0         $360.00
Mehra, Shreya                                 $180.00           23.7        $4,266.00
Schloetter, Lexie                             $180.00          135.4       $24,372.00
Sewell, Kyle                                  $180.00           78.3       $14,094.00
Doolittle, Chase                              $120.00           12.5        $1,500.00
K, Kavya                                      $120.00           84.0       $10,080.00
Nambiar, Sachin                               $120.00           10.0        $1,200.00
Nguyen, Jessica                               $120.00           45.3        $5,436.00


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PG&E Corporation and Pacific Gas and Electric Company
                       Deloitte & Touche LLP
            Fees Sorted by Category for the Fee Period
                          July 01, 2019 - July 31, 2019



                           Recapitulation
Name                                          Rate          Hours            Fees
Sonn, Rebecca                              $120.00           54.2        $6,504.00
Steele, Bridget                            $120.00           72.1        $8,652.00
Xue, Ella                                  $120.00          125.5       $15,060.00




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